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         (also erroneously sued as Ventura County Public
     7 Health Care Agency), Sheriff William Ayub
         (erroneously sued as “Bill Ayub”), Robert Levin
     8 and William T. Foley
     9
    10                        UNITED STATES DISTRICT COURT
    11                      CENTRAL DISTRICT OF CALIFORNIA
    12
    13 DONALD MCDOUGALL, an               )     No. 2:20 cv-02927 CBM(ASX)
         individual; JULIANA GARCIA, an )
    14   individual; SECOND AMENDMENT )         REQUEST FOR JUDICIAL NOTICE
         FOUNDATION; CALIFORNIA           )     IN SUPPORT OF MOTION TO
    15   GUN RIGHTS FOUNDATION; and )           DISMISS THE FIRST AMENDED
         FIREARMS POLICY COALITION, )           COMPLAINT
    16   INC.,                            )
                                          )     Date: June 30, 2020
    17                       Plaintiffs,  )     Time: 10:00 a.m.
                vs.                       )     Ctrm: 8b
    18                                    )     Judge: Hon. Consuelo B. Marshall
         COUNTY OF VENTURA,               )
    19   CALIFORNIA; BILL AYUB, in his )        Trial:           Not Set
         official capacity; WILLIAM T.    )     Complaint Filed: March 28, 2020
    20   FOLEY, in his official capacity, )
         ROBERT LEVIN, in his official    )
    21   capacity; and VENTURA COUNTY )
         PUBLIC HEALTH CARE AGENCY, )
    22                                    )
                             Defendants.  )
    23                                    )
    24 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    25         Defendants County of Ventura (sued in its own name and erroneously in the
    26 name of “Ventura County Public Health Care Agency”), Sheriff William Ayub
    27 (erroneously sued as “Bill Ayub”), Robert Levin and William T. Foley
    28 (collectively “Defendants”), pursuant to Federal Rules of Evidence, rule 201,

                                                1
                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
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     1 request that this court take judicial notice of the following official public
     2 documents and newspaper articles, including:
     3         Exhibit 1: South Bay United Pentecostal v. Newsom (May 29, 2020,
     4 No. 19A1044), 590 U.S. ___ [2020 WL 2813056] (“South Bay United”).
     5         Exhibit 2: Centers for Disease Control & Prevention, Coronavirus Disease,
     6 Cases in the U.S., at https://tinyurl.com/qqt3aq6 (last visited June 1, 2020).
     7         Exhibit 3: California Department of Public Health, California COVID-19
     8 By The Numbers as of May 30, 2020, at https://www.cdph.ca.gov/Programs/CID/
     9 DCDC/Pages/Immunization/ ncov2019.aspx# (last visited June 1, 2020).
    10 Statewide Case Statistics, Ventura Case Statistics as of May 31, 2020, at
    11 https://public.tableau.com/views/COVID-19PublicDashboard/Covid-19Public?:e
    12 mbed=y&:display_count=no&:showVizHome=no (last visited June 1, 2020).
    13         Exhibit 4: Gish v. Newsom (C.D. Cal. April 23, 2020), 2020 WL 1970070,
    14 Case No. 5:20-cv-00755-JGB-KK, ECF 51, pg. ID 1021.
    15         Exhibit 5: New England Journal of Medicine, Aerosol and Surface
    16 Stability of SARS-CoV-2 as Compared with SARS-CoV-1 (April 16, 2020), at
    17 https://www. nejm.org/doi/pdf/10.1056/NEJMc2004973?articleTools=true (last
    18 visited June 1, 2020).
    19         Exhibit 6: Stadnytskyi et al., The Airborne Lifetime of Small Speech
    20 Droplets and their Potential Importance in SARS-CoV-2 Transmission,
    21 Proceedings of the National Academy of Sciences (May 4, 2020) at
    22 https://www.pnas.org/content/pnas/early/2020/05/12/2006874117.full.pdf (last
    23 visited June 1, 2020.
    24         Exhibit 7: Harvard Health Publishing, Harvard Medical School, COVID-19
    25 Basics, Symptoms, Spread & Other Essential Information About the New
    26 Coronavirus and COVID-19 (Published March 2020, updated June 1, 2020) at
    27 https://www.health.harvard.edu/diseases-and-conditions/covid-19-basics (last
    28 visited June 1, 2020).

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     1        Exhibit 8: Stanford Health Care, Frequently Asked Questions about the
     2 Novel Coronavirus (COVD-19) at https://stanfordhealthcare.org/stanford-health
     3 -care-now/2020/novel-coronavirus/faqs-about-covid-19.html#:~:text=Not%20yet.
     4 %20Currently%20there,12%2D15%20months (last visied June 1, 2020).
     5        Exhibit 9: Executive Department of the State of California, Proclamation
     6 of a Statewide Emergency, from the Executive Department, State of California,
     7 signed by Governor Gavin Newsom (March 4, 2020).
     8        Exhibit 10: County of Ventura, Declaration of Local Emergency by County
     9 Health Officer (March 12, 2020).
    10        Exhibit 11: County of Ventura, Health Officer Order for the Control of
    11 COVID-19 Directing Vulnerable Individuals Living in the County to Shelter at
    12 Their Place of Residence, Restrictions of Certain Businesses, Among other
    13 Orders, Date of Order: March 17, 2020 (March 17, 2020).
    14        Exhibit 12: Executive Department of the State of California, Executive
    15 Order No. N-33-20 (March 19, 2020).
    16        Exhibit 13: United States Department of Homeland Security, Cybersecurity
    17 and Infrastructure Security Agency (“CISA”), March 19, 2020, Memorandum on
    18 Identification of Critical Infrastructure Workers During COVID-19 Response
    19 (March 19, 2020) available at: https://www.cisa.gov/sites/default/files/
    20 publications/CISA-Guidance-on-Essential-Critical-Infrastructure-Workers-1-20-5
    21 08c.pdf (last visited April 1, 2020).
    22        Exhibit 14: Public Health Officer of the State of California, Essential
    23 Business List (March 22, 2020) available at
    24 https://covid19.ca.gov/img/EssentialCriticalInfrastructureWorkers.pdf (visited
    25 April 27, 2020).
    26        Exhibit 15: Mercury News, Coronavirus: Are Gun Stores Essential?
    27 Governor Newsom Sidesteps that Question, Leaves It to the Counties (March 25,
    28 2020) available at https://www.mercurynews.com/2020/03/25/coronavirus-are-

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                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
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     1 gun-stores-essential-governor-sidesteps-that-question-leaves-it-to-the-counties
     2 (visited April 26, 2020).
     3         Exhibit 16: United States Department of Homeland Security, Cybersecurity
     4 and Infrastructure Security Agency (“CISA”), March 28, 2020, Memorandum on
     5 Identification of Critical Infrastructure Workers During COVID-19 Response
     6 (March 28, 2020) available at: https://www.cisa.gov/sites/default/files/
     7 publications/Version_3.0_CISA_Guidance_on_Essential_Critical_Infrastructure_
     8 Workers_1.pdf (last visited June 1, 2020).
     9         Exhibit 17: County of Ventura, Stay Well At Home Order of the Ventura
    10 County Health Officer (March 20, 2020).
    11         Exhibit 18: County of Ventura, Stay Well At Home Order of the Ventura
    12 County Health Officer (March 31, 2020).
    13         Exhibit 19: County of Ventura, Stay Well At Home Order of the Ventura
    14 County Health Officer (April 9, 2020).
    15         Exhibit 20: County of Ventura, Stay Well At Home Order of the Ventura
    16 County Health Officer (April 20, 2020).
    17         Exhibit 21: Executive Department of the State of California, Executive
    18 Order No. N-60-20 (May 4, 2020).
    19         Exhibit 22: California Department of Public Health, Order of the State
    20 Public Health Officer (May 7, 2020).
    21         Exhibit 23: County of Ventura, Stay Well VC, Safely Reopening Ventura
    22 County (May 7, 2020).
    23         Exhibit 24: County of Ventura, VC Emergency Coronavirus Information,
    24 Frequently Asked Questions, available at https://www.vcemergency.com/
    25 staywellvc/faqs-general (last visited June 1, 2020).
    26         Exhibit 25: County of Ventura, Stay Well VC, Safely Reopening Ventura
    27 County (May 22, 2020).
    28 / / /

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                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
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     1         Exhibit 26: County of Ventura, Stay Well VC, Safely Reopening Ventura
     2 County (May 20, 2020).
     3         Exhibit 27: County of Ventura, Stay Well VC, Safely Reopening Ventura
     4 County (May 29, 2020).
     5         Exhibit 28: South Bay United Pentecostal v. Newsom (9th Cir. May 22,
     6 2020) 2020 WL 2687079, Case No. 20-55533 aff’d (May 29, 2020, No. 19A1044)
     7 590 U.S. ___, at p. 1.
     8         Defendants respectfully submit that public documents and newspaper
     9 articles (Exhibits 1-22) are proper for judicial notice as well as for consideration
    10 by this court with Defendants’ opposition to the motion for preliminary injunction
    11 filed by plaintiffs Donald McDougall, Juliana Garcia, Second Amendment
    12 Foundation, California Gun Rights Foundation and Firearms Policy Coalition
    13 (collectively “Plaintiffs”). Courts may take judicial notice of “a fact that is not
    14 subject to reasonable dispute because it . . . can be accurately and readily
    15 determined from sources whose accuracy cannot reasonably be questioned” and
    16 where such judicial notice “is requested by a party and supplied with the necessary
    17 information” “at any stage of the proceeding.” (Fed. Rules Evid., rules 201(b)(2),
    18 (d) and (f); Hepting v. AT & T Corp. (N.D. Cal. 2006) 439 F.Supp.2d 974, 987-
    19 989 [taking judicial notice of official reports, newspaper articles, and press
    20 releases]; Pacific Gas & Elec. Co. v. Lynch (C.D. Cal. May 2, 2001) No.
    21 CV 01-1083RSWLSHX, 2001 WL 840611 at *6 [taking judicial notice of
    22 California Governor Gray Davis’s January 17, 2001, Proclamation of a State of
    23 Emergency]; U.S. ex rel. Modglin v. DJO Global Inc. (C.D. Cal. 2014)
    24 48 F.Supp.3d 1362, 1381 [“Under Rule 201, the court can take judicial notice of
    25 ‘[p]ublic records and government documents available from reliable sources on
    26 the Internet,’ such as websites run by governmental agencies”]; County of Santa
    27 Clara v. Trump (N.D. Cal. 2017) 250 F.Supp.3d 497, 520 [taking judicial notice of
    28 proclamations made by U.S. Attorney General Jeff Sessions]; Merced Irrigation

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                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
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     1 Dist. v. County of Mariposa (E.D.Cal. 2013) 941 F.Supp.2d 1237, 1261–1262
     2 [taking judicial notice of Board of Supervisors’ resolution as matter of public
     3 record]; Catholic League for Religious & Civil Rights v. City & County of San
     4 Francisco (9th Cir. 2009) 567 F.3d 595, 606, on reh’g en banc (9th Cir. 2010)
     5 624 F.3d 1043 [judicial notice of county board of supervisors’ actions according
     6 to its public resolution]; Elena Selk v. Pioneers Mem’l Healthcare Dist., (S.D. Cal.
     7 Apr. 7, 2014) No. 13CV0244 DMS (BGS), 2014 WL 12729166 at *2 [taking
     8 judicial notice of date entity was established according to board of supervisors’
     9 resolution].
    10         Here, the attached exhibits are publicly available records whose authenticity
    11 is not reasonably questionable. As a result, Defendants ask that this court take
    12 judicial notice of these documents.
    13                                    LEROY SMITH
                                          County Counsel, County of Ventura
    14
    15
         Dated: June 2, 2020              By             /s/
    16                                          CHARMAINE H. BUEHNER
                                                Assistant County Counsel
    17
                                          Attorneys for Defendant County of Ventura
    18                                    (also erroneously sued as Ventura County Public
                                          Health Care Agency), Sheriff William Ayub
    19                                    (erroneously sued as “Bill Ayub”), Robert Levin
                                          and William T. Foley
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                                REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
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                SUPREME COURT OF THE UNITED STATES
                                         _________________

                                         No. 19A1044
                                         _________________

                 SOUTH BAY UNITED PENTECOSTAL CHURCH, ET AL.
                        v. GAVIN NEWSOM, GOVERNOR OF
                               CALIFORNIA, ET AL.
                         ON APPLICATION FOR INJUNCTIVE RELIEF
                                        [May 29, 2020]

                   The application for injunctive relief presented to JUSTICE
                KAGAN and by her referred to the Court is denied.
                   JUSTICE THOMAS, JUSTICE ALITO, JUSTICE GORSUCH, and
                JUSTICE KAVANAUGH would grant the application.
                   CHIEF JUSTICE ROBERTS, concurring in denial of applica-
                tion for injunctive relief.
                   The Governor of California’s Executive Order aims to
                limit the spread of COVID–19, a novel severe acute respir-
                atory illness that has killed thousands of people in Califor-
                nia and more than 100,000 nationwide. At this time, there
                is no known cure, no effective treatment, and no vaccine.
                Because people may be infected but asymptomatic, they
                may unwittingly infect others. The Order places temporary
                numerical restrictions on public gatherings to address this
                extraordinary health emergency. State guidelines cur-
                rently limit attendance at places of worship to 25% of build-
                ing capacity or a maximum of 100 attendees.
                   Applicants seek to enjoin enforcement of the Order.
                “Such a request demands a significantly higher justification
                than a request for a stay because, unlike a stay, an injunc-
                tion does not simply suspend judicial alteration of the sta-
                tus quo but grants judicial intervention that has been with-
                held by lower courts.” Respect Maine PAC v. McKee, 562
                U. S. 996 (2010) (internal quotation marks omitted). This




                                Exhibit 1, Page 1 of 6
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                power is used where “the legal rights at issue are indisput-
                ably clear” and, even then, “sparingly and only in the most
                critical and exigent circumstances.” S. Shapiro, K. Geller,
                T. Bishop, E. Hartnett & D. Himmelfarb, Supreme Court
                Practice §17.4, p. 17-9 (11th ed. 2019) (internal quotation
                marks omitted) (collecting cases).
                  Although California’s guidelines place restrictions on
                places of worship, those restrictions appear consistent with
                the Free Exercise Clause of the First Amendment. Similar
                or more severe restrictions apply to comparable secular
                gatherings, including lectures, concerts, movie showings,
                spectator sports, and theatrical performances, where large
                groups of people gather in close proximity for extended pe-
                riods of time. And the Order exempts or treats more leni-
                ently only dissimilar activities, such as operating grocery
                stores, banks, and laundromats, in which people neither
                congregate in large groups nor remain in close proximity for
                extended periods.
                  The precise question of when restrictions on particular
                social activities should be lifted during the pandemic is a
                dynamic and fact-intensive matter subject to reasonable
                disagreement. Our Constitution principally entrusts “[t]he
                safety and the health of the people” to the politically ac-
                countable officials of the States “to guard and protect.” Ja-
                cobson v. Massachusetts, 197 U. S. 11, 38 (1905). When
                those officials “undertake[ ] to act in areas fraught with
                medical and scientific uncertainties,” their latitude “must
                be especially broad.” Marshall v. United States, 414 U. S.
                417, 427 (1974). Where those broad limits are not exceeded,
                they should not be subject to second-guessing by an “une-
                lected federal judiciary,” which lacks the background, com-
                petence, and expertise to assess public health and is not ac-
                countable to the people. See Garcia v. San Antonio
                Metropolitan Transit Authority, 469 U. S. 528, 545 (1985).
                  That is especially true where, as here, a party seeks




                                Exhibit 1, Page 2 of 6
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                emergency relief in an interlocutory posture, while local of-
                ficials are actively shaping their response to changing facts
                on the ground. The notion that it is “indisputably clear”
                that the Government’s limitations are unconstitutional
                seems quite improbable.




                                Exhibit 1, Page 3 of 6
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              SUPREME COURT OF THE UNITED STATES
                                       _________________

                                       No. 19A1044
                                       _________________

              SOUTH BAY UNITED PENTECOSTAL CHURCH, ET AL.
                     v. GAVIN NEWSOM, GOVERNOR OF
                            CALIFORNIA, ET AL.
                       ON APPLICATION FOR INJUNCTIVE RELIEF
                                      [May 29, 2020]

                 JUSTICE KAVANAUGH, with whom JUSTICE THOMAS and
              JUSTICE GORSUCH join, dissenting from denial of applica-
              tion for injunctive relief.
                 I would grant the Church’s requested temporary injunc-
              tion because California’s latest safety guidelines discrimi-
              nate against places of worship and in favor of comparable
              secular businesses. Such discrimination violates the First
              Amendment.
                 In response to the COVID–19 health crisis, California has
              now limited attendance at religious worship services to 25%
              of building capacity or 100 attendees, whichever is lower.
              The basic constitutional problem is that comparable secular
              businesses are not subject to a 25% occupancy cap, includ-
              ing factories, offices, supermarkets, restaurants, retail
              stores, pharmacies, shopping malls, pet grooming shops,
              bookstores, florists, hair salons, and cannabis dispensaries.
                 South Bay United Pentecostal Church has applied for
              temporary injunctive relief from California’s 25% occu-
              pancy cap on religious worship services. Importantly, the
              Church is willing to abide by the State’s rules that apply to
              comparable secular businesses, including the rules regard-
              ing social distancing and hygiene. But the Church objects
              to a 25% occupancy cap that is imposed on religious worship
              services but not imposed on those comparable secular busi-
              nesses.




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                 In my view, California’s discrimination against religious
              worship services contravenes the Constitution. As a gen-
              eral matter, the “government may not use religion as a ba-
              sis of classification for the imposition of duties, penalties,
              privileges or benefits.” McDaniel v. Paty, 435 U. S. 618, 639
              (1978) (Brennan, J., concurring in judgment). This Court
              has stated that discrimination against religion is “odious to
              our Constitution.” Trinity Lutheran Church of Columbia,
              Inc. v. Comer, 582 U. S. ___, ___ (2017) (slip op., at 15); see
              also, e.g., Good News Club v. Milford Central School, 533
              U. S. 98 (2001); Rosenberger v. Rector and Visitors of Univ.
              of Va., 515 U. S. 819 (1995); Church of Lukumi Babalu Aye,
              Inc. v. Hialeah, 508 U. S. 520 (1993); Lamb’s Chapel v. Cen-
              ter Moriches Union Free School Dist., 508 U. S. 384 (1993);
              McDaniel, 435 U. S. 618.
                 To justify its discriminatory treatment of religious wor-
              ship services, California must show that its rules are “jus-
              tified by a compelling governmental interest” and “nar-
              rowly tailored to advance that interest.” Lukumi, 508 U. S.,
              at 531–532. California undoubtedly has a compelling inter-
              est in combating the spread of COVID–19 and protecting
              the health of its citizens. But “restrictions inexplicably ap-
              plied to one group and exempted from another do little to
              further these goals and do much to burden religious free-
              dom.” Roberts v. Neace, 958 F. 3d 409, 414 (CA6 2020)
              (per curiam). What California needs is a compelling justifi-
              cation for distinguishing between (i) religious worship ser-
              vices and (ii) the litany of other secular businesses that are
              not subject to an occupancy cap.
                 California has not shown such a justification. The
              Church has agreed to abide by the State’s rules that apply
              to comparable secular businesses. That raises important
              questions: “Assuming all of the same precautions are taken,
              why can someone safely walk down a grocery store aisle but
              not a pew? And why can someone safely interact with a
              brave deliverywoman but not with a stoic minister?” Ibid.




                               Exhibit 1, Page 5 of 6
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                 The Church and its congregants simply want to be
              treated equally to comparable secular businesses. Califor-
              nia already trusts its residents and any number of busi-
              nesses to adhere to proper social distancing and hygiene
              practices. The State cannot “assume the worst when people
              go to worship but assume the best when people go to work
              or go about the rest of their daily lives in permitted social
              settings.” Ibid.
                 California has ample options that would allow it to com-
              bat the spread of COVID–19 without discriminating
              against religion. The State could “insist that the congre-
              gants adhere to social-distancing and other health require-
              ments and leave it at that—just as the Governor has done
              for comparable secular activities.” Id., at 415. Or alterna-
              tively, the State could impose reasonable occupancy caps
              across the board. But absent a compelling justification
              (which the State has not offered), the State may not take a
              looser approach with, say, supermarkets, restaurants, fac-
              tories, and offices while imposing stricter requirements on
              places of worship.
                 The State also has substantial room to draw lines, espe-
              cially in an emergency. But as relevant here, the Constitu-
              tion imposes one key restriction on that line-drawing: The
              State may not discriminate against religion.
                 In sum, California’s 25% occupancy cap on religious wor-
              ship services indisputably discriminates against religion,
              and such discrimination violates the First Amendment. See
              Ohio Citizens for Responsible Energy, Inc. v. NRC, 479 U. S.
              1312 (1986) (Scalia, J., in chambers). The Church would
              suffer irreparable harm from not being able to hold services
              on Pentecost Sunday in a way that comparable secular busi-
              nesses and persons can conduct their activities. I would
              therefore grant the Church’s request for a temporary in-
              junction. I respectfully dissent.




                              Exhibit 1, Page 6 of 6
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                                                C or r e sp ondence




                             Aerosol and Surface Stability of SARS-CoV-2
                                   as Compared with SARS-CoV-1
           To the Editor: A novel human coronavirus that                were generated with the use of a three-jet Colli-
           is now named severe acute respiratory syndrome               son nebulizer and fed into a Goldberg drum to
           coronavirus 2 (SARS-CoV-2) (formerly called                  create an aerosolized environment. The inoculum
           HCoV-19) emerged in Wuhan, China, in late 2019               resulted in cycle-threshold values between 20 and
           and is now causing a pandemic.1 We analyzed                  22, similar to those observed in samples obtained
           the aerosol and surface stability of SARS-CoV-2              from the upper and lower respiratory tract in
           and compared it with SARS-CoV-1, the most                    humans.
           closely related human coronavirus.2                              Our data consisted of 10 experimental condi-
               We evaluated the stability of SARS-CoV-2 and             tions involving two viruses (SARS-CoV-2 and
           SARS-CoV-1 in aerosols and on various surfaces               SARS-CoV-1) in five environmental conditions
           and estimated their decay rates using a Bayesian             (aerosols, plastic, stainless steel, copper, and
           regression model (see the Methods section in                 cardboard). All experimental measurements are
           the Supplementary Appendix, available with the               reported as means across three replicates.
           full text of this letter at NEJM.org). SARS-CoV-2                SARS-CoV-2 remained viable in aerosols
           nCoV-WA1-2020 (MN985325.1) and SARS-CoV-1                    throughout the duration of our experiment
           Tor2 (AY274119.3) were the strains used. Aero-               (3 hours), with a reduction in infectious titer
           sols (<5 μm) containing SARS-CoV-2 (105.25 50%               from 103.5 to 102.7 TCID50 per liter of air. This
           tissue-culture infectious dose [TCID50] per milli-           reduction was similar to that observed with
           liter) or SARS-CoV-1 (106.75-7.00 TCID50 per milliliter)     SARS-CoV-1, from 104.3 to 103.5 TCID50 per milli-
                                                                        liter (Fig. 1A).
                                                                            SARS-CoV-2 was more stable on plastic and
                    this week's letters                                 stainless steel than on copper and cardboard,
   1564 Aerosol and Surface Stability of SARS-CoV-2                     and viable virus was detected up to 72 hours
                                                                        after application to these surfaces (Fig. 1A), al-
        as Compared with SARS-CoV-1
                                                                        though the virus titer was greatly reduced (from
   1567 Epidemiologic and Survival Trends                               103.7 to 100.6 TCID50 per milliliter of medium after
        in Amyloidosis, 1987–2019                                       72 hours on plastic and from 103.7 to 100.6 TCID50
                                                                        per milliliter after 48 hours on stainless steel).
   1568 Complete Revascularization with Multivessel                     The stability kinetics of SARS-CoV-1 were simi-
        PCI for Myocardial Infarction                                   lar (from 103.4 to 100.7 TCID50 per milliliter after
   1572 PARP Inhibitors in Ovarian Cancer                               72 hours on plastic and from 103.6 to 100.6 TCID50
                                                                        per milliliter after 48 hours on stainless steel).
   1575 Schistosomiasis and the Global Goals                            On copper, no viable SARS-CoV-2 was measured
                                                                        after 4 hours and no viable SARS-CoV-1 was
   1576 A Trial of M72/AS01E Vaccine to Prevent
                                                                        measured after 8 hours. On cardboard, no viable
        Tuberculosis                                                    SARS-CoV-2 was measured after 24 hours and no
   1577 Baroreflex Dysfunction                                          viable SARS-CoV-1 was measured after 8 hours
                                                                        (Fig. 1A).

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                                                                                                                                                       A Titers of Viable Virus
                                                                                                                                                                                                      Aerosols                                                                Copper                          Cardboard                            Stainless Steel                           Plastic

                                                                                                                                                                                     104                                                                      104                                 104                                   104                                  104                                  SARS-CoV-2
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                                                                                                                              Exhibit 5, Page 2 of 4
                                                                                                                                                        (TCID50/liter of air)
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                                                                                                                                                                                                                                 (TCID50/ml of medium)
                                                                                                                                                                                            0         1.0      2.0         3.0                                       0   20     40     60   80           0   20      40     60   80            0   20      40     60   80           0   20      40     60   80
                                                                                                                                                                                                       Hours                                                                                                                          Hours




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                                                                                                                                                       C Half-Life of Viable Virus
                                                                                                                                                                                                      Aerosols                                                                Copper                          Cardboard                            Stainless Steel                           Plastic
                                                                                                                                                                                     10                                                                       10                                  10                                    10                                   10

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                                                                                                                                                                    Half-Life (hr)
                                                                                                                                                                                                                                             Half-Life (hr)
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                                                                                                                                                                                           SARS-CoV-2 SARS-CoV-1                                                    SARS-CoV-2       SARS-CoV-1         SARS-CoV-2        SARS-CoV-1          SARS-CoV-2        SARS-CoV-1         SARS-CoV-2        SARS-CoV-1
                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 2:20-cv-02927-CBM-AS Document 42-1 Filed 06/02/20 Page 29 of 212 Page ID
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          Figure 1 (previous page). Viability of SARS-CoV-1
                                                                             tion in the experiment, resulting in a larger
          and SARS-CoV-2 in Aerosols and on Various Surfaces.                standard error) for cardboard than for other
          As shown in Panel A, the titer of aerosolized viable virus         surfaces (Fig. S1 through S5), so we advise cau-
          is expressed in 50% tissue-culture infectious dose                 tion in interpreting this result.
          (TCID50) per liter of air. Viruses were applied to copper,             We found that the stability of SARS-CoV-2
          cardboard, stainless steel, and plastic maintained at 21           was similar to that of SARS-CoV-1 under the
          to 23°C and 40% relative humidity over 7 days. The titer
          of viable virus is expressed as TCID50 per milliliter of
                                                                             experimental circumstances tested. This indicates
          collection medium. All samples were quantified by                  that differences in the epidemiologic character-
          end-point titration on Vero E6 cells. Plots show the               istics of these viruses probably arise from other
          means and standard errors (I bars) across three repli-             factors, including high viral loads in the upper
          cates. As shown in Panel B, regression plots indicate              respiratory tract and the potential for persons
          the predicted decay of virus titer over time; the titer is
          plotted on a logarithmic scale. Points show measured
                                                                             infected with SARS-CoV-2 to shed and transmit
          titers and are slightly jittered (i.e., their horizontal posi-     the virus while asymptomatic.3,4 Our results in-
          tions are modified by a small random amount to reduce              dicate that aerosol and fomite transmission of
          overlap) along the time axis to avoid overplotting.                SARS-CoV-2 is plausible, since the virus can re-
          Lines are random draws from the joint posterior distri-            main viable and infectious in aerosols for hours
          bution of the exponential decay rate (negative of the
          slope) and intercept (initial virus titer) to show the
                                                                             and on surfaces up to days (depending on the
          range of possible decay patterns for each experimental             inoculum shed). These findings echo those with
          condition. There were 150 lines per panel, including 50            SARS-CoV-1, in which these forms of transmis-
          lines from each plotted replicate. As shown in Panel C,            sion were associated with nosocomial spread
          violin plots indicate posterior distribution for the half-         and super-spreading events,5 and they provide
          life of viable virus based on the estimated exponential
          decay rates of the virus titer. The dots indicate the pos-
                                                                             information for pandemic mitigation efforts.
          terior median estimates, and the black lines indicate a            Neeltje van Doremalen, Ph.D.
          95% credible interval. Experimental conditions are or-             Trenton Bushmaker, B.Sc.
          dered according to the posterior median half-life of
                                                                             National Institute of Allergy and Infectious Diseases
          SARS-CoV-2. The dashed lines indicate the limit of de-             Hamilton, MT
          tection, which was 3.33×10 0.5 TCID50 per liter of air for
          aerosols, 10 0.5 TCID50 per milliliter of medium for               Dylan H. Morris, M.Phil.
          plastic, steel, and cardboard, and 101.5 TCID50 per mil-           Princeton University
          liliter of medium for copper.                                      Princeton, NJ
                                                                             Myndi G. Holbrook, B.Sc.
                                                                             National Institute of Allergy and Infectious Diseases
             Both viruses had an exponential decay in virus                  Hamilton, MT
         titer across all experimental conditions, as indi-                  Amandine Gamble, Ph.D.
         cated by a linear decrease in the log10TCID50 per                   University of California, Los Angeles
         liter of air or milliliter of medium over time                      Los Angeles, CA
         (Fig. 1B). The half-lives of SARS-CoV-2 and                         Brandi N. Williamson, M.P.H.
         SARS-CoV-1 were similar in aerosols, with me-                       National Institute of Allergy and Infectious Diseases
         dian estimates of approximately 1.1 to 1.2 hours                    Hamilton, MT

         and 95% credible intervals of 0.64 to 2.64 for                      Azaibi Tamin, Ph.D.
         SARS-CoV-2 and 0.78 to 2.43 for SARS-CoV-1                          Jennifer L. Harcourt, Ph.D.
         (Fig. 1C, and Table S1 in the Supplementary Ap-                     Natalie J. Thornburg, Ph.D.
         pendix). The half-lives of the two viruses were also                Susan I. Gerber, M.D.
         similar on copper. On cardboard, the half-life of                   Centers for Disease Control and Prevention
                                                                             Atlanta, GA
         SARS-CoV-2 was longer than that of SARS-CoV-1.
         The longest viability of both viruses was on                        James O. Lloyd-Smith, Ph.D.
         stainless steel and plastic; the estimated median                   University of California, Los Angeles
                                                                             Los Angeles, CA
         half-life of SARS-CoV-2 was approximately 5.6                       Bethesda, MD
         hours on stainless steel and 6.8 hours on plastic
                                                                             Emmie de Wit, Ph.D.
         (Fig. 1C). Estimated differences in the half-lives
                                                                             Vincent J. Munster, Ph.D.
         of the two viruses were small except for those on
                                                                             National Institute of Allergy and Infectious Diseases
         cardboard (Fig. 1C). Individual replicate data were                 Hamilton, MT
         noticeably “noisier” (i.e., there was more varia-                   vincent.munster@nih.gov

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      Dr. van Doremalen, Mr. Bushmaker, and Mr. Morris contrib-                                  This letter was published on March 17, 2020, at NEJM.org.
   uted equally to this letter.
      The findings and conclusions in this letter are those of the                               1. Coronavirus disease (COVID-2019) situation reports. Ge-
   authors and do not necessarily represent the official position of                             neva: World Health Organization, 2020 (https://www.who.int/
   the Centers for Disease Control and Prevention (CDC). Names                                   emergencies/diseases/novel-coronavirus-2019/situation-reports/).
   of specific vendors, manufacturers, or products are included for                              2. Wu A, Peng Y, Huang B, et al. Genome composition and di-
   public health and informational purposes; inclusion does not                                  vergence of the novel coronavirus (2019-nCoV) originating in
   imply endorsement of the vendors, manufacturers, or products                                  China. Cell Host Microbe 2020;27:325-8.
   by the CDC or the Department of Health and Human Services.                                    3. Bai Y, Yao L, Wei T, et al. Presumed asymptomatic carrier trans-
      Supported by the Intramural Research Program of the Na-                                    mission of COVID-19. JAMA 2020 February 21 (Epub ahead of print).
   tional Institute of Allergy and Infectious Diseases, National In-                             4. Zou L, Ruan F, Huang M, et al. SARS-CoV-2 viral load in up-
   stitutes of Health, and by contracts from the Defense Advanced                                per respiratory specimens of infected patients. N Engl J Med
   Research Projects Agency (DARPA PREEMPT No. D18AC00031,                                       2020;382:1177-9.
   to Drs. Lloyd-Smith and Gamble), from the National Science                                    5. Chen YC, Huang LM, Chan CC, et al. SARS in hospital emer-
   Foundation (DEB-1557022, to Dr. Lloyd-Smith), and from the                                    gency room. Emerg Infect Dis 2004;10:782-8.
   Strategic Environmental Research and Development Program of
   the Department of Defense (SERDP, RC-2635, to Dr. Lloyd-Smith).                               DOI: 10.1056/NEJMc2004973
      Disclosure forms provided by the authors are available with
   the full text of this letter at NEJM.org.




     Epidemiologic and Survival Trends in Amyloidosis, 1987–2019
   To the Editor: Amyloidosis is a group of rare                                                 data were obtained from the United Kingdom
   disorders caused by deposition of misfolded pro-                                              National Amyloidosis Centre database. The num-
   teins as insoluble fibrils, which leads to progres-                                           ber of cases increased by 670% from the period
   sive multiorgan failure and death.1 The past 30                                               1987–1999 to the period 2010–2019 (Fig. 1A).
   years have seen remarkable advances in diagnos-                                               Systemic light-chain (AL) amyloidosis remained
   tic imaging, more accurate identification of fi-                                              the most common type and accounted for 55%
   brils, and (in recent years) the first approved                                               of all cases (Fig. 1B). With the advances in
   treatments.2,3                                                                                therapies that target plasma cells, overall sur-
      We report here data on 11,006 patients who                                                 vival among patients with AL amyloidosis in-
   received a diagnosis of amyloidosis during the                                                creased from a median of 18 months among
   period from 1987 through October 2019. All                                                    patients who received a diagnosis before 2005 to


    A Diagnoses of Amyloidosis According to Time Period and Type                                            B Diagnoses of Amyloidosis According to Type, 1987–2019
                                             All Cases      AL        ATTRwt           AA
                                                                                                                                                   Hereditary
                       3500                                                                                                                         ATTR,
                                                                                                                       Localized ATTRwt,              841
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                       2500                                                                                                                          AApo1,
     No. of Patients




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     Figure 1. Diagnoses of Amyloidosis over Three Decades and Amyloidosis Types.
     Panel A shows data for 11,006 cases of amyloidosis diagnosed from 1987 to 2019. Panel B shows data for the 10,755 cases for which fibril
     type could be determined accurately. AA denotes amyloid A, AApo1 amyloid apolipoprotein A-I, Aβ2M amyloid beta2 -microglobulin,
     AFib amyloid fibrinogen, ALect2 amyloid leukocyte chemotactic factor 2, AL light chain, ALys amyloid lysozyme, ATTR transthyretin-
     associated, and ATTRwt wild-type ATTR.



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                                                                                                                                                                                                                  BRIEF REPORT
                                      The airborne lifetime of small speech droplets and
                                      their potential importance in SARS-CoV-2 transmission
                                      Valentyn Stadnytskyia, Christina E. Baxb, Adriaan Baxa,1, and Philip Anfinruda,1
                                      a
                                       Laboratory of Chemical Physics, National Institute of Diabetes and Digestive and Kidney Diseases, National Institutes of Health, Bethesda, MD 20892-0520;
                                      and bPerelman School of Medicine, University of Pennsylvania, Philadelphia, PA 19104

                                      Edited by Axel T. Brunger, Stanford University, Stanford, CA, and approved May 4, 2020 (received for review April 10, 2020)

                                      Speech droplets generated by asymptomatic carriers of severe                       The amount by which a droplet shrinks upon dehydration
                                      acute respiratory syndrome coronavirus 2 (SARS-CoV-2) are in-                   depends on the fraction of nonvolatile matter in the oral fluid,
                                      creasingly considered to be a likely mode of disease transmission.              which includes electrolytes, sugars, enzymes, DNA, and rem-
                                      Highly sensitive laser light scattering observations have revealed              nants of dehydrated epithelial and white blood cells. Whereas
                                      that loud speech can emit thousands of oral fluid droplets per                  pure saliva contains 99.5% water when exiting the salivary
                                      second. In a closed, stagnant air environment, they disappear from              glands, the weight fraction of nonvolatile matter in oral fluid falls
                                      the window of view with time constants in the range of 8 to                     in the 1 to 5% range. Presumably, this wide range results from
                                      14 min, which corresponds to droplet nuclei of ca. 4 μm diameter,               differential degrees of dehydration of the oral cavity during
                                      or 12- to 21-μm droplets prior to dehydration. These observations               normal breathing and speaking and from decreased salivary
                                      confirm that there is a substantial probability that normal speak-              gland activity with age. Given a nonvolatile weight fraction in the
                                      ing causes airborne virus transmission in confined environments.                1 to 5% range and an assumed density of 1.3 g·mL−1 for that
                                                                                                                      fraction, dehydration causes the diameter of an emitted droplet




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                                      COVID-19 speech droplet independent action hypothesis       | respiratory       to shrink to about 20 to 34% of its original size, thereby slowing
                                             |
                                      disease disease transmission
                                                                                                                      down the speed at which it falls (1, 13). For example, if a droplet
                                                                                                                      with an initial diameter of 50 μm shrinks to 10 μm, the speed at

                                      I t has long been recognized that respiratory viruses can be
                                        transmitted via droplets that are generated by coughing or
                                      sneezing. It is less widely known that normal speaking also
                                                                                                                      which it falls decreases from 6.8 cm·s−1 to about 0.35 cm·s−1. The
                                                                                                                      distance over which droplets travel laterally from the speaker’s
                                                                                                                      mouth during their downward trajectory is dominated by the
                                      produces thousands of oral fluid droplets with a broad size dis-                total volume and flow velocity of exhaled air (8). The flow ve-
                                      tribution (ca. 1 μm to 500 μm) (1, 2). Droplets can harbor a                    locity varies with phonation (14), while the total volume and
                                      variety of respiratory pathogens, including measles (3) and in-                 droplet count increase with loudness (9). Therefore, in an envi-
                                      fluenza virus (4) as well as Mycobacterium tuberculosis (5). High               ronment of stagnant air, droplet nuclei generated by speaking
                                      viral loads of severe acute respiratory syndrome coronavirus 2                  will persist as a slowly descending cloud emanating from the
                                      (SARS-CoV-2) have been detected in oral fluids of coronavirus                   speaker’s mouth, with the rate of descent determined by the
                                      disease 2019 (COVID-19)−positive patients (6), including                        diameter of the dehydrated speech droplet nuclei.
                                      asymptomatic ones (7). However, the possible role of small                         The independent action hypothesis (IAH) states that each
                                      speech droplet nuclei with diameters of less than 30 μm, which                  virion has an equal, nonzero probability of causing an infection.
                                      potentially could remain airborne for extended periods of time                  Validity of IAH was demonstrated for infection of insect larvae
                                      (1, 2, 8, 9), has not been widely appreciated.                                  by baculovirus (15), and of plants by Tobacco etch virus variants
                                         In a recent report (10), we used an intense sheet of laser light             that carried green fluorescent protein markers (16). IAH applies
                                      to visualize bursts of speech droplets produced during repeated                 to systems where the host is highly susceptible, but the extent to
                                      spoken phrases. This method revealed average droplet emission                   which IAH is valid for humans and SARS-CoV-2 has not yet
                                      rates of ca. 1,000 s−1 with peak emission rates as high as                      been firmly established. For COVID-19, with an oral fluid av-
                                      10,000 s−1, with a total integrated volume far higher than in
                                                                                                                      erage virus RNA load of 7 × 106 copies per milliliter (maximum
                                      previous reports (1, 2, 8, 9). The high sensitivity of the light
                                                                                                                      of 2.35 × 109 copies per milliliter) (7), the probability that a
                                      scattering method in observing medium-sized (10 μm to 100 μm)
                                                                                                                      50-μm-diameter droplet, prior to dehydration, contains at least
                                      droplets, a fraction of which remain airborne for at least 30 s,
                                                                                                                      one virion is ∼37%. For a 10-μm droplet, this probability drops to
                                      likely accounts for the large increase in the number of observed
                                                                                                                      0.37%, and the probability that it contains more than one virion,
                                      droplets. Here, we derive quantitative estimates for both the
                                                                                                                      if generated from a homogeneous distribution of oral fluid, is
                                      number and size of the droplets that remain airborne. Larger
                                                                                                                      negligible. Therefore, airborne droplets pose a significant risk
                                      droplets, which are also abundant but associated with close-
                                      proximity direct virus transfer or fomite transmission (11), or                 only if IAH applies to human virus transmission. Considering
                                      which can become resuspended in air at a later point in time                    that frequent person-to-person transmission has been reported
                                      (12), are not considered here.                                                  in community and health care settings, it appears likely that IAH
                                         According to Stokes’ law, the terminal velocity of a falling
                                      droplet scales as the square of its diameter. Once airborne,
                                                                                                                      Author contributions: C.E.B., A.B., and P.A. designed research; V.S., A.B., and P.A. per-
                                      speech-generated droplets rapidly dehydrate due to evaporation,                 formed research; V.S. analyzed data; and C.E.B., A.B., and P.A. wrote the paper.
                                      thereby decreasing in size (13) and slowing their fall. The
                                                                                                                      The authors declare no competing interest.
                                      probability that a droplet contains one or more virions scales
                                                                                                                      This open access article is distributed under Creative Commons Attribution License 4.0
                                      with its initial hydrated volume, that is, as the cube of its di-               (CC BY).
                                      ameter, d. Therefore, the probability that speech droplets pass
                                                                                                                      Data deposition: Movies that show the experimental setup and the full 85-minute obser-
                                      on an infection when emitted by a virus carrier must take into                  vation of speech droplet nuclei have been deposited at Zenodo and can be accessed at
                                      account how long droplet nuclei remain airborne (proportional                   https://doi.org/10.5281/zenodo.3770559.
                                      to d−2) and the probability that droplets encapsulate at least one              1
                                                                                                                       To whom correspondence may be addressed. Email: bax@nih.gov or philip.anfinrud@
                                      virion (proportional to d3), the product of which is proportional
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                                      www.pnas.org/cgi/doi/10.1073/pnas.2006874117                                                                                           PNAS Latest Articles | 1 of 3
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                                      applies to COVID-19 and other highly contagious airborne re-                    scattered light intensity to the size of the scattering particle be-
                                      spiratory diseases, such as influenza and measles.                              cause the light intensity varies across the sheet. However, the
                                                                                                                      brightest 25% were found to decay more quickly than the dim-
                                      Results and Discussion                                                          mer fraction, with the two curves reasonably well described by
                                      The output from a green (532 nm) Coherent Verdi laser oper-                     exponential decay times of 8 and 14 min, respectively (Fig. 1A).
                                      ating at 4-W optical power was transformed with spherical and                   These fits indicate that, near time 0, there were, on average,
                                      cylindrical optics into a light sheet that is ∼1 mm thick and                   approximately nine droplet nuclei in the 30-cm3 observation
                                      150 mm tall. This light sheet passed through slits centered on                  window, with the larger and brighter nuclei (on average) falling
                                      opposite sides of a cubic 226-L enclosure. When activated, a                    to the bottom of the enclosure at faster speeds than the smaller
                                      40-mm, 12-V muffin fan inside the enclosure spatially homoge-                   and dimmer ones.
                                      nizes the distribution of particles in the enclosure. A movie                      With the assumption that the contents of the box are ho-
                                      showing the arrangement is available (17). Movie clips of speech                mogenized by the muffin fan at time 0, the average number of
                                      droplet nuclei were recorded at a frame rate of 24 Hz with high-                droplets found in a single frame near time 0 corresponds to ca.
                                      definition resolution (1,920 × 1,080 pixels). The camera lens                   66,000 small droplets emitted into the 226-L enclosure, or ca.
                                      provided a horizontal field of view of ∼20 cm. Therefore, the                   2,600 small droplet nuclei per second of speaking. If the particle
                                      volume intercepted by the light sheet and viewed by the camera                  size distribution were a delta function and the particles were
                                      is ∼30 cm3. The total number of particles in the enclosure can be               uniformly distributed in the enclosure, the particle count would
                                      approximated by multiplying the average number of particles                     be expected to remain constant until particles from the top of the
                                      detected in a single movie frame by the volume ratio of the en-                 enclosure descend to the top of the light sheet, after which the
                                      closure to the visualized sheet, which is ∼7,300. Slow convection               particle count would decay linearly to background level. The
                                      currents, at speeds of a few centimeters per second, remained for               observation that the decay profiles are approximately exponen-
                                      the duration of the recording. These convection currents are at-                tial points to a substantial heterogeneity in particle sizes, even
                                      tributed to a 0.5 °C temperature gradient in the enclosure (bottom              after binning them into two separate groups.
                                      to top) that presumably is due to heat dissipated by the iPhone11                  The weighted average decay rate (0.085 min−1) of the bright
                                      camera, which was attached to the front side of the enclosure. Since            and dim fractions of particles (Fig. 1A) translates into a half-life
                                      the net air flux across any horizontal plane of the enclosure is zero,          in the enclosure of ca. 8 min. Assuming this half-life corresponds
                                      this convection does not impact the average rate at which droplet               to the time required for a particle to fall 30 cm (half the height of
                                      nuclei fall to the bottom of the enclosure.                                     the box), its terminal velocity is only 0.06 cm·s−1, which corre-
                                         With the internal circulation fan turned on, the enclosure was               sponds to a droplet nucleus diameter of ∼4 μm. At the relative
                                      purged with HEPA-filtered air for several minutes. Then, the                    humidity (27%) and temperature (23 °C) of our experiment, we
                                      purge shutter was closed, the movie clip was started, the speaker               expect the droplets to dehydrate within a few seconds. A dehy-
                                      port was opened, and the enclosure was “filled” with speech                     drated particle of 4 μm corresponds to a hydrated droplet of ca.
                                      droplets by someone repeating the phrase “stay healthy” for 25 s.               12- to 21-μm diameter, or a total hydrated volume of ∼60 nL
                                      This phrase was chosen because the “th” phonation in the word                   to 320 nL for 25 s of loud speaking. At an average viral load of
                                      “healthy” was found to be an efficient generator of oral fluid                  7 × 106 per milliliter (7), we estimate that 1 min of loud speaking
                                      speech droplets. The internal fan was turned off 10 s after speech              generates at least 1,000 virion-containing droplet nuclei that
                                      was terminated, and the camera continued recording for 80 min.                  remain airborne for more than 8 min. These therefore could be
                                      The movie clip was analyzed frame by frame to determine the                     inhaled by others and, according to IAH, trigger a new SARS-CoV-2
                                      number of spots/streaks whose maximum single-pixel intensity                    infection.
                                      exceeded a threshold value of 30. Fig. 1 charts the time-                          The longest decay constant observed by us corresponds to
                                      dependent decrease in the number of scattering particles de-                    droplets with a hydrated diameter of ≥12 μm when exiting
                                      tected. We are not yet able to quantitatively link the observed                 the mouth. The existence of even smaller droplets has been


                                                                   A                                                    B




                                      Fig. 1. Light scattering observation of airborne speech droplet nuclei, generated by a 25-s burst of repeatedly speaking the phrase “stay healthy” in a loud
                                      voice (maximum 85 dBB at a distance of 30 cm; average 59 dBB). (A) Chart of particle count per frame versus time (smoothed with a 24-s moving average), with
                                      the red curve representing the top 25% in scattering brightness and the green curve representing the rest. The bright fraction (red) decays with a time
                                      constant of 8 min, and the dimmer fraction (green) decays with a time constant of 14 min. Both exponential decay curves return to their respective back-
                                      ground level of ca. 0 (red horizontal dashed line) and 0.4 (green dashed line) counts per frame. Time “0” corresponds to the time the stirring fan was turned
                                      off. The 25-s burst of speaking started 36 s before time 0. The black arrow (at 0.5 min) marks the start of the exponential fits. (B) Image of the sum of 144
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                                      consecutive frames (spanning 6 s) extracted shortly after the end of the 25-s burst of speaking. The dashed circle marks the needle tip used for focusing the
                                      camera. The full movie recording is available in ref. 17, with time “0” in the graph at time point 3:38 in the movie.


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                                                                                                                                                                                                                                       BRIEF REPORT
                                      established by aerodynamic particle sizer (APS) measurements                                    load shows large patient-to-patient variation. Some patients have
                                      (2). APS is widely used for detecting aerosol particulates and is                               viral titers that exceed the average titer of Wölfel et al. by more
                                      best suited for particles in the 0.5- to 5-μm range. Morawska                                   than two orders of magnitude (7, 18), thereby increasing the
                                      et al. (2) detected as many as 330 particles per second in the 0.8-                             number of virions in the emitted droplets to well over 100,000
                                      to 5.5-μm range upon sustained “aah” vocalization. Considering                                  per minute of speaking. The droplet nuclei observed in our
                                      the short travel time (0.7 s) between exiting the mouth and the                                 present study and previously by APS (2, 9) are sufficiently small
                                      APS detector, and the high relative humidity (59%) used in that                                 to reach the lower respiratory tract, which is associated with an
                                      study, droplet dehydration may have been incomplete. If it were                                 increased adverse disease outcome (19, 20).
                                      75% dehydrated at the detector, an observed 5.5-μm particle                                        Our laser light scattering method not only provides real-time
                                      would have started as an 8.7-μm droplet when exiting the mouth,                                 visual evidence for speech droplet emission, but also assesses
                                      well outside the 12- to 21-μm range observed above by light                                     their airborne lifetime. This direct visualization demonstrates
                                      scattering. This result suggests that APS and light scattering
                                                                                                                                      how normal speech generates airborne droplets that can remain
                                      measurements form a perfect complement. However, we also
                                      note that, even while the smallest droplet nuclei effectively re-                               suspended for tens of minutes or longer and are eminently ca-
                                      main airborne indefinitely and have half-lives that are dominated                               pable of transmitting disease in confined spaces.
                                      by the ventilation rate, at a saliva viral load of 7 × 106 copies per
                                                                                                                                      Data Availability Statement. All raw data used for analysis are
                                      milliliter, the probability that a 1-μm droplet nucleus (scaled
                                      back to its originally hydrated 3-μm size) contains a virion is                                 available in ref. 17.
                                      only 0.01%.                                                                                     ACKNOWLEDGMENTS. We thank Bernhard Howder for technical support,
                                         Our current setup does not detect every small particle in each                               Clemens Wendtner, William A. Eaton, Roland Netz, and Steven Chu for in-
                                      frame of the movie, and our reported values are therefore con-                                  sightful comments. This work was supported by the Intramural Research Pro-
                                      servative lower limit estimates. We also note that the saliva viral                             gram of the National Institute of Diabetes and Digestive and Kidney Diseases.




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$BO$07*%TZNQUPNTXPSTFOSBQJEMZBGUFSTFWFSBMEBZTPGJMMOFTT
$PNNPOTZNQUPNTPG$07*%JODMVEFGFWFS ESZDPVHI GBUJHVF MPTTPGBQQFUJUF MPTTPGTNFMM BOECPEZBDIF*OTPNFQFPQMF $07*%
DBVTFTNPSFTFWFSFTZNQUPNTMJLFIJHIGFWFS TFWFSFDPVHI BOETIPSUOFTTPGCSFBUI XIJDIPGUFOJOEJDBUFTQOFVNPOJB

"QFSTPONBZIBWFNJMETZNQUPNTGPSBCPVUPOFXFFL UIFOXPSTFOSBQJEMZ-FUZPVSEPDUPSLOPXJGZPVSTZNQUPNTRVJDLMZXPSTFOPWFSBTIPSU
QFSJPEPGUJNF"MTPDBMMUIFEPDUPSSJHIUBXBZJGZPVPSBMPWFEPOFXJUI$07*%FYQFSJFODFBOZPGUIFGPMMPXJOHFNFSHFODZTZNQUPNT
USPVCMFCSFBUIJOH QFSTJTUFOUQBJOPSQSFTTVSFJOUIFDIFTU DPOGVTJPOPSJOBCJMJUZUPBSPVTFUIFQFSTPO PSCMVJTIMJQTPSGBDF

8IBUBSFDZUPLJOFTUPSNTBOEXIBUEPUIFZIBWFUPEPXJUI$07*%
"DZUPLJOFTUPSNJTBOPWFSSFBDUJPOPGUIFCPEZgTJNNVOFTZTUFN*OTPNFQFPQMFXJUI$07*% UIFJNNVOFTZTUFNSFMFBTFTJNNVOF
NFTTFOHFST DBMMFEDZUPLJOFT JOUPUIFCMPPETUSFBNPVUPGQSPQPSUJPOUPUIFUISFBUPSMPOHBGUFSUIFWJSVTJTOPMPOHFSBUISFBU

8IFOUIJTIBQQFOT UIFJNNVOFTZTUFNBUUBDLTUIFCPEZgTPXOUJTTVFT QPUFOUJBMMZDBVTJOHTJHOJÖDBOUIBSN"DZUPLJOFTUPSNUSJHHFSTBO
FYBHHFSBUFEJOØBNNBUPSZSFTQPOTFUIBUNBZEBNBHFUIFMJWFS CMPPEWFTTFMT LJEOFZT BOEMVOHT BOEJODSFBTFGPSNBUJPOPGCMPPEDMPUT
UISPVHIPVUUIFCPEZ6MUJNBUFMZ UIFDZUPLJOFTUPSNNBZDBVTFNPSFIBSNUIBOUIFDPSPOBWJSVTJUTFMG

"TJNQMFCMPPEUFTUDBOIFMQEFUFSNJOFXIFUIFSTPNFPOFXJUI$07*%NBZCFFYQFSJFODJOHBDZUPLJOFTUPSN5SJBMTJODPVOUSJFTBSPVOEUIF
XPSMEBSFJOWFTUJHBUJOHXIFUIFSESVHTUIBUIBWFCFFOVTFEUPUSFBUDZUPLJOFTUPSNTJOQFPQMFXJUIPUIFS OPO$07*%DPOEJUJPOTDPVMECF
FÒFDUJWFJOQFPQMFXJUI$07*%

0OFPGUIFTZNQUPNTPG$07*%JTTIPSUOFTTPGCSFBUI8IBUEPFTUIBUNFBO
4IPSUOFTTPGCSFBUISFGFSTUPVOFYQFDUFEMZGFFMJOHPVUPGCSFBUI PSXJOEFE#VUXIFOTIPVMEZPVXPSSZBCPVUTIPSUOFTTPGCSFBUI 5IFSFBSF
NBOZFYBNQMFTPGUFNQPSBSZTIPSUOFTTPGCSFBUIUIBUBSFOPUXPSSJTPNF'PSFYBNQMF JGZPVGFFMWFSZBOYJPVT JUgTDPNNPOUPHFUTIPSUPG
CSFBUIBOEUIFOJUHPFTBXBZXIFOZPVDBMNEPXO

)PXFWFS JGZPVÖOEUIBUZPVBSFFWFSCSFBUIJOHIBSEFSPSIBWJOHUSPVCMFHFUUJOHBJSFBDIUJNFZPVFYFSUZPVSTFMG ZPVBMXBZTOFFEUPDBMMZPVS
EPDUPS5IBUXBTUSVFCFGPSFXFIBEUIFSFDFOUPVUCSFBLPG$07*% BOEJUXJMMTUJMMCFUSVFBGUFSJUJTPWFS

.FBOXIJMF JUgTJNQPSUBOUUPSFNFNCFSUIBUJGTIPSUOFTTPGCSFBUIJTZPVSPOMZTZNQUPN XJUIPVUBDPVHIPSGFWFS TPNFUIJOHPUIFSUIBO$07*%
JTUIFMJLFMZQSPCMFN

%PFT$07*%DBVTFTUSPLFT 8IBUBCPVUCMPPEDMPUTJOPUIFSQBSUTPGUIFCPEZ
                                                       Exhibit 7, Page 2 of 7                                                                     
4USPLFTPDDVSXIFOUIFCSBJOgTCMPPETVQQMZJTJOUFSSVQUFE
          Case 2:20-cv-02927-CBM-AS Document               VTVBMMZCZBCMPPEDMPU3FDFOUMZ
                                                                     42-1 Filed 06/02/20      UIFSFIBWFCFFOSFQPSUTPGBHSFBUFSUIBOFYQFDUFE
                                                                                                      Page 37 of 212 Page ID
                                                                       #:820 TFSJPVTTUSPLFT5IFTFTUSPLFTBSFIBQQFOJOHJOQBUJFOUTXIPUFTU
OVNCFSPGZPVOHFSQBUJFOUTCFJOHIPTQJUBMJ[FEGPS BOETPNFUJNFTEZJOHGSPN
QPTJUJWFGPSDPSPOBWJSVTCVUXIPEPOPUIBWFBOZUSBEJUJPOBMSJTLGBDUPSTGPSTUSPLF5IFZUFOEUPIBWFOP$07*%TZNQUPNT PSPOMZNJME
TZNQUPNT5IFUZQFPGTUSPLFPDDVSSJOHJOUIFTFQBUJFOUTUZQJDBMMZPDDVSTJONVDIPMEFSQBUJFOUT

$07*%SFMBUFETUSPLFTPDDVSCFDBVTFPGBCPEZXJEFJODSFBTFJOCMPPEDMPUGPSNBUJPO XIJDIDBOEBNBHFBOZPSHBO OPUKVTUUIFCSBJO"CMPPE
DMPUJOUIFMVOHTJTDBMMFEQVMNPOBSZFNCPMJTNBOEDBODBVTFTIPSUOFTTPGCSFBUI DIFTUQBJO PSEFBUIBCMPPEDMPUJOPSOFBSUIFIFBSUDBO
DBVTFBIFBSUBUUBDLBOECMPPEDMPUTJOUIFLJEOFZTDBODBVTFLJEOFZEBNBHFSFRVJSJOHEJBMZTJT

8FEPOgUZFULOPXJGUIFDPSPOBWJSVTJUTFMGTUJNVMBUFTCMPPEDMPUTUPGPSN PSJGUIFZBSFBSFTVMUPGBOPWFSBDUJWFJNNVOFSFTQPOTFUPUIFWJSVT

$BO$07*%BÒFDUCSBJOGVODUJPO
$07*%EPFTBQQFBSUPBÒFDUCSBJOGVODUJPOJOTPNFQFPQMF4QFDJÖDOFVSPMPHJDBMTZNQUPNTTFFOJOQFPQMFXJUI$07*%JODMVEFMPTTPG
TNFMM JOBCJMJUZUPUBTUF NVTDMFXFBLOFTT UJOHMJOHPSOVNCOFTTJOUIFIBOETBOEGFFU EJ[[JOFTT DPOGVTJPO EFMJSJVN TFJ[VSFT BOETUSPLF

0OFTUVEZUIBUMPPLFEBUQFPQMFXJUINPEFSBUFUPTFWFSF$07*%JO8VIBO $IJOBGPVOEUIBUBCPVUPOFUIJSEPGUIPTFQBUJFOUTIBEPOF
PSNPSFOFVSPMPHJDBMTZNQUPNT/FVSPMPHJDBMTZNQUPNTXFSFNPSFDPNNPOJOQFPQMFXJUINPSFTFWFSFEJTFBTF

/FVSPMPHJDBMTZNQUPNTIBWFBMTPCFFOTFFOJO$07*%QBUJFOUTJOUIF64BOEBSPVOEUIFXPSME4PNFQFPQMFXJUIOFVSPMPHJDBMTZNQUPNT
UFTUFEQPTJUJWFGPS$07*%CVUEJEOPUIBWFBOZSFTQJSBUPSZTZNQUPNTMJLFDPVHIJOHPSEJÓDVMUZCSFBUIJOHPUIFSTFYQFSJFODFECPUI
OFVSPMPHJDBMBOESFTQJSBUPSZTZNQUPNT

&YQFSUTEPOPULOPXIPXUIFDPSPOBWJSVTDBVTFTOFVSPMPHJDBMTZNQUPNT5IFZNBZCFBEJSFDUSFTVMUPGJOGFDUJPOPSBOJOEJSFDUDPOTFRVFODFPG
JOØBNNBUJPOPSBMUFSFEPYZHFOBOEDBSCPOEJPYJEFMFWFMTDBVTFECZUIFWJSVT

5IF$%$IBTBEEFEOFXDPOGVTJPOPSJOBCJMJUZUPSPVTFUPJUTMJTUPGFNFSHFODZXBSOJOHTJHOTUIBUTIPVMEQSPNQUZPVUPHFUJNNFEJBUF
NFEJDBMBUUFOUJPO

*TBMPTUTFOTFPGTNFMMBTZNQUPNPG$07*% 8IBUTIPVME*EPJG*MPTFNZTFOTFPGTNFMM
*ODSFBTJOHFWJEFODFTVHHFTUTUIBUBMPTUTFOTFPGTNFMM LOPXONFEJDBMMZBTBOPTNJB NBZCFBTZNQUPNPG$07*%5IJTJTOPUTVSQSJTJOH
CFDBVTFWJSBMJOGFDUJPOTBSFBMFBEJOHDBVTFPGMPTTPGTFOTFPGTNFMM BOE$07*%JTBDBVTFECZBWJSVT4UJMM MPTTPGTNFMMNJHIUIFMQEPDUPST
JEFOUJGZQFPQMFXIPEPOPUIBWFPUIFSTZNQUPNT CVUXIPNJHIUCFJOGFDUFEXJUIUIF$07*%WJSVT}BOEXIPNJHIUCFVOXJUUJOHMZ
JOGFDUJOHPUIFST

"TUBUFNFOUXSJUUFOCZBHSPVQPGFBS OPTFBOEUISPBUTQFDJBMJTUT PUPMBSZOHPMPHJTUT JOUIF6OJUFE,JOHEPNSFQPSUFEUIBUJO(FSNBOZ UXPPVU
PGUISFFDPOÖSNFE$07*%DBTFTIBEBMPTTPGTFOTFPGTNFMMJO4PVUI,PSFB PGQFPQMFXJUINJMETZNQUPNTXIPUFTUFEQPTJUJWFGPS
$07*%SFQPSUFEBOPTNJBBTUIFJSNBJOTZNQUPN

0O.BSDIOE UIF"NFSJDBO"DBEFNZPG0UPMBSZOHPMPHZl)FBEBOE/FDL4VSHFSZSFDPNNFOEFEUIBUBOPTNJBCFBEEFEUPUIFMJTUPG$07*%
TZNQUPNTVTFEUPTDSFFOQFPQMFGPSQPTTJCMFUFTUJOHPSTFMGJTPMBUJPO

*OBEEJUJPOUP$07*% MPTTPGTNFMMDBOBMTPSFTVMUGSPNBMMFSHJFTBTXFMMBTPUIFSWJSVTFT JODMVEJOHSIJOPWJSVTFTUIBUDBVTFUIFDPNNPODPME
4PBOPTNJBBMPOFEPFTOPUNFBOZPVIBWF$07*%4UVEJFTBSFCFJOHEPOFUPHFUNPSFEFÖOJUJWFBOTXFSTBCPVUIPXDPNNPOBOPTNJBJTJO
QFPQMFXJUI$07*% BUXIBUQPJOUBGUFSJOGFDUJPOMPTTPGTNFMMPDDVST BOEIPXUPEJTUJOHVJTIMPTTPGTNFMMDBVTFECZ$07*%GSPNMPTTPG
TNFMMDBVTFECZBMMFSHJFT PUIFSWJSVTFT PSPUIFSDBVTFTBMUPHFUIFS

6OUJMXFLOPXNPSF UFMMZPVSEPDUPSSJHIUBXBZJGZPVÖOEZPVSTFMGOFXMZVOBCMFUPTNFMM)FPSTIFNBZQSPNQUZPVUPHFUUFTUFEBOEUPTFMG
JTPMBUF

)PXMPOHJTJUCFUXFFOXIFOBQFSTPOJTFYQPTFEUPUIFWJSVTBOEXIFOUIFZTUBSUTIPXJOHTZNQUPNT
3FDFOUMZQVCMJTIFESFTFBSDIGPVOEUIBUPOBWFSBHF UIFUJNFGSPNFYQPTVSFUPTZNQUPNPOTFU LOPXOBTUIFJODVCBUJPOQFSJPE JTBCPVUÖWFUP
TJYEBZT)PXFWFS TUVEJFTIBWFTIPXOUIBUTZNQUPNTDPVMEBQQFBSBTTPPOBTUISFFEBZTBGUFSFYQPTVSFUPBTMPOHBTEBZTMBUFS5IFTF
ÖOEJOHTDPOUJOVFUPTVQQPSUUIF$%$SFDPNNFOEBUJPOPGTFMGRVBSBOUJOFBOENPOJUPSJOHPGTZNQUPNTGPSEBZTQPTUFYQPTVSF

)PXEPFTDPSPOBWJSVTTQSFBE

                                                         Exhibit 7, Page 3 of 7                                                                        
5IFDPSPOBWJSVTJTUIPVHIUUPTQSFBENBJOMZGSPNQFSTPOUPQFSTPO5IJTDBOIBQQFOCFUXFFOQFPQMFXIPBSFJODMPTFDPOUBDUXJUIPOFBOPUIFS
          Case 2:20-cv-02927-CBM-AS Document 42-1 Filed 06/02/20 Page 38 of 212 Page ID
                                                                    #:821
%SPQMFUTUIBUBSFQSPEVDFEXIFOBOJOGFDUFEQFSTPODPVHITPSTOFF[FTNBZMBOEJOUIFNPVUITPSOPTFTPGQFPQMFXIPBSFOFBSCZ  PSQPTTJCMZ
CFJOIBMFEJOUPUIFJSMVOHT

"QFSTPOJOGFDUFEXJUIDPSPOBWJSVT}FWFOPOFXJUIOPTZNQUPNT}NBZFNJUBFSPTPMTXIFOUIFZUBMLPSCSFBUIF"FSPTPMTBSFJOGFDUJPVTWJSBM
QBSUJDMFTUIBUDBOØPBUPSESJGUBSPVOEJOUIFBJSGPSVQUPUISFFIPVST"OPUIFSQFSTPODBOCSFBUIFJOUIFTFBFSPTPMTBOECFDPNFJOGFDUFEXJUI
UIFDPSPOBWJSVT5IJTJTXIZFWFSZPOFTIPVMEDPWFSUIFJSOPTFBOENPVUIXIFOUIFZHPPVUJOQVCMJD

$PSPOBWJSVTDBOBMTPTQSFBEGSPNDPOUBDUXJUIJOGFDUFETVSGBDFTPSPCKFDUT'PSFYBNQMF BQFSTPODBOHFU$07*%CZUPVDIJOHBTVSGBDFPS
PCKFDUUIBUIBTUIFWJSVTPOJUBOEUIFOUPVDIJOHUIFJSPXONPVUI OPTF PSQPTTJCMZUIFJSFZFT

5IFWJSVTNBZCFTIFEJOTBMJWB TFNFO BOEGFDFTXIFUIFSJUJTTIFEJOWBHJOBMØVJETJTOgULOPXO,JTTJOHDBOUSBOTNJUUIFWJSVT5SBOTNJTTJPOPG
UIFWJSVTUISPVHIGFDFT PSEVSJOHWBHJOBMPSBOBMJOUFSDPVSTFPSPSBMTFY BQQFBSTUPCFFYUSFNFMZVOMJLFMZBUUIJTUJNF
                                                                           BQQFBSTUPCFFYUSFNFMZVOMJLFMZBUUIJTUJNF

)PXDPVMEDPOUBDUUSBDJOHIFMQTMPXUIFTQSFBEPG$07*%
"OZPOFXIPDPNFTJOUPDMPTFDPOUBDUXJUITPNFPOFXIPIBT$07*%JTBUJODSFBTFESJTLPGCFDPNJOHJOGFDUFEUIFNTFMWFT BOEPGQPUFOUJBMMZ
JOGFDUJOHPUIFST$POUBDUUSBDJOHDBOIFMQQSFWFOUGVSUIFSUSBOTNJTTJPOPGUIFWJSVTCZRVJDLMZJEFOUJGZJOHBOEJOGPSNJOHQFPQMFXIPNBZCF
JOGFDUFEBOEDPOUBHJPVT TPUIFZDBOUBLFTUFQTUPOPUJOGFDUPUIFST

$POUBDUUSBDJOHCFHJOTXJUIJEFOUJGZJOHFWFSZPOFUIBUBQFSTPOSFDFOUMZEJBHOPTFEXJUI$07*%IBTCFFOJODPOUBDUXJUITJODFUIFZCFDBNF
DPOUBHJPVT*OUIFDBTFPG$07*% BQFSTPONBZCFDPOUBHJPVTUPIPVSTCFGPSFUIFZTUBSUFEUPFYQFSJFODFTZNQUPNT

5IFDPOUBDUTBSFOPUJÖFEBCPVUUIFJSFYQPTVSF5IFZNBZCFUPMEXIBUTZNQUPNTUPMPPLPVUGPS BEWJTFEUPJTPMBUFUIFNTFMWFTGPSBQFSJPEPG
UJNF BOEUPTFFLNFEJDBMBUUFOUJPOBTOFFEFEJGUIFZTUBSUUPFYQFSJFODFTZNQUPNT

)PXEFBEMZJT$07*%
5IFBOTXFSEFQFOETPOXIFUIFSZPVgSFMPPLJOHBUUIFGBUBMJUZSBUF UIFSJTLPGEFBUIBNPOHUIPTFXIPBSFJOGFDUFE PSUIFUPUBMOVNCFSPG
EFBUIT4PGBS JOØVFO[BIBTDBVTFEGBSNPSFUPUBMEFBUITUIJTØVTFBTPO CPUIJOUIF64BOEXPSMEXJEF UIBO$07*%5IJTJTXIZZPVNBZIBWF
IFBSEJUTBJEUIBUUIFØVJTBCJHHFSUISFBU

3FHBSEJOHUIFGBUBMJUZSBUF JUBQQFBSTUIBUUIFSJTLPGEFBUIXJUIUIFQBOEFNJDDPSPOBWJSVTJOGFDUJPO DPNNPOMZFTUJNBUFEBUBCPVU JTGBSMFTT
UIBOJUXBTGPS4"34 BQQSPYJNBUFMZ BOE.&34 BCPVU CVUXJMMMJLFMZCFIJHIFSUIBOUIFSJTLGSPNTFBTPOBMØV XIJDIBWFSBHFTBCPVU
 8FXJMMIBWFBNPSFBDDVSBUFFTUJNBUFPGGBUBMJUZSBUFGPSUIJTDPSPOBWJSVTJOGFDUJPOPODFUFTUJOHCFDPNFTNPSFBWBJMBCMF

8IBUXFEPLOPXTPGBSJTUIFSJTLPGEFBUIWFSZNVDIEFQFOETPOZPVSBHFBOEZPVSPWFSBMMIFBMUI$IJMESFOBQQFBSUPCFBUWFSZMPXSJTLPG
TFWFSFEJTFBTFBOEEFBUI0MEFSBEVMUTBOEUIPTFXIPTNPLFPSIBWFDISPOJDEJTFBTFTTVDIBTEJBCFUFT IFBSUEJTFBTF PSMVOHEJTFBTFIBWFB
IJHIFSDIBODFPGEFWFMPQJOHDPNQMJDBUJPOTMJLFQOFVNPOJB XIJDIDPVMECFEFBEMZ

8JMMXBSNXFBUIFSTMPXPSTUPQUIFTQSFBEPG$07*%
4PNFWJSVTFT MJLFUIFDPNNPODPMEBOEØV TQSFBENPSFXIFOUIFXFBUIFSJTDPMEFS#VUJUJTTUJMMQPTTJCMFUPCFDPNFTJDLXJUIUIFTFWJSVTFT
EVSJOHXBSNFSNPOUIT

"UUIJTUJNF XFEPOPULOPXGPSDFSUBJOXIFUIFSUIFTQSFBEPG$07*%XJMMEFDSFBTFXIFOUIFXFBUIFSXBSNTVQ#VUBOFXSFQPSUTVHHFTUT
UIBUXBSNFSXFBUIFSNBZOPUIBWFNVDIPGBOJNQBDU

5IFSFQPSU QVCMJTIFEJOFBSMZ"QSJMCZUIF/BUJPOBM"DBEFNJFTPG4DJFODFT &OHJOFFSJOHBOE.FEJDJOF TVNNBSJ[FESFTFBSDIUIBUMPPLFEBUIPX
XFMMUIF$07*%DPSPOBWJSVTTVSWJWFTJOWBSZJOHUFNQFSBUVSFTBOEIVNJEJUZMFWFMT BOEXIFUIFSUIFTQSFBEPGUIJTDPSPOBWJSVTNBZTMPXJO
XBSNFSBOENPSFIVNJEXFBUIFS

5IFSFQPSUGPVOEUIBUJOMBCPSBUPSZTFUUJOHT IJHIFSUFNQFSBUVSFTBOEIJHIFSMFWFMTPGIVNJEJUZEFDSFBTFETVSWJWBMPGUIF$07*%DPSPOBWJSVT
)PXFWFS TUVEJFTMPPLJOHBUWJSBMTQSFBEJOWBSZJOHDMJNBUFDPOEJUJPOTJOUIFOBUVSBMFOWJSPONFOUIBEJODPOTJTUFOUSFTVMUT

5IFSFTFBSDIFSTDPODMVEFEUIBUDPOEJUJPOTPGJODSFBTFEIFBUBOEIVNJEJUZBMPOFNBZOPUTJHOJÖDBOUMZTMPXUIFTQSFBEPGUIF$07*%WJSVT

)PXMPOHDBOUIFDPSPOBWJSVTTUBZBJSCPSOF *IBWFSFBEEJÒFSFOUFTUJNBUFT


                                                        Exhibit 7, Page 4 of 7                                                                    
"TUVEZEPOFCZ/BUJPOBM*OTUJUVUFPG"MMFSHZBOE*OGFDUJPVT%JTFBTFTg-BCPSBUPSZPG7JSPMPHZJOUIF%JWJTJPOPG*OUSBNVSBM3FTFBSDIJO)BNJMUPO
          Case 2:20-cv-02927-CBM-AS Document 42-1 Filed 06/02/20 Page 39 of 212 Page ID
                                                                        #:822
.POUBOBIFMQTUPBOTXFSUIJTRVFTUJPO5IFSFTFBSDIFSTVTFEBOFCVMJ[FSUPCMPXDPSPOBWJSVTFTJOUPUIFBJS5IFZGPVOEUIBUJOGFDUJPVTWJSVTFT
DPVMESFNBJOJOUIFBJSGPSVQUPUISFFIPVST5IFSFTVMUTPGUIFTUVEZXFSFQVCMJTIFEJOUIF/FX&OHMBOE+PVSOBMPG.FEJDJOFPO.BSDI 

)PXMPOHDBOUIFDPSPOBWJSVTUIBUDBVTFT$07*%TVSWJWFPOTVSGBDFT
"SFDFOUTUVEZGPVOEUIBUUIF$07*%DPSPOBWJSVTDBOTVSWJWFVQUPGPVSIPVSTPODPQQFS VQUPIPVSTPODBSECPBSE BOEVQUPUXPUPUISFF
EBZTPOQMBTUJDBOETUBJOMFTTTUFFM5IFSFTFBSDIFSTBMTPGPVOEUIBUUIJTWJSVTDBOIBOHPVUBTESPQMFUTJOUIFBJSGPSVQUPUISFFIPVSTCFGPSFUIFZ
GBMM#VUNPTUPGUFOUIFZXJMMGBMMNPSFRVJDLMZ

5IFSFgTBMPUXFTUJMMEPOgULOPX TVDIBTIPXEJÒFSFOUDPOEJUJPOT TVDIBTFYQPTVSFUPTVOMJHIU IFBU PSDPME DBOBÒFDUUIFTFTVSWJWBMUJNFT

"TXFMFBSONPSF DPOUJOVFUPGPMMPXUIF$%$gTSFDPNNFOEBUJPOTGPSDMFBOJOHGSFRVFOUMZUPVDIFETVSGBDFTBOEPCKFDUTFWFSZEBZ5IFTFJODMVEF
DPVOUFST UBCMFUPQT EPPSLOPCT CBUISPPNÖYUVSFT UPJMFUT QIPOFT LFZCPBSET UBCMFUT BOECFETJEFUBCMFT

*GTVSGBDFTBSFEJSUZ ÖSTUDMFBOUIFNVTJOHBEFUFSHFOUBOEXBUFS UIFOEJTJOGFDUUIFN"MJTUPGQSPEVDUTTVJUBCMFGPSVTFBHBJOTU$07*%JT
BWBJMBCMFIFSF5IJTMJTUIBTCFFOQSFBQQSPWFECZUIF64&OWJSPONFOUBM1SPUFDUJPO"HFODZ &1" GPSVTFEVSJOHUIF$07*%PVUCSFBL

*OBEEJUJPO XBTIZPVSIBOETGPSTFDPOETXJUITPBQBOEXBUFSBGUFSCSJOHJOHJOQBDLBHFT PSBGUFSUSJQTUPUIFHSPDFSZTUPSFPSPUIFSQMBDFT
XIFSFZPVNBZIBWFDPNFJOUPDPOUBDUXJUIJOGFDUFETVSGBDFT

4IPVME*BDDFQUQBDLBHFTGSPN$IJOB
5IFSFJTOPSFBTPOUPTVTQFDUUIBUQBDLBHFTGSPN$IJOBIBSCPSDPSPOBWJSVT3FNFNCFS UIJTJTBSFTQJSBUPSZWJSVTTJNJMBSUPUIFØV8FEPOgUTUPQ
SFDFJWJOHQBDLBHFTGSPN$IJOBEVSJOHUIFJSØVTFBTPO8FTIPVMEGPMMPXUIBUTBNFMPHJDGPSUIFWJSVTUIBUDBVTFT$07*%

$BO*DBUDIUIFDPSPOBWJSVTCZFBUJOHGPPEIBOEMFEPSQSFQBSFECZPUIFST
8FBSFTUJMMMFBSOJOHBCPVUUSBOTNJTTJPOPGUIFOFXDPSPOBWJSVT*UgTOPUDMFBSJGJUDBOCFTQSFBECZBOJOGFDUFEQFSTPOUISPVHIGPPEUIFZIBWF
IBOEMFEPSQSFQBSFE CVUJGTPJUXPVMENPSFMJLFMZCFUIFFYDFQUJPOUIBOUIFSVMF

5IBUTBJE UIFOFXDPSPOBWJSVTJTBSFTQJSBUPSZWJSVTLOPXOUPTQSFBECZVQQFSSFTQJSBUPSZTFDSFUJPOT JODMVEJOHBJSCPSOFESPQMFUTBGUFSDPVHIJOH
PSTOFF[JOH5IFWJSVTUIBUDBVTFT$07*%IBTBMTPCFFOEFUFDUFEJOUIFTUPPMPGDFSUBJOQFPQMF4PXFDVSSFOUMZDBOOPUSVMFPVUUIFQPTTJCJMJUZ
PGUIFJOGFDUJPOCFJOHUSBOTNJUUFEUISPVHIGPPECZBOJOGFDUFEQFSTPOXIPIBTOPUUIPSPVHIMZXBTIFEUIFJSIBOET*OUIFDBTFPGIPUGPPE UIF
WJSVTXPVMEMJLFMZCFLJMMFECZDPPLJOH5IJTNBZOPUCFUIFDBTFXJUIVODPPLFEGPPETMJLFTBMBETPSTBOEXJDIFT

5IFØVLJMMTNPSFQFPQMFUIBO$07*% BUMFBTUTPGBS8IZBSFXFTPXPSSJFEBCPVU$07*% 4IPVMEOgU
XFCFNPSFGPDVTFEPOQSFWFOUJOHEFBUITGSPNUIFØV
:PVgSFSJHIUUPCFDPODFSOFEBCPVUUIFØV'PSUVOBUFMZ UIFTBNFNFBTVSFTUIBUIFMQQSFWFOUUIFTQSFBEPGUIF$07*%WJSVT}GSFRVFOUBOE
UIPSPVHIIBOEXBTIJOH OPUUPVDIJOHZPVSGBDF DPVHIJOHBOETOFF[JOHJOUPBUJTTVFPSZPVSFMCPX BWPJEJOHQFPQMFXIPBSFTJDL BOETUBZJOH
BXBZGSPNQFPQMFJGZPVgSFTJDL}BMTPIFMQUPQSPUFDUBHBJOTUTQSFBEPGUIFØV

*GZPVEPHFUTJDLXJUIUIFØV ZPVSEPDUPSDBOQSFTDSJCFBOBOUJWJSBMESVHUIBUDBOSFEVDFUIFTFWFSJUZPGZPVSJMMOFTTBOETIPSUFOJUTEVSBUJPO
5IFSFBSFDVSSFOUMZOPBOUJWJSBMESVHTBWBJMBCMFUPUSFBU$07*%

4IPVME*HFUBØVTIPU
8IJMFUIFØVTIPUXPOgUQSPUFDUZPVGSPNEFWFMPQJOH$07*% JUgTTUJMMBHPPEJEFB.PTUQFPQMFPMEFSUIBOTJYNPOUITDBOBOETIPVMEHFUUIF
ØVWBDDJOF%PJOHTPSFEVDFTUIFDIBODFTPGHFUUJOHTFBTPOBMØV&WFOJGUIFWBDDJOFEPFTOgUQSFWFOUZPVGSPNHFUUJOHUIFØV JUDBOEFDSFBTFUIF
DIBODFPGTFWFSFTZNQUPNT#VUBHBJO UIFØVWBDDJOFXJMMOPUQSPUFDUZPVBHBJOTUUIJTDPSPOBWJSVT

*TJUTBGFUPVTFTUFSPJETUPDPOUSPMBMMFSHZBOEBTUINBTZNQUPNTEVSJOHUIF$07*%QBOEFNJD
:FT JUJTTBGFUPVTFDPSUJDPTUFSPJEOBTBMTQSBZTUPDPOUSPMOBTBMBMMFSHJFTPSJOIBMFEDPSUJDPTUFSPJETUPDPOUSPMBTUINBTZNQUPNTEVSJOHUIF
$07*%QBOEFNJD

5IF"NFSJDBO$PMMFHFPG"MMFSHZ "TUINBBOE*NNVOPMPHZ "$""* SFDFOUMZJTTVFEBTUBUFNFOUFNQIBTJ[JOHUIFJNQPSUBODFPGDPOUSPMMJOH
BMMFSHZBOEBTUINBTZNQUPNTEVSJOHUIFQBOEFNJD5IFZTBJEUIFSFJTOPFWJEFODFUIBUJOUSBOBTBMPSJOIBMFEDPSUJDPTUFSPJETJODSFBTFUIFSJTLPG
HFUUJOHUIF$07*%JOGFDUJPOPSMFBEUPBXPSTFPVUDPNFJGZPVEPHFUJOGFDUFE

                                                         Exhibit 7, Page 5 of 7                                                                      
Case 2:20-cv-02927-CBM-AS Document 42-1 Filed 06/02/20 Page 40 of 212 Page ID
                                                               #:823 3ULQW6XEVFULSWLRQV &XVWRPHU6HUYLFH $ERXW8V 3HUPLVVLRQV
 6LJQXSIRU+($/7+EHDW 'LJLWDO6XEVFULSWLRQV 6SHFLDO+HDOWK5HSRUWV

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                                               Exhibit 7, Page 6 of 7                                                                
5IF"$""*TUBUFNFOUXBTBSFTQPOTFUPDPODFSOTPWFSSFQPSUTXBSOJOHBHBJOTUUIFVTFPGTZTUFNJDTUFSPJETUPUSFBUIPTQJUBMJ[FE$07*%
        Case 2:20-cv-02927-CBM-AS Document 42-1 Filed 06/02/20 Page 41 of 212 Page ID
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QBUJFOUTXJUITQFDJÖDSFTQJSBUPSZDPNQMJDBUJPOT)PXFWFS UIPTFSFQPSUTEJEOPUSFGFSUPIFBMUIZJOEJWJEVBMTVTJOHDPSUJDPTUFSPJEOBTBMTQSBZTPS
JOIBMFSTUPNBOBHFBMMFSHJFTPSBTUINB

#MPHQPTUT
   #SBDJOHGPSDPOUBDUUSBDJOH
   4PNFIFBMUIDBSFDBOTBGFMZXBJU BOETPNFDBOgU
   (PUPUIFIPTQJUBMJGZPVOFFEFNFSHFODZDBSF FWFOJOUIFFSBPG$07*%
   (FUZPVSBÒBJSTJOPSEFS $07*%XPOgUXBJU
   #FDBSFGVMXIFSFZPVHFUZPVSOFXTBCPVUDPSPOBWJSVT
   *TUIFSFBOZHPPEOFXTBCPVUUIFDPSPOBWJSVTQBOEFNJD
   "MMFSHJFT $PNNPODPME 'MV 0S$07*%

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/CUUCEJWUGVVU+G UCPKPUVTWEVQTCV+CTXCTFCÞNKCVGF%TKIJCOCPF9QOGP U+QURKVCN9GURQMGVQJKOVJKUYGGMVQIGVCPWRFCVGQPVJGTCRKFN[FGXGNQRKPI
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$PSPOBWJSVTTUBUVTSFQPSU)BSWBSEQVCMJDIFBMUIFYQFSU%S"TIJTI,+IBÖMMTVTJOPOXIFSFXFBSFIFBEFE SFDPSEFE
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JGCTHTQOVJGUVGCF[VTCPURCTGPVCPF[GUGXGPTGCUUWTKPIXQKEGQHGZRGTVUQPVJGHTQPVNKPGU9GURQMGVQ'T$UJKUJ-,JCHCEWNV[FKTGEVQTQHVJG+CTXCTF
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                                                             Exhibit 7, Page 7 of 7                                                                             
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 G84LXG`O@6I4KW`XGSOYFGOYX`XG8`0NIX87`.X4X8W`4N7`4SOYN7`XG8`\OSL7`IN6KY7INF`4`Z4SI8X^`O9Q̀SIOS`
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      4F8`OS`8RY4L`XO`OS`OK78S`XG4N``^84SW`O94̀F8`\IXG`4N`46XIZ8`OS`YNWX45L8`6OMOS5I7IX^`4S8
      OS78S87`XO`WG8KX8S`4X`XG8IS`QK468`O9S8WI78N68`DOM`)4S6G```XO`QSIL`` ` /O
      XG8`8]X8NX`WY6G`IN7IZI7Y4KW`4S8`YWINF`WG4S87`OS`OYX7OOS`WQ468W`XG8^`MYWX`4X`4KK`XIM8W`4W
      S84WON45L^`QOWWI5K8`M4INX4IN`QG^WI64L`7IWX4N6INF`O94̀X`L84WX`WI]`<8X`DOM`4N^`OXG8S
      Q8SWON ` "]68QXIONW`WG4KL`ONL^`8]IWX`4W`N868WW4S^`XO`W88J`M87I64K`64S8`NYXSIXION`OS`XO
      Q8SCSM`8WW8NXI4L`\OSJ`IN`G84LXG64S8`OS`FOZ8U8NX

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      QS8Q4S8`4N7`O=8S`CO7`XG4X`IW`QSOZI787`XO`6YWXOM8SW`ZI4`78LIZ8S^`W8S[I68`ZI4`QI6JYQ`CS
      X4J8OYX`7ININF`4N7`ZI4`7SIZ8XGSY `4SW`4N7`NIFGX6KY5W`XG4X`O=8S`CO7`XO`6ONWYM8SW`M4^
      S8M4IN`OQ8N`ONK^`CS`QYVOW8W`O96̀ONXINYINF`XO`QS8Q4S8`4N7`O>8S`CO7`XO`6ONWYM8SW`ZI4
      78LIZ8S^`W8S[I68`ZI4`QI6JYQ`OS`ZI4`7SIZ8XGSY`,8SM4N8NX`CO7`;6ILIXI8W`XG4X`QSOZI78`4N7
      O>8S`CO7`XO`6ONWYM8SW`CS`QI6J`YQ`MYWX`S8RYIS8`Q4XSONW`OS`FSOYQW`O9Q̀4XSONW`\GO`4S8
      OS78SINF`CO7`4N7`58Z8S4F8W`XO`58`4N7`S8M4IN`4X`L84WX`WI]```<8X`4Q4SX`DOM`846G`OXG8S
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         6 $^MW`4N7`BXN8WW`68NX8SW`4N7`4RY4XI6`68NX8SW
         7 2IN8SI8W`5S8\8SI8W`4N7`X4Q`SOOMW`XG4X`QSOZI78`X4WXINFW

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       (O64L`"M8SF8N6^`4N7`-4XIEINF`4N7`"]X8N7INF`XG8`!86L4S4XION`O94̀`(O64L`%84LXG
       "M8SF8N6^`XG8`)4S6G```.X4X8`O9` 4LICTI4`"]86YXIZ8`+S78S`*`4N7`XG8
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       8Z8S4F8`4N7`+XG8S`-8K4X87`.8S[I68`18NY8W

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       XO`$OZ8U8NX` O78`W86XIONW``4N7``4N7`%84KXG`4N7`.4<X^` O78`W86XION
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       8NWYS8`6OMQKI4N68`\IXG`4N7`8NCS68`XGIW`+S78S




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      A34@J!>)*>

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      3*7)JA;J'*J49D&74)J'GJ&J(;C>AJ;+J(;8<*A*9AJ5C>4@)4(A4;9JA3*J>*849)*>J;+JA3*J!>)*>
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      @3&77J9;AJ'*J&-*(A*)J&9)J@3&77J(;9A49C*J49J177J0>(*J&9)J*-*(AJ $;JA34@J*9)JA3*
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           CJ[9[PBKOR[L=OCK<[K>[QCI=[#07+$[B9P[O9LC<FY[PLO=9<[
   RBOKS@BKSQ[#9FC>KOJC9[J=;=PPDR9QDJ@[TL<9R=<[9J<[HKO=[PQOCJ@=JR[@SC<9J;=[>OKH[
   >=<=O9F[ PQ9Q=[9J<[FK;9F[LS:GD;[B=9GQB[K>>C;D9GP [9J<[

            >KO[QB=[LO=P=OV9QCKJ[K?[LS:FC;[B=9FRB[9J<[P9>=QY[RBOKS@BKSQ[RB=[
   =JQCO=[3Q9Q=[K?[#9GC>KOJC9[-[>CJ<[DQ[J=;=PP9OY[>KO[9FF[#9FC>KOJC9JP[QK[B==<[RB=[3Q9Q=[
   LS:GD;[B=9GQB[<CO=;RDV=P[>OKH[RB=[$=L9ORH=JR[K>[1S:FC;[)=9GRB[

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   CJ[9;;KO<9J;=[WDQB[QB=[9SQBKOCQY[V=PQ=<[CJ[I=[:Y[RB=[3R9R=[#KJPQCQSRCKJ[9J<[
   PR9RUR=P[K>[QB=[3Q9R=[K>[#9FD>KOJC9[9J<[DJ[L9OQD;TG9O[ (KV=OJH=JR[#K<=[P=;QCKJP[
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            <=FCV=OY[PYPQ=H[CP[;9L9:F=[K>[P=OVDJ@[9FG[9J<[LOCKODQDZCJ@[QBKP=[9R[RB=
            BC@B=PR[ODPE[9J<[VUGJ=O9:CGCRY[9GG[O=PC<=JQP[9O=[<CO=;R=<[RK[DHI=<C9Q=GY
            B==<[RB=[;SOO=JQ[3Q9Q=[LS:FD;[B=9GQB[<CO=;RCV=P[WBC;B[+[KO<=O=<[QB=
            $=L9ORH=JQ[K>[1S:FC;[*=9GRB[QK[<=V=FKL[>KO[RB=[;TOO=JR[PR9Q=WC<=
            PR9QSP[K>[#07,$ [5BKP=[<CO=;RDV=P[9O=[;KJPDPQ=JR[WCQB[RB=[/9O;B[
            [/=HKO9J<UH[KJ[-<=JRD>C;9QCKJ[K?[%PP=JRC9G[#OCQD;9G[+J>O9PQOS;QUO=
            8KOE=OP[$UOCJ@[#07-$[2=PLKJP=[>KTJ<[9Q[BRQMP;KVC<[ ;9 AKV
            5BKP=[<DO=;QDV=P[>KGGKW

                      02$%2[0'[5)%[35!5&[16".-#[)&!.5)[0''-#&2[
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              5K[LOKR=;R[LS:FC;[B=9GRB[-[9P[3R9R=[1U:GD;[)=9GRB[0>>C;=O[9J<[$CO=;QKO[
              K>[QB=[#9GC>KOJD9[$=L9OQH=JQ[K>[1T:GC;[*=9GQB[KO<=O[9GF[CJ<DVD<U9FP[GDVDJ@[
              CJ[QB=[3Q9R=[K>[#9GC>KOJC9[RK[PQ9Y[BKH=[KO 9Q[RB=DO[LG9;=[K>[O=PC<=J;=[
              =X;=LR[9P J==<=<[QK[H9DJR9DJ[;KJRDJTDRY[K>[KL=O9RCKJP[K>[QB=[>=<=O9G[
              ;ODRC;9F[DJ>O9PQOS;QSO=[P=;RKOP[9P[KSQFCJ=<[9Q[
              BQQNPWWW;CP9 AKVD<=JRD>YDJA;OCRD;9GCJ>O9PROS;RSO=<SODJA;KVD< [
              +J[9<<CQCKJ[9J<[DJ ;KJPTGQ9RCKJ[WDRB QB=[$CO=;RKO[K>[RB=[(KV=OJKOP[
              0>>C;=[K>[%I=O@=J;Y[3=OVD;=P[+[H9Y[<=PC@J9Q=[9<<CQCKJ9G[P=;RKOP[9P[
              ;OCRD;9F[DJ KO<=O[QK[LOKQ=;R[QB=[B=9GRB[9J<[W=FF:=DJ@[K>[9GG[#9FC>KOJC9JP [

              1SOPU9JQ[RK[QB=[9SRBKODRY[SJ<=O[RB=[)=9FQB[9J<[39>=QY[#K<=[[
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              KO<=O[CP[RK[@K[CJQK[=>>=;R[CHI=<C9Q=GY[9J<[PB9GG[PR9Y[DJ[=>>=;R[SJQDG[
              >SORB=O[JKRD;= [

              4B=[>=<=O9G[@KV=OJH=JR[B9P[C<=JQC>C=<[[[;ODRD;9G[CJ>O9PQOS;QSO=[P=;RKOP[
              WBKP=[9PP=QP[PYPQ=HP[9J<[J=QWKOEP[WB=QB=O[LBYPC;9G[KO[VCORS9G[9O=[
              ;KJPC<=O=<[PK[VCQ9G[QK[QB=[6JDR=<[3Q9R=P[RB9R[QB=CO[CJ;9L9;DQ9QDKJ[KO[




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             -/BCAD,C4=;JG=D7-J3*F/J*J-/+475C*C4;2J/01/,CJ=;JB/,DA5CHJ/,=;=95,J
             B/,DA5CHJ?D+75,J3/*8C3J=AJB*1/CHJ=AJ*;HJ,=9+5<*C5=;JC3/A/=1JJ =A-/AJ
             C3*CJ*840=A;4*;BJG=A65<2J5<JC3/B/J J,A5C4,*7J4;0A*BCAD,CDA/JB/,C=ABJ9*HJ
             ,=<C4;D/JC3/5AJG=A6J+/,*DB/J=0JC3/J59?=AC*;,/J=1JC3/B/JB/,C=ABJC=J
             *840=A;4*;BJ3/*8C3J*<-JG/87+/4;2J

             %35BJ"A-/AJ5BJ+/4;2J4BBD/-JC=J?A=C/,CJC3/J?D+85,J3/*7C3J=0J*751=A;5*;BJ
             %3/J*750=A;5*J/?*AC9/;CJ=0J#D+84,J/*8C3J7==6BJC=J/BC*+75B3J
             ,=;B5BC/<,HJ*,A=BBJC3/JBC*C/J4;J=A-/AJC=J/;BDA/JC3*CJG/J94C42*C/JC3/J
             49?*,CJ=1J"'J"DAJ2=*7J4BJB49?7/JG/JG*;CJC=J+/<-JC3/J,DAF/J
             *<-J-5BAD?CJC3/JB?A/*-J=1JC3/JF5ADBJ

             %3/JBD??8HJ,3*4;J9DBCJ,=<C4;D/J*;-J*840=A;4*;BJ9DBCJ3*F/J*,,/BBJC=J
             BD,3J;/,/BB4C4/BJ*BJ0==-J?A/B,A4?C4=<BJ*;-J3/*8C3J,*A/J(3/;J?/=?7/J
             ;//-JC=J8/*F/JC3/4AJ3=9/BJ=AJ?7*,/BJ=0JA/B5-/;,/JG3/C3/AJC=J=+C*5;J
             =AJ?/A0=A9JC3/J0D;,C4=;BJ*+=F/J=AJC=J=C3/AG4B/J0*,475C*C/J*DC3=A5I/-J
             ;/,/BB*AHJ*,C5F4C5/BJC3/HJB3=D7-J*CJ*88JC59/BJ?A*,C4,/JB=,5*7J-5BC*;,5;2J

          %3/J3/*8C3,*A/J-/74F/AHJBHBC/9JB3*77J?A5=A5C4I/JB/AF5,/BJC=JB/AF5<2JC3=B/
            G3=J*A/JC3/JB5,6/BCJ*;-JB3*87J?A4=A5C4I/JA/B=EA,/BJ5;,8D-5;2J?/AB=;*7
            ?A=C/,C4F/J/@D5?9/;CJ0=AJC3/J?A=F4-/ABJ?A=F4-5<2J-4A/,CJ,*A/JC=JC3/9

          %3/J"115,/J=0J9/A2/;,HJ$/AF5,/BJ5BJ-5A/,C/-JC=JC*6/J</,/BB*AHJBC/?BJC=
            /<BDA/J,=9?84*;,/JG5C3JC34BJ"A-/A

          %35BJ"A-/AJB3*77J+/J/<0=A,/*+7/J?DABD*;CJC=J*740=A;5*J7*GJ4;,7D-5;2
            +DCJ;=CJ8495C/-JC=J=F/A;9/<CJ=-/JB/,C5=;J

           &J       C3*CJ*BJB==;J*BJ3/A/*0C/AJ?=BB5+8/JC35BJ"A-/AJ+/J
   148/-J5<JC3/J"114,/J=1JC3/J$/,A/C*AHJ=1J$C*C/J*<-JC3*CJG4-/B?A/*-J?D+74,4CHJ*;-J
   <=C5,/J+/J24F/<J=0JC35BJ"A-/AJ

         %35BJ"A-/AJ4BJ;=CJ5<C/;-/-JC=J*;-J-=/BJ;=CJ,A/*C/J*;HJA423CBJ=AJ+/;/05CBJ
   BD+BC*<C5F/J=AJ?A=,/-DA*8J/<0=A,/*+7/J*CJ8*GJ=AJ5<J/@D4CHJ*2*4;BCJC3/J$C*C/J=1J
   *840=A;5*J4CBJ*2/;,5/BJ-/?*AC9/<CBJ/;C4C5/BJ=105,/ABJ/:?8=H//BJ=AJ*;HJ=C3/AJ
   ?/AB=; J


                                                    J3*F/J
                                         3/A/D<C=JB/CJ9HJ3*;-J*<-J,*DB/-J
                                         C3/JA/J CJ$/*7J=0JC3/J C>C/J=1J
                                                                .J 35BJ C3J-*HJ




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    >9%"=&%E8:87"@3:?<E>3%"7$&E-:E6&:3$" E23<E1>3%"7$&E<="=&<E=2"=E

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    1>3%"7$&E9:868=&E"E7"=387"5E>73=DE8'E&(.:=E"7%E$88:%37"=&E=2&E8@&:"55E*%&:"5E&(.:=E=8E&7<>:&E=2&E
    <&$>:3=DE"7%E:&<353&7$&E8'E=2&E"=387<E$:3=3$"5E37/"<=:?$=?:& E E><&<E=:?<=&%E9":=7&:<239<EB3=2E
    #8=2E=2&E9>#53$E"7%E9:3@"=&E<&$=8:<E=8E%&53@&:E37/"<=:?$=>:&E:&<353&7$&E"<<3<="7$&E"7%E1>3%"7$&E=8E"E
    #:8"%E:"71&E8'E9":=7&:< E

    7E"$$8:%"7$&EB3=2E=23<E6"7%"=&E "7%E37E$855"#8:"=387EB3=2E8=2&:E*%&:"5E"1&7$3&<E"7%E=2&E9:3@"=&E
    <&$=8:EE%&@&589&%E"7E373=3"5E53<=E8'<<&7=3"5E:3=3$"5E7/"<=:?$=?:&E!8:4&:<E=8E2&59E="=&E"7%E
    58$"5E 8+$3"5<E "<E =2&DEB8:4E =8E9:8=&$=E =2&3:E $866>73=3&<E B235&E &7<>:371E $87=37>3=DE 8'E07$=387<E
    $:3=3$"5E =8E 9>#53$E 2&"5=2E "7%E <"*=DE "<E B&55E "<E &$87863$E "7%E 7"=387"5E <&$>:3=D E 2&E 53<=E $"7E "5<8E
    37-:6E $:3=3$"5E 37/"<=:?$=?:&E $866>73=DE %&$3<3876"4371E =8E %&=&:637&E =2&E <&$=8:<E <>#<&$=8:<E
    <&16&7=<E 8:E $:3=3$"5E 07$=387<E=2"=E<28>5%E $87=37>&E78:6"5E89&:"=387<E "99:89:3"=&5DE68%3,&%E=8E
    "$$8>7=E-:E&7=&:<E-:E3<&"<&E87=:85EEB8:4-:$&E"7%E$><=86&:E9:8=&$=387E1>3%"7$& E

    2&E"=="$2&%E53<=E3%&7=3,&<EB8:4&:<EB28E$87%>$=E"E:"71&E8'E89&:"=387<E"7%E<&:A3$&<E=2"=E":&E&<<&7=3"5E
    =8E$87=37>&%E$:3=3$"5E37/"<=:?$=?:&E@3"#353=DE37$5>%371E<="+71E89&:"=387<E$&7=&:<E6"37="37371E"7%E
    :&9"3:371E $:3=3$"5E 37/"<=:?$=>:&E 89&:"=371E $"55E $&7=&:<E B8;4371E $87<=:?$=387E "7%E 9&:)8:6371E
    6"7"1&6&7=E07$=387<E"6871E8=2&:< E2&E37%><=:3&<E=2&DE<>998:=E:&9:&<&7=E#>=E":&E78=E7&$&<<":35DE
    5363=&%E=8E6&%3$"5E"7%E2&"5=2$":&E=&5&$866>73$"=387<E37-:6"=387E=&$278581DE<D<=&6<E%&*7<&E
    -8%E"7%E"1:3$>5=?:&E=:"7<98:="=387E"7%E5813<=3$<E&7&:1DEB"=&:E"7%EB"<=&B"=&:E5"BE&7-:$&6&7=E
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    B 30'/*AB 7)7B 77B -0-B 73*-B /B 75*703*-B '0<4/76B 3B 9-7*.7-@B */B )3'B 0B
    *.1-./7*/'B/B?97*/'B3610/6B7*<*7*6B*/B0..9/*7*6B9/3B7)*3B+93*6*7*0/B>)*-B7)B
    3-B0<4/7B*6B*/BB6911037*/'B30-B 6B77B/B-0-B0..9/*7*6B0/6*3B
       3-7B3673*7*0/6B  B*6B0!3*/'B 7)*6B-*67B70B66*67B13*03*7*A*/'B7*<*7*6B3-7B70B
    0/7*/9*7@B 0B0137*0/6B /B */*/7B 3610/6B */-9*/'B 7)B 113013*7B .0<./7B 0B3*7*-B
    */%673:7:3B>03,36B>*7)*/B/B7>/B+93*6*7*0/6B

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    /B*7*0/B7)6B*/7*"B67036B/B>03,36B3B/07B*/7/B70BB7)B97)03*77*<B03B?):67*<B
    -*67B 0B 3*7*-B */%673:793B 67036B /B &/7*0/6B 7)7B 6)09-B 0/7*/9B 93*/'B 7)B  B
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    /B *669*/'B *.1-./77*0/B *37*<6B /B '9*/B*.*-3-@B 3*7*-B */%673:7:3B */9673@B
    138/36B>*--B96B7)*3B0>/B+9'./7B*/$3.B@B7)*6B-*67B70B/693B0/7*/9B0137*0/6B0B3*7*-B
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       B>*--B0/7*/9B70B>03,B>*7)B@09B/B093B137/36B*/B7)B3*7*-B*/%673;7:3B0..9/*7@B70B
    917B7)*6B-*67B6B7)B7*0/6B3610/6B70B  B<0-<6BB-60B/093'B@09B70B69.*7B
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 On March 19, 2020, Governor Newsom issued Executive Order N-33-20 directing all residents
 immediately to heed current State public health directives to stay home, except as needed to maintain
 continuity of operations of essential critical infrastructure sectors and additional sectors as the State
 Public Health Officer may designate as critical to protect health and well-being of aall Californians.

 In accordance with this order, the State Public Health Officer has designated the following list of
 “Essential Critical Infrastructure Workers” to help state, local, tribal, and industry partners as they work
 to protect communities, while ensuring continuity of functions critical to public health and safety, as
 well as economic and national security.




 HEALTHCARE / PUBLIC HEALTH
 Sector Profile

 The Healthcare and Public Health (HPH) Sector is large, diverse, and open, spanning both the public and
 private sectors. It includes publicly accessible healthcare facilities, research centers, suppliers,
 manufacturers, and other physical assets and vast, complex public-private information technology
 systems required for care delivery and to support the rapid, secure transmission and storage of large
 amounts of HPH data.



 Essential Workforce

 •   Workers providing COVID-19 testing; Workers that perform critical clinical research needed for
     COVID-19 response.
 •   Health care providers and caregivers (e.g., physicians, dentists, psychologists, mid-level
     practitioners, nurses and assistants, infection control and quality assurance personnel, pharmacists,
     physical and occupational therapists and assistants, social workers, speech pathologists and
     diagnostic and therapeutic technicians and technologists).
 •   Hospital and laboratory personnel (including accounting, administrative, admitting and discharge,
     engineering, epidemiological, source plasma and blood donation, food service, housekeeping,
     medical records, information technology and operational technology, nutritionists, sanitarians,
     respiratory therapists, etc.).
 •   Workers in other medical facilities (including Ambulatory Health and Surgical, Blood Banks, Clinics,
     Community Mental Health, Comprehensive Outpatient rehabilitation, End Stage Renal Disease,
     Health Departments, Home Health care, Hospices, Hospitals, Long Term Care, Organ Pharmacies,
     Procurement Organizations, Psychiatric, Residential, Rural Health Clinics and Federally Qualified
     Health Centers, cannabis retailers).
 •   Manufacturers, technicians, logistics and warehouse operators, and distributors of medical
     equipment, personal protective equipment (PPE), medical gases, pharmaceuticals, blood and blood
     products, vaccines, testing materials, laboratory supplies, cleaning, sanitizing, disinfecting or
     sterilization supplies, personal care/hygiene products, and tissue and paper towel products.


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 •   Public health / community health workers, including those who compile, model, analyze and
     communicate public health information.
 •   Behavioral health workers (including mental and substance use disorder) responsible for
     coordination, outreach, engagement, and treatment to individuals in need of mental health and/or
     substance use disorder services.
 •   Blood and plasma donors and the employees of the organizations that operate and manage related
     activities.
 •   Workers that manage health plans, billing, and health information, who cannot practically work
     remotely.
 •   Workers who conduct community-based public health functions, conducting epidemiologic
     surveillance, compiling, analyzing and communicating public health information, who cannot
     practically work remotely.
 •   Workers who provide support to vulnerable populations to ensure their health and well-being
     including family care providers
 •   Workers performing cybersecurity functions at healthcare and public health facilities, who cannot
     practically work remotely.
 •   Workers conducting research critical to COVID-19 response.
 •   Workers performing security, incident management, and emergency operations functions at or on
     behalf of healthcare entities including healthcare coalitions, who cannot practically work remotely.
 •   Workers who support food, shelter, and social services, and other necessities of life for economically
     disadvantaged or otherwise needy individuals, such as those residing in shelters.
 •   Pharmacy employees necessary for filling prescriptions.
 •   Workers performing mortuary services, including funeral homes, crematoriums, and cemetery
     workers.
 •   Workers who coordinate with other organizations to ensure the proper recovery, handling,
     identification, transportation, tracking, storage, and disposal of human remains and personal
     effects; certify cause of death; and facilitate access to behavioral health services to the family
     members, responders, and survivors of an incident.
 •   Workers supporting veterinary hospitals and clinics




 EMERGENCY SERVICES SECTOR
 Sector Profile

 The Emergency Services Sector (ESS) is a community of highly-skilled, trained personnel, along with the
 physical and cyber resources, that provide a wide range of prevention, preparedness, response, and
 recovery services during both day-to-day operations and incident response. The ESS includes
 geographically distributed facilities and equipment in both paid and volunteer capacities organized
 primarily at the federal, state, local, tribal, and territorial levels of government, such as city police
 departments and fire stations, county sheriff’s offices, Department of Defense police and fire
 departments, and town public works departments. The ESS also includes private sector resources, such



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 as industrial fire departments, private security organizations, and private emergency medical services
 providers.



 Essential Workforce - Law Enforcement, Public Safety and First Responders

 •   Including front line and management, personnel include emergency management, law enforcement,
     Emergency Management Systems, fire, and corrections, search and rescue, tactical teams including
     maritime, aviation, and canine units.
 •   Emergency Medical Technicians
 •   Public Safety Answering Points and 911 call center employees
 •   Fusion Center employees
 •   Fire Mitigation Activities
 •   Hazardous material responders and hazardous devices teams, from government and the private
     sector.
 •   Workers – including contracted vendors -- who maintain digital systems infrastructure supporting
     law enforcement and emergency service operations.
 •   Private security, private fire departments, and private emergency medical services personnel.
 •   County workers responding to abuse and neglect of children, elders and dependent adults.
 •   Animal control officers and humane officers



 Essential Workforce - Public Works

 •   Workers who support the operation, inspection, and maintenance of essential dams, locks and
     levees
 •   Workers who support the operation, inspection, and maintenance of essential public works facilities
     and operations, including bridges, water and sewer main breaks, fleet maintenance personnel,
     construction of critical or strategic infrastructure, construction material suppliers, traffic signal
     maintenance, emergency location services for buried utilities, maintenance of digital systems
     infrastructure supporting public works operations, and other emergent issues
 •   Workers such as plumbers, electricians, exterminators, and other service providers who provide
     services that are necessary to maintaining the safety, sanitation, and essential operation of
     residences.
 •   Support, such as road and line clearing, to ensure the availability of needed facilities, transportation,
     energy and communications Support to ensure the effective removal, storage, and disposal of
     residential and commercial solid waste and hazardous waste.




 FOOD AND AGRICULTURE
 Sector Profile



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 The Food and Agricultural (FA) Sector is composed of complex production, processing, and delivery
 systems and has the capacity to feed people and animals both within and beyond the boundaries of the
 United States. Beyond domestic food production, the FA Sector also imports many ingredients and
 finished products, leading to a complex web of growers, processors, suppliers, transporters, distributors,
 and consumers. This sectors is critical to maintaining and securing our food supply.



 Essential Workforce

 •   Workers supporting groceries, pharmacies, and other retail that sells food and beverage products,
     including but not limited to Grocery stores, Corner stores and convenience stores, including liquor
     stores that sell food, Farmers’ markets, Food banks, Farm and produce stands, Supermarkets,
     Similar food retail establishments, Big box stores that sell groceries and essentials
 •   Restaurant carry-out and quick serve food operations – including food preparation, carry-out and
     delivery food employees
 •   Food manufacturer employees and their supplier employees—to include those employed in food
     processing (packers, meat processing, cheese plants, milk plants, produce, etc.) facilities; livestock,
     poultry, seafood slaughter facilities; pet and animal feed processing facilities; human food facilities
     producing by-products for animal food; beverage production facilities; and the production of food
     packaging
 •   Farm workers to include those employed in animal food, feed, and ingredient production,
     packaging, and distribution; manufacturing, packaging, and distribution of veterinary drugs; truck
     delivery and transport; farm and fishery labor needed to produce our food supply domestically
 •   Farm workers and support service workers to include those who field crops; commodity inspection;
     fuel ethanol facilities; storage facilities; and other agricultural inputs
 •   Employees and firms supporting food, feed, and beverage distribution (including curbside
     distribution and deliveries), including warehouse workers, vendor-managed inventory controllers,
     blockchain managers, distribution
 •   Workers supporting the sanitation of all food manufacturing processes and operations from
     wholesale to retail
 •   Company cafeterias - in-plant cafeterias used to feed employees
 •   Workers in food testing labs in private industries and in institutions of higher education
 •   Workers essential for assistance programs and government payments
 •   Workers supporting cannabis retail and dietary supplement retail
 •   Employees of companies engaged in the production of chemicals, medicines, vaccines, and other
     substances used by the food and agriculture industry, including pesticides, herbicides, fertilizers,
     minerals, enrichments, and other agricultural production aids
 •   Animal agriculture workers to include those employed in veterinary health; manufacturing and
     distribution of animal medical materials, animal vaccines, animal drugs, feed ingredients, feed, and
     bedding, etc.; transportation of live animals, animal medical materials; transportation of deceased
     animals for disposal; raising of animals for food; animal production operations; slaughter and
     packing plants and associated regulatory and government workforce
 •   Workers who support the manufacture and distribution of forest products, including, but not limited
     to timber, paper, and other wood products


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 •   Employees engaged in the manufacture and maintenance of equipment and other infrastructure
     necessary to agricultural production and distribution




 ENERGY
 Sector Profile

 The Energy Sector consists of widely-diverse and geographically-dispersed critical assets and systems
 that are often interdependent of one another. This critical infrastructure is divided into three
 interrelated segments or subsectors—electricity, oil, and natural gas—to include the production,
 refining, storage, and distribution of oil, gas, and electric power, except for hydroelectric and
 commercial nuclear power facilities and pipelines. The Energy Sector supplies fuels to the transportation
 industry, electricity to households and businesses, and other sources of energy that are integral to
 growth and production across the Nation. In turn, it depends on the Nation’s transportation,
 information technology, communications, finance, water, and government infrastructures.



 Essential Workforce - Electricity industry:

 •   Workers who maintain, ensure, or restore the generation, transmission, and distribution of electric
     power, including call centers, utility workers, reliability engineers and fleet maintenance technicians
 •   Workers needed for safe and secure operations at nuclear generation
 •   Workers at generation, transmission, and electric blackstart facilities
 •   Workers at Reliability Coordinator (RC), Balancing Authorities (BA), and primary and backup Control
     Centers (CC), including but not limited to independent system operators, regional transmission
     organizations, and balancing authorities
 •   Mutual assistance personnel
 •   IT and OT technology staff – for EMS (Energy Management Systems) and Supervisory Control and
     Data
 •   Acquisition (SCADA) systems, and utility data centers; Cybersecurity engineers; cybersecurity risk
     management
 •   Vegetation management crews and traffic workers who support
 •   Environmental remediation/monitoring technicians
 •   Instrumentation, protection, and control technicians



 Essential Workforce - Petroleum workers:

 •   Petroleum product storage, pipeline, marine transport, terminals, rail transport, road transport
 •   Crude oil storage facilities, pipeline, and marine transport
 •   Petroleum refinery facilities
 •   Petroleum security operations center employees and workers who support emergency response
     services

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 •   Petroleum operations control rooms/centers
 •   Petroleum drilling, extraction, production, processing, refining, terminal operations, transporting,
     and retail for use as end-use fuels or feedstocks for chemical manufacturing
 •   Onshore and offshore operations for maintenance and emergency response
 •   Retail fuel centers such as gas stations and truck stops, and the distribution systems that support
     them.



 Essential Workforce - Natural and propane gas workers:

 •   Natural gas transmission and distribution pipelines, including compressor stations
 •   Underground storage of natural gas
 •   Natural gas processing plants, and those that deal with natural gas liquids
 •   Liquefied Natural Gas (LNG) facilities
 •   Natural gas security operations center, natural gas operations dispatch and control rooms/centers
     natural gas emergency response and customer emergencies, including natural gas leak calls
 •   Drilling, production, processing, refining, and transporting natural gas for use as end-use fuels,
     feedstocks for chemical manufacturing, or use in electricity generation
 •   Propane gas dispatch and control rooms and emergency response and customer emergencies,
     including propane leak calls
 •   Propane gas service maintenance and restoration, including call centers
 •   Processing, refining, and transporting natural liquids, including propane gas, for use as end-use fuels
     or feedstocks for chemical manufacturing
 •   Propane gas storage, transmission, and distribution centers




 WATER AND WASTEWATER
 Sector Profile

 The Water and Wastewater Sector is a complex sector composed of drinking water and wastewater
 infrastructure of varying sizes and ownership types. Multiple governing authorities pertaining to the
 Water and Wastewater Sector provide for public health, environmental protection, and security
 measures, among others.

 Essential Workforce

 Employees needed to operate and maintain drinking water and wastewater/drainage infrastructure,
 including:

 •   Operational staff at water authorities
 •   Operational staff at community water systems
 •   Operational staff at wastewater treatment facilities
 •   Workers repairing water and wastewater conveyances and performing required sampling or
     monitoring

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 •   Operational staff for water distribution and testing
 •   Operational staff at wastewater collection facilities
 •   Operational staff and technical support for SCADA Control systems
 •   Chemical disinfectant suppliers for wastewater and personnel protection
 •   Workers that maintain digital systems infrastructure supporting water and wastewater operations




 TRANSPORTATION AND LOGISTICS
 Sector Profile

 The Transportation Systems Sector consists of seven key subsectors, or modes:

     -   Aviation includes aircraft, air traffic control systems, and airports, heliports, and landing strips.
         Commercial aviation services at civil and joint-use military airports, heliports, and sea plane
         bases. In addition, the aviation mode includes commercial and recreational aircraft (manned
         and unmanned) and a wide-variety of support services, such as aircraft repair stations, fueling
         facilities, navigation aids, and flight schools.

     -   Highway and Motor Carrier encompasses roadway, bridges, and tunnels. Vehicles include trucks,
         including those carrying hazardous materials; other commercial vehicles, including commercial
         motorcoaches and school buses; vehicle and driver licensing systems; taxis, transportation
         services including Transportation Network Companies, and delivery services including Delivery
         Network Companies; traffic management systems; AND cyber systems used for operational
         management.

     -   Maritime Transportation System consists of coastline, ports, waterways, and intermodal
         landside connections that allow the various modes of transportation to move people and goods
         to, from, and on the water.

     -   Mass Transit and Passenger Rail includes terminals, operational systems, and supporting
         infrastructure for passenger services by transit buses, trolleybuses, monorail, heavy rail—also
         known as subways or metros—light rail, passenger rail, and vanpool/rideshare.

     -   Pipeline Systems consist of pipelines carrying natural gas hazardous liquids, as well as various
         chemicals. Above-ground assets, such as compressor stations and pumping stations, are also
         included.

     -   Freight Rail consists of major carriers, smaller railroads, active railroad, freight cars, and
         locomotives.

     -   Postal and Shipping includes large integrated carriers, regional and local courier services, mail
         services, mail management firms, and chartered and delivery services.



 Essential Workforce

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 •   Employees supporting or enabling transportation functions, including dispatchers, maintenance and
     repair technicians, warehouse workers, truck stop and rest area workers, and workers that maintain
     and inspect infrastructure (including those that require cross-border travel)
 •   Employees of firms providing services that enable logistics operations, including cooling, storing,
     packaging, and distributing products for wholesale or retail sale or use.
 •   Mass transit workers
 •   Taxis, transportation services including Transportation Network Companies, and delivery services
     including Delivery Network Companies
 •   Workers responsible for operating dispatching passenger, commuter and freight trains and
     maintaining rail infrastructure and equipment
 •   Maritime transportation workers - port workers, mariners, equipment operators
 •   Truck drivers who haul hazardous and waste materials to support critical infrastructure, capabilities,
     functions, and services
 •   Automotive repair and maintenance facilities
 •   Manufacturers and distributors (to include service centers and related operations) of packaging
     materials, pallets, crates, containers, and other supplies needed to support manufacturing,
     packaging staging and distribution operations
 •   Postal and shipping workers, to include private companies
 •   Employees who repair and maintain vehicles, aircraft, rail equipment, marine vessels, and the
     equipment and infrastructure that enables operations that encompass movement of cargo and
     passengers
 •   Air transportation employees, including air traffic controllers, ramp personnel, aviation security, and
     aviation management
 •   Workers who support the maintenance and operation of cargo by air transportation, including flight
     crews, maintenance, airport operations, and other on- and off- airport facilities workers




 COMMUNICATIONS AND INFORMATION TECHNOLOGY
 Sector Profile

 The Communications Sector provides products and services that support the efficient operation of
 today’s global information-based society. Communication networks enable people around the world to
 contact one another, access information instantly, and communicate from remote areas. This involves
 creating a link between a sender (including voice signals) and one or more recipients using technology
 (e.g., a telephone system or the Internet) to transmit information from one location to another.
 Technologies are changing at a rapid pace, increasing the number of products, services, service
 providers, and communication options. The national communications architecture is a complex
 collection of networks that are owned and operated by individual service providers. Many of this
 sector’s products and services are foundational or necessary for the operations and services provided by
 other critical infrastructure sectors. The nature of communication networks involve both physical
 infrastructure (buildings, switches, towers, antennas, etc.) and cyber infrastructure (routing and



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 switching software, operational support systems, user applications, etc.), representing a holistic
 challenge to address the entire physical-cyber infrastructure.



 The IT Sector provides products and services that support the efficient operation of today’s global
 information-based society and are integral to the operations and services provided by other critical
 infrastructure Sectors. The IT Sector is comprised of small and medium businesses, as well as large
 multinational companies. Unlike many critical infrastructure Sectors composed of finite and easily
 identifiable physical assets, the IT Sector is a functions-based Sector that comprises not only physical
 assets but also virtual systems and networks that enable key capabilities and services in both the public
 and private sectors.



 Essential Workforce - Communications:

 •   Maintenance of communications infrastructure- including privately owned and maintained
     communication systems- supported by technicians, operators, call-centers, wireline and wireless
     providers, cable service providers, satellite operations, undersea cable landing stations, Internet
     Exchange Points, and manufacturers and distributors of communications equipment
 •   Workers who support radio, television, and media service, including, but not limited to front line
     news reporters, studio, and technicians for newsgathering and reporting
 •   Workers at Independent System Operators and Regional Transmission Organizations, and Network
     Operations staff, engineers and/or technicians to manage the network or operate facilities
 •   Engineers, technicians and associated personnel responsible for infrastructure construction and
     restoration, including contractors for construction and engineering of fiber optic cables
 •   Installation, maintenance and repair technicians that establish, support or repair service as needed
 •   Central office personnel to maintain and operate central office, data centers, and other network
     office facilities
 •   Customer service and support staff, including managed and professional services as well as remote
     providers of support to transitioning employees to set up and maintain home offices, who interface
     with customers to manage or support service environments and security issues, including payroll,
     billing, fraud, and troubleshooting
 •   Dispatchers involved with service repair and restoration



 Essential Workforce - Information Technology:

 •   Workers who support command centers, including, but not limited to Network Operations
     Command Center, Broadcast Operations Control Center and Security Operations Command Center
 •   Data center operators, including system administrators, HVAC & electrical engineers, security
     personnel, IT managers, data transfer solutions engineers, software and hardware engineers, and
     database administrators
 •   Client service centers, field engineers, and other technicians supporting critical infrastructure, as
     well as manufacturers and supply chain vendors that provide hardware and software, and


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     information technology equipment (to include microelectronics and semiconductors) for critical
     infrastructure
 •   Workers responding to cyber incidents involving critical infrastructure, including medical facilities,
     SLTT governments and federal facilities, energy and utilities, and banks and financial institutions,
     and other critical infrastructure categories and personnel
 •   Workers supporting the provision of essential global, national and local infrastructure for computing
     services (incl. cloud computing services), business infrastructure, web-based services, and critical
     manufacturing
 •   Workers supporting communications systems and information technology used by law enforcement,
     public safety, medical, energy and other critical industries
 •   Support required for continuity of services, including janitorial/cleaning personnel




 OTHER COMMUNITY-BASED GOVERNMENT OPERATIONS AND
 ESSENTIAL FUNCTIONS

 Essential Workforce

 •   Critical government workers, as defined by the employer and consistent with Continuity of
     Operations Plans and Continuity of Government plans.
 •   County workers responsible for determining eligibility for safety net benefits
 •   The Courts, consistent with guidance released by the California Chief Justice
 •   Workers to ensure continuity of building functions
 •   Security staff to maintain building access control and physical security measures
 •   Elections personnel
 •   Federal, State, and Local, Tribal, and Territorial employees who support Mission Essential Functions
     and communications networks
 •   Trade Officials (FTA negotiators; international data flow administrators)
 •   Weather forecasters
 •   Workers that maintain digital systems infrastructure supporting other critical government
     operations
 •   Workers at operations centers necessary to maintain other essential functions
 •   Workers who support necessary credentialing, vetting and licensing operations for transportation
     workers
 •   Workers who are critical to facilitating trade in support of the national, state, and local emergency
     response supply chain
 •   Workers supporting public and private childcare establishments, pre-K establishments, K-12 schools,
     colleges, and universities for purposes of distance learning, provision of school meals, or care and
     supervision of minors to support essential workforce across all sectors




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 •   Workers and instructors supporting academies and training facilities and courses for the purpose of
     graduating students and cadets that comprise the essential workforce for all identified critical
     sectors
 •   Hotel Workers where hotels are used for COVID-19 mitigation and containment measures, including
     measures to protect homeless populations.
 •   Construction Workers who support the construction, operation, inspection, and maintenance of
     construction sites and construction projects (including housing construction)
 •   Workers such as plumbers, electricians, exterminators, and other service providers who provide
     services that are necessary to maintaining the safety, sanitation, construction material sources, and
     essential operation of construction sites and construction projects (including those that support
     such projects to ensure the availability of needed facilities, transportation, energy and
     communications; and support to ensure the effective removal, storage, and disposal of solid waste
     and hazardous waste)
 •   Commercial Retail Stores, that supply essential sectors, including convenience stores, pet supply
     stores, auto supplies and repair, hardware and home improvement, and home appliance retailers
 •   Workers supporting the entertainment industries, studios, and other related establishments,
     provided they follow covid-19 public health guidance around social distancing.
 •   Workers critical to operating Rental Car companies that facilitate continuity of operations for
     essential workforces, and other essential travel
 •   Workers that provide or determine eligibility for food, shelter, in-home supportive services, child
     welfare, adult protective services and social services, and other necessities of life for economically
     disadvantaged or otherwise needy individuals (including family members)
 •   Professional services, such as legal or accounting services, when necessary to assist in compliance
     with legally mandated activities and critical sector services
 •   Faith based services that are provided through streaming or other technology
 •   Laundromats and laundry services
 •   Workers at animal care facilities that provide food, shelter, veterinary and/or routine care and other
     necessities of life for animals.




 CRITICAL MANUFACTURING
 Sector Profile

 The Critical Manufacturing Sector identifies several industries to serve as the core of the sector: Primary
 Metals Manufacturing, Machinery Manufacturing, Electrical Equipment, Appliance, and Component
 Manufacturing, Transportation Equipment Manufacturing Products made by these manufacturing
 industries are essential to many other critical infrastructure sectors.



 Essential Workforce




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 • Workers necessary for the manufacturing of materials and products needed for medical supply chains,
 transportation, energy, communications, food and agriculture, chemical manufacturing, nuclear
 facilities, the operation of dams, water and wastewater treatment, emergency services, and the defense
 industrial base.




 HAZARDOUS MATERIALS
 Essential Workforce

 •   Workers at nuclear facilities, workers managing medical waste, workers managing waste from
     pharmaceuticals and medical material production, and workers at laboratories processing test kits
 •   Workers who support hazardous materials response and cleanup
 •   Workers who maintain digital systems infrastructure supporting hazardous materials management
     operations




 FINANCIAL SERVICES
 Sector Profile

 The Financial Services Sector includes thousands of depository institutions, providers of investment
 products, insurance companies, other credit and financing organizations, and the providers of the
 critical financial utilities and services that support these functions. Financial institutions vary widely in
 size and presence, ranging from some of the world’s largest global companies with thousands of
 employees and many billions of dollars in assets, to community banks and credit unions with a small
 number of employees serving individual communities. Whether an individual savings account, financial
 derivatives, credit extended to a large organization, or investments made to a foreign country, these
 products allow customers to: Deposit funds and make payments to other parties; Provide credit and
 liquidity to customers; Invest funds for both long and short periods; Transfer financial risks between
 customers.



 Essential Workforce

 •   Workers who are needed to process and maintain systems for processing financial transactions and
     services (e.g., payment, clearing, and settlement; wholesale funding; insurance services; and capital
     markets activities)
 •   Workers who are needed to provide consumer access to banking and lending services, including
     ATMs, and to move currency and payments (e.g., armored cash carriers)
 •   Workers who support financial operations, such as those staffing data and security operations
     centers

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 CHEMICAL
 Sector Profile

 The Chemical Sector—composed of a complex, global supply chain—converts various raw materials into
 diverse products that are essential to modern life. Based on the end product produced, the sector can
 be divided into five main segments, each of which has distinct characteristics, growth dynamics,
 markets, new developments, and issues: Basic chemicals; Specialty chemicals; Agricultural chemicals;
 Pharmaceuticals; Consumer products



 Essential Workforce

 •   Workers supporting the chemical and industrial gas supply chains, including workers at chemical
     manufacturing plants, workers in laboratories, workers at distribution facilities, workers who
     transport basic raw chemical materials to the producers of industrial and consumer goods, including
     hand sanitizers, food and food additives, pharmaceuticals, textiles, and paper products.
 •   Workers supporting the safe transportation of chemicals, including those supporting tank truck
     cleaning facilities and workers who manufacture packaging items
 •   Workers supporting the production of protective cleaning and medical solutions, personal
     protective equipment, and packaging that prevents the contamination of food, water, medicine,
     among others essential products
 •   Workers supporting the operation and maintenance of facilities (particularly those with high risk
     chemicals and/ or sites that cannot be shut down) whose work cannot be done remotely and
     requires the presence of highly trained personnel to ensure safe operations, including plant contract
     workers who provide inspections
 •   Workers who support the production and transportation of chlorine and alkali manufacturing,
     single-use plastics, and packaging that prevents the contamination or supports the continued
     manufacture of food, water, medicine, and other essential products, including glass container
     manufacturing




 DEFENSE INDUSTRIAL BASE
 Sector Profile

 The Defense Industrial Base Sector is the worldwide industrial complex that enables research and
 development, as well as design, production, delivery, and maintenance of military weapons systems,
 subsystems, and components or parts, to meet U.S. military requirements. The Defense Industrial Base
 partnership consists of Department of Defense components, Defense Industrial Base companies and
 their subcontractors who perform under contract to the Department of Defense, companies providing

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 incidental materials and services to the Department of Defense, and government-owned/contractor-
 operated and government-owned/government-operated facilities. Defense Industrial Base companies
 include domestic and foreign entities, with production assets located in many countries. The sector
 provides products and services that are essential to mobilize, deploy, and sustain military operations.



 Essential Workforce

 •   Workers who support the essential services required to meet national security commitments to the
     federal government and U.S. Military. These individuals, include but are not limited to, aerospace;
     mechanical and software engineers, manufacturing/production workers; IT support; security staff;
     security personnel; intelligence support, aircraft and weapon system mechanics and maintainers
 •   Personnel working for companies, and their subcontractors, who perform under contract to the
     Department of Defense providing materials and services to the Department of Defense, and
     government-owned/contractor-operated and government-owned/government-operated facilities




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                    LVVXHSDQLFNHGEX\LQJRIèUHDUPVDQGVRPHVWRUHVGHI\LQJWRXJKHUUHVWULFWLRQV
                    LQ%D\$UHDFRXQWLHVWKDWGRQÏWGHèQHWKHPDVHVVHQWLDOEXVLQHVVHVGXULQJWKH
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                                                    Exhibit 15, Page 2 of 6
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                    PDFKLQHPHVVDJHVD\LQJWKHVWRUHZDVRUGHUHGWRFORVHÑ:HZHUHIRUFHGWRVKXW
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                    (DUO\ODVWZHHN6DQ-RVH0D\RU6DP/LFFDUGRTXLFNO\GHHPHGJXQVWRUHVLQWKDW
                    FLW\WREHQRQHVVHQWLDODIWHU%XOOVH\H%LVKRSVWD\HGRSHQDIWHUWKH6DQWD&ODUD
                    &RXQW\KDGRUGHUHGDVKHOWHULQSODFH7KHSROLFHYLVLWHGWKHVKRSDQGRUGHUHGLW
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                    6KHULII$OH[9LOODQXHYDFDOOHGJXQVWRUHVQRQHVVHQWLDODQGRUGHUHGKLVGHSXWLHV
                    WRPDNHVXUHWKH\FORVHGFLWLQJVDIHW\FRQFHUQV6KHOWHULQSODFHRUGHUVZHUH
                    QRWSHUPLVVLRQÑIRUHYHU\RQHWREHSDQLFJXQEX\LQJRUUXVKLQJWRVWRUHVÒWKH
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                    ZULWWHQRSLQLRQWKDWJXQVWRUHVDUHHVVHQWLDO

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                    FRQVWLWXWLRQDOULJKWWRSXUFKDVHDèUHDUPLPPHGLDWHO\DQGGXULQJWKLVWLPH
                    ZKHUHWKHUHDUHOHJLWLPDWHSXEOLFVDIHW\FRQFHUQVDOOULJKWVDUHEDODQFHGDJDLQVW
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                    6WDIIPHPEHUVZHUHZHDULQJPDVNVDQGJORYHV2QHZDVVKRZLQJDKDQGJXQWRD
                    PDQDQGZRPDQUDFNLQJLWVVOLGHVHYHUDOWLPHVWKHJXQPDNLQJDGLVWLQFWORXG
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                    $VNHGLIWKHVWRUHZDVéRXWLQJWKHFRXQW\ÏVVKHOWHULQSODFHRUGHUE\EHLQJ
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                                                    Exhibit 15, Page 3 of 6
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                    3HRSOHDUHEX\LQJZHDSRQVEHFDXVHWKH\ZDQWWRÑSURWHFWWKHIDPLO\ÒKHVDLG
                    EHFDXVHRIIHDUVRIORRWLQJÑ6RPHSHRSOHZKRGRQÏWKDYHKHDUWRUDJRRGVRXO
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                    &XQQLQJKDPVDLGKHZRXOGFORVHWKHVWRUHLIRUGHUHGEXWWKDWKHKDGQRWKHDUG
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                    VDLGWKHFLW\ZLOOQRZLQYHVWLJDWH

                    /DVWZHHNWKH$ODPHGD&RXQW\VKHULIIÏVRIèFHFORVHGGRZQD&DVWUR9DOOH\JXQ
                    VWRUHWKDWVWD\HGRSHQDIWHUWKHVKHOWHULQSODFHRUGHUZDVLVVXHG6JW5D\.HOO\
                    DVSRNHVSHUVRQIRUWKHRIèFHVDLG:HGQHVGD\WKDWLWÏVXSWRLQGLYLGXDOFLWLHVOLNH
                    )UHPRQWWRHQIRUFHWKHFRXQW\RUGHU

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                    Ñ7KHUHLVQRGRXEWWKDWJXQVKRSVDUHDQHVVHQWLDOEXVLQHVV7KHULJKWWRNHHS
                    DQGEHDUDUPVLVQRWRQHUHOHJDWHGIRUVXQQ\GD\VLWLVDKHGJHDJDLQVWWKH
                    XQWKLQNDEOHÒVDLG0DWWKHZ/DURVLHUHGLUHFWRURIOHJDOSROLF\IRUWKH
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                               &RURQDYLUXV*XQVWRUHVHVVHQWLDO"1HZVRPSXQWVWRFRXQWLHV

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                                         &DOLIRUQLDDQGHOVHZKHUH3HHOHIRFXVHVRQ
                                         JRYHUQPHQWDFFRXQWDELOLW\SXEOLFUHFRUGVDQGGDWD
                                         RIWHQVSHDNLQJDERXWWUDQVSDUHQF\ODZVSXEOLFO\


                                                    Exhibit 15, Page 5 of 6
KWWSVZZZPHUFXU\QHZVFRPFRURQDYLUXVDUHJXQVWRUHVHVVHQWLDOJRYHUQRUVLGHVWHSVWKDWTXHVWLRQOHDYHVLWWRWKHFRXQWLHV   
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                        UDGLR+HLVDJUDGXDWHRI&DOLIRUQLD6WDWH8QLYHUVLW\(DVW%D\
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                                                    Exhibit 15, Page 6 of 6
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                                                                                             March 2, 2020


ADVISORY MEMORANDUM ON IDENTIFICATION OF ESSENTIAL CRITICAL
INFRASTRUCTURE WORKERS DURING COVID-19 RESPONSE


FROM:            Christopher C. Krebs
                 Director
                 Cybersecurity and Infrastructure Security Agency (CISA)



As the Nation comes together to slow the spread of COVID-19, on March 16th the
President issued updated Coronavirus Guidance for America that highlighted the
importance of the critical infrastructure workforce.

The Cybersecurity and Infrastructure Security Agency (CISA) executes the Secretary of
Homeland Security’s authorities to secure critical infrastructure. Consistent with these
authorities, CISA has developed, in collaboration with other federal agencies, State and
local governments, and the private sector, an “Essential Critical Infrastructure Workforce”
advisory list. This list is intended to help State, local, tribal and territorial officials as they work to
protect their communities, while ensuring continuity of functions critical to public health
and safety, as well as economic and national security. Decisions informed by this list
should also take into consideration additional public health considerations based on the
specific COVID-19-related concerns of particular jurisdictions.

This list is advisory in nature. It is not, nor should it be considered, a federal directive
or standard. Additionally, this advisory list is not intended to be the exclusive list of
critical infrastructure sectors, workers, and functions that should continue during
the COVID-19 response across all jurisdictions. Individual jurisdictions should add
or subtract essential workforce categories based on their own requirements and
discretion.

The advisory list identifies workers who conduct a range of operations and services that are
typically essential to continued critical infrastructure viability, including staffing
operations centers, maintaining and repairing critical infrastructure, operating call centers,
working construction, and performing operational functions, among others. It also
includes workers who support crucial supply chains and enable functions for critical
infrastructure. The industries they support represent, but are not limited to, medical and
healthcare, telecommunications, information technology systems, defense, food and
agriculture, transportation and logistics, energy, water and wastewater, law enforcement,



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and public works.

State, local, tribal, and territorial governments are responsible for implementing and
executing response activities, including decisions about access and reentry, in their
communities, while the Federal Government is in a supporting role. Officials should use
their own judgment in issuing implementation directives and guidance. Similarly, while
adhering to relevant public health guidance, critical infrastructure owners and operators
are expected to use their own judgement on issues of the prioritization of business
processes and workforce allocation to best ensure continuity of the essential goods and
services they support. All decisions should appropriately balance public safety, the health
and safety of the workforce, and the continued delivery of essential critical infrastructure
services and functions. While this advisory list is meant to help public officials and
employers identify essential work functions, it allows for the reality that some workers
engaged in activity determined to be essential may be unable to perform those functions
because of health-related concerns.

CISA will continue to work with our partners in the critical infrastructure community to
update this advisory list if necessary as the Nation’s response to COVID-19 evolves.

Should you have questions about this list, please contact CISA at CISA.CAT@cisa.dhs.gov.

Attachment: “Guidance on the Essential Critical Infrastructure Workforce: Ensuring Community
             and National Resilience in COVID-19 Response Version 2.0”




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                                   #:871

                                                                            Essential Critical Infrastructure Workforce




 Guidance on the Essential Critical Infrastructure
 Workforce: Ensuring Community and National Resilience
 in COVID-19 Response
 Version 3.0 (April 17, 2020)

 THE IMPORTANCE OF ESSENTIAL CRITICAL INFRASTRUCTURE WORKERS
 Functioning critical infrastructure is imperative during the response to the COVID-19 emergency for both public health
 and safety as well as community well-being. Certain critical infrastructure industries have a special responsibility in
 these times to continue operations.
 This advisory guidance and accompanying list are intended to support state, local, tribal, territorial and industry
 partners in identifying the critical infrastructure sectors and the essential workers needed to maintain the services and
 functions Americans depend on daily and that need to be able to operate resiliently during the COVID-19 pandemic
 response.
 This document gives advisory guidance on defining essential critical infrastructure workers. Promoting the ability of
 such workers to continue to work during periods of community restriction, access management, social distancing, or
 closure orders/directives is crucial to community resilience and continuity of essential functions. The term “workers”
 as used in this guidance is intended to apply to both employees and contractors performing the described functions.
 CISA will continually solicit and accept feedback on the list and will evolve the list in response to stakeholder feedback.
 We will also use our various stakeholder engagement mechanisms to work with partners on how they are using this list
 and share those lessons learned and best practices broadly. Feedback can be sent to CISA.CAT@CISA.DHS.GOV.

 CONSIDERATIONS FOR GOVERNMENT AND BUSINESS
 This list was developed in consultation with federal agency partners, industry experts, and State and local officials, and
 is based on several key principles:
     1.   Response efforts to the COVID-19 pandemic are locally executed, state managed, and federally supported.
     2.   Everyone should follow guidance from the Centers for Disease Control and Prevention (CDC), as well as state
          and local government officials, regarding strategies to limit disease spread.
     3.    Employers must comply with applicable Occupational Safety and Health Administration (OSHA) requirements
          for protecting critical infrastructure workers who remain on or return to the job during the COVID-19
          pandemic. As the nation relies on these workers to protect public health, safety, and community well-being,
          they must be protected from exposure to and infection with the virus so that they can continue to carry out




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         their responsibilities. OSHA has guidance and enforcement information for workplaces at
         www.osha.gov/coronavirus.
    4.   Businesses and government agencies may continue to implement organization-specific measures, which
         protect the workforce while meeting mission needs.
    5.   Workers should be encouraged to work remotely when possible and focus on core business activities. In-
         person, non-mandatory activities should be delayed until the resumption of normal operations.
    6.   When continuous remote work is not possible, businesses should enlist strategies to reduce the likelihood of
         spreading the disease. This includes, but is not limited to, physically separating staff, staggering work shift
         hours or days, and other social distancing measures. While the CDC recommends that everyone wear a cloth
         face cover to contain respiratory droplets when around others, critical infrastructure employers must consider
         how best to implement this public health recommendation for source control in the workplace. For example,
         employers may provide disposable facemasks (e.g., surgical masks) instead of cloth face coverings when
         workers would need to wear masks for extended periods of time (e.g., the duration of a work shift) or while
         performing tasks in which the face covering could become contaminated.
    7.   Consider the impact of workplace sick leave policies that may contribute to an employee decision to delay
         reporting medical symptoms. Sick employees should not return to the workplace until they meet the criteria to
         stop home isolation.
    8.   Critical infrastructure has an obligation to limit to the extent possible the reintegration of in-person workers
         who have experienced an exposure to COVID-19 but remain asymptomatic in ways that best protect the health
         of the worker, their co-workers, and the general public. An analysis of core job tasks and workforce availability
         at worksites can allow the employer to match core activities to other equally skilled and available in-person
         workers who have not experienced an exposure. CDC guidance on safety practices for critical infrastructure
         workers is maintained at https://www.cdc.gov/coronavirus/2019-ncov/community/critical-
         workers/implementing-safety-practices.html
    9.   All organizations should implement their business continuity and pandemic plans or put plans in place if they
         do not exist. Delaying implementation is not advised and puts at risk the viability of the business and the
         health and safety of the workers.
    10. Reliance on technology and just-in-time supply chains means that certain workers must be able to access
        certain sites, facilities, and assets to ensure continuity of functions. The vast majority of our economy relies on
        technology and therefore information technology (IT) and operational technology (OT) workers for critical
        infrastructure operations are essential. This includes workers in many roles, including workers focusing on
        management systems, control systems, and Supervisory Control and Data Acquisition (SCADA) systems, and
        data centers; cybersecurity engineering; and cybersecurity risk management.
    11. Government workers, such as emergency managers, and the business community need to establish and
        maintain lines of communication.
    12. Essential critical infrastructure workers need continued and unimpeded access to sites, facilities, and
        equipment within quarantine zones, containment areas, or other areas where access or movement is limited
        to perform functions for community relief and stability; for public safety, security and health; for maintaining
        essential supply chains and preserving local, regional, and national economic well-being.
    13. Essential critical infrastructure workers need sustained access to designated quarantine, containment, or




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          restricted areas; and should be exempted from curfews, shelter-in-place orders, and transportation
          restrictions or restrictions on movement.
     14. Whenever possible, local governments should consider adopting specific state guidance on essential workers
         to reduce potential complications of workers crossing jurisdictional boundaries. When this is not possible,
         local jurisdictions should consider aligning access and movement control policies with neighboring
         jurisdictions to reduce the burden of cross-jurisdictional movement of essential critical infrastructure workers.

 IDENTIFYING ESSENTIAL CRITICAL INFRASTRUCTURE WORKERS
 The following list of identified essential critical infrastructure workers is intended to be overly inclusive reflecting the
 diversity of industries across the United States.




 HEALTHCARE / PUBLIC HEALTH
          x   Workers, including laboratory personnel, that perform critical clinical, biomedical and other research,
              development, and testing needed for COVID-19 or other diseases.
          x   Healthcare providers including, but not limited to, physicians; dentists; psychologists; mid-level
              practitioners; nurses; assistants and aids; infection control and quality assurance personnel;
              pharmacists; physical, respiratory, speech and occupational therapists and assistants; social workers;
              optometrists; speech pathologists; chiropractors; diagnostic and therapeutic technicians; and radiology
              technologists.
          x   Workers required for effective clinical, command, infrastructure, support service, administrative, security,
              and intelligence operations across the direct patient care and full healthcare and public health spectrum.
              Personnel examples may include, but are not limited, to accounting, administrative, admitting and
              discharge, engineering, accrediting, certification, licensing, credentialing, epidemiological, source plasma
              and blood donation, food service, environmental services, housekeeping, medical records, information
              technology and operational technology, nutritionists, sanitarians, respiratory therapists, etc.
                  o Emergency medical services workers.
                  o Prehospital workers included but not limited to urgent care workers.
                  o Inpatient & hospital workers (e.g. hospitals, critical access hospitals, long-term acute care




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                     hospitals, long-term care facilities, inpatient hospice, ambulatory surgical centers, etc.).
               o     Outpatient care workers (e.g. end-stage-renal disease, Federally Qualified Health Centers, Rural
                     Health Clinics, community mental health clinics, organ transplant/procurement centers, and
                     other ambulatory care settings/providers, comprehensive outpatient rehabilitation facilities, etc.).
                o Home care workers (e.g. home health care, at-home hospice, home dialysis, home infusion, etc.).
                o Workers at Long-term care facilities, residential and community-based providers (e.g. Programs
                     of All-Inclusive Care for the Elderly (PACE), Intermediate Care Facilities for Individuals with
                     Intellectual Disabilities, Psychiatric Residential Treatment Facilities, Religious Nonmedical Health
                     Care Institutions, etc.).
                o Workplace safety workers (i.e., workers who anticipate, recognize, evaluate, and control
                     workplace conditions that may cause workers' illness or injury).
       x   Workers needed to support transportation to and from healthcare facility and provider appointments.
       x   Workers needed to provide laundry services, food services, reprocessing of medical equipment, and
           waste management.
       x   Workers that manage health plans, billing, and health information and who cannot work remotely.
       x   Workers performing cybersecurity functions at healthcare and public health facilities and who cannot
           work remotely.
       x   Workers performing security, incident management, and emergency operations functions at or on behalf
           of healthcare entities including healthcare coalitions, who cannot practically work remotely.
       x   Childcare, eldercare, and other service providers for essential healthcare personnel.
       x   Vendors and suppliers (e.g. imaging, pharmacy, oxygen services, durable medical equipment, etc.).
       x   Workers at manufacturers (including biotechnology companies and those companies that have shifted
           production to medical supplies), materials and parts suppliers, technicians, logistics and warehouse
           operators, printers, packagers, distributors of medical products and equipment (including third party
           logistics providers, and those who test and repair), personal protective equipment (PPE), isolation
           barriers, medical gases, pharmaceuticals (including materials used in radioactive drugs), dietary
           supplements, blood and blood products, vaccines, testing materials, laboratory supplies, cleaning,
           sanitizing, disinfecting or sterilization supplies (including dispensers), sanitary goods, personal care
           products, pest control products, and tissue and paper towel products.
       x   Donors of blood, bone marrow, blood stem cell, or plasma, and the workers of the organizations that
           operate and manage related activities.
       x   Pharmacy staff, including workers necessary to maintain uninterrupted prescription, and other workers
           for pharmacy operations.
       x   Workers in retail facilities specializing in medical good and supplies.
       x   Public health and environmental health workers, such as:
                o Workers specializing in environmental health that focus on implementing environmental controls,
                     sanitary and infection control interventions, healthcare facility safety and emergency
                     preparedness planning, engineered work practices, and developing guidance and protocols for
                     appropriate PPE to prevent COVID-19 disease transmission.
                o Public health/ community health workers (including call center workers) who conduct community-
                     based public health functions, conducting epidemiologic surveillance and compiling, analyzing,
                     and communicating public health information, who cannot work remotely.
       x   Human services providers, especially for at risk populations such as:
                o Home delivered meal providers for older adults, people with disabilities, and others with chronic




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                   health conditions.
               o   Home-maker services for frail, homebound, older adults.
               o   Personal assistance services providers to support activities of daily living for older adults, people
                   with disabilities, and others with chronic health conditions who live independently in the
                   community with supports and services.
               o Home health providers who deliver health care services for older adults, people with disabilities,
                   and others with chronic health conditions who live independently in the community with supports
                   and services.
       x   Government entities, and contractors that work in support of local, state, and federal public health and
           medical mission sets, including but not limited to supporting access to healthcare and associated
           payment functions, conducting public health functions, providing medical care, supporting emergency
           management, or other services necessary for supporting the COVID-19 response.
       x   Mortuary service providers, such as:
              o Workers performing mortuary funeral, cremation, burial, cemetery, and related services,
                   including funeral homes, crematoriums, cemetery workers, and coffin makers.
              o Workers who coordinate with other organizations to ensure the proper recovery, handling,
                   identification, transportation, tracking, storage, and disposal of human remains and personal
                   effects; certify cause of death; and facilitate access to mental and behavioral health services to
                   the family members, responders, and survivors of an incident.

 LAW ENFORCEMENT, PUBLIC SAFETY, AND OTHER FIRST RESPONDERS
       x   Public, private, and voluntary personnel (front-line and management, civilian and sworn) in emergency
           management, law enforcement, fire and rescue services, emergency medical services (EMS), and
           security, public and private hazardous material responders, air medical service providers (pilots and
           supporting technicians), corrections, and search and rescue personnel.
       x   Personnel involved in provisioning of access to emergency services, including the provisioning of real-time
           text, text-to-911, and dialing 911 via relay.
       x   Personnel that are involved in the emergency alert system (EAS) ((broadcasters, satellite radio and
           television, cable, and wireline video) and wireless emergency alerts (WEA).
       x   Workers at Independent System Operators and Regional Transmission Organizations, and Network
           Operations staff, engineers and technicians to manage the network or operate facilities.
       x   Workers at emergency communication center, public safety answering points, public safety
           communications centers, emergency operation centers, and 911 call centers.
       x   Fusion Center workers.
       x   Workers, including contracted vendors, who maintain, manufacture, or supply equipment and services
           supporting law enforcement, fire, EMS, and response operations (to include electronic security and life
           safety security personnel).
       x   Workers and contracted vendors who maintain and provide services and supplies to public safety
           facilities, including emergency communication center, public safety answering points, public safety
           communications centers, emergency operation centers, fire and emergency medical services stations,
           police and law enforcement stations and facilities.
       x   Workers supporting the manufacturing, distribution, and maintenance of necessary safety equipment and
           uniforms for law enforcement and all public safety personnel.




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       x   Workers supporting the operation of firearm, or ammunition product manufacturers, retailers, importers,
           distributors, and shooting ranges.
       x   Public agency workers responding to abuse and neglect of children, spouses, elders, and dependent
           adults.
       x   Workers who support weather disaster and natural hazard mitigation and prevention activities.
       x   Security staff to maintain building access control and physical security measures.

 FOOD AND AGRICULTURE
       x   Workers supporting groceries, pharmacies, convenience stores, and other retail (including unattended
           and vending) that sells human food, animal and pet food and pet supply, and beverage products,
           including retail customer support service and information technology support staff necessary for online
           orders, pickup, and delivery.
       x   Restaurant carry-out and quick serve food operations, including dark kitchen and food prep centers,
           carry-out, and delivery food workers.
       x   Food manufacturer workers and their supplier workers including those employed at food ingredient
           production and processing facilities; aquaculture and seafood harvesting facilities; livestock, poultry,
           seafood slaughter facilities; pet and animal feed processing facilities; human food facilities producing by-
           products for animal food; beverage production facilities; and the production of food packaging.
       x   Farmers, farm and ranch workers, and agribusiness support services to include those employed in
           auction and sales; grain and oilseed handling, storage, processing, and distribution; animal food, feed,
           and ingredient production, packaging, and distribution; manufacturing, packaging, and distribution of
           veterinary drugs; and truck delivery and transport.
       x   Farmers, farm and ranch workers, and support service and supplier workers producing food supply
           domestically and for export, to include those engaged in raising, cultivating, harvesting, packing, storing,
           or delivering to storage or to market or to a carrier for transportation to market any agricultural or
           horticultural commodity for human consumption; agricultural inspection; fuel ethanol facilities; biodiesel
           and renewable diesel facilities; storage facilities; and other agricultural inputs.
       x   Workers and firms supporting the distribution of food, feed, and beverage and ingredients used in these
           products, including warehouse workers, vendor-managed inventory controllers, and blockchain managers.
       x   Workers supporting the sanitation and pest control of all food manufacturing processes and operations
           from wholesale to retail.
       x   Workers supporting the growth and distribution of plants and associated products for home gardens.
       x   Workers in cafeterias used to feed workers, particularly worker populations sheltered against COVID-19.
       x   Workers in animal diagnostic and food testing laboratories.
       x   Government, private, and non-governmental organizations’ workers essential for food assistance
           programs (including school lunch programs) and government payments.
       x   Workers of companies engaged in the production, storage, transport, and distribution of chemicals,
           medicines, vaccines, and other substances used by the food and agriculture industry, including seeds,
           pesticides, herbicides, fertilizers, minerals, enrichments, and other agricultural production aids.
       x   Animal agriculture workers to include those employed in veterinary health (including those involved in
           supporting emergency veterinary or livestock services); raising, caring for and management of animals for
           food; animal production operations; livestock markets; slaughter and packing plants, manufacturers,
           renderers, and associated regulatory and government workforce.




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         x   Transportation supporting animal agricultural industries, including movement of animal medical and
             reproductive supplies and materials, animal vaccines, animal drugs, feed ingredients, feed and bedding,
             live animals, animal by-products, and deceased animals for disposal.
         x   Workers who support sawmills and the manufacture and distribution of fiber and forest products,
             including, but not limited to timber, paper, and other wood and fiber products, as well as manufacture
             and distribution of products using agricultural commodities.
         x   Workers engaged in the manufacture and maintenance of equipment and other infrastructure necessary
             for agricultural production and distribution.

 ENERGY
         x   Workers supporting the energy sector, regardless of the energy source (including, but not limited to,
             nuclear, fossil, hydroelectric, or renewable), segment of the system, or infrastructure the worker is
             involved in, who are needed to construct, manufacture, repair, transport, permit, monitor, operate
             engineer, and maintain the reliability, safety, security, environmental health, and physical and cyber
             security of the energy system, including those who support construction, manufacturing, transportation,
             permitting, and logistics.
         x   Workers and contractors supporting energy facilities that provide steam, hot water or chilled water from
             central power plants to connected customers.
         x   Workers conducting energy/commodity trading/scheduling/marketing functions who can't perform their
             duties remotely.
         x   Workers supporting the energy sector through renewable energy infrastructure (including, but not limited
             to, wind, solar, biomass, hydrogen, ocean, geothermal, and hydroelectric) and microgrids, including those
             supporting construction, manufacturing, transportation, permitting, operation and maintenance,
             monitoring, and logistics.
         x   Workers and security staff involved in nuclear re-fueling operations.
         x   Workers providing services related to energy sector fuels (including, but not limited to, petroleum (crude
             oil), natural gas, propane, liquefied natural gas (LNG), compressed natural gas (CNG), natural gas liquids
             (NGL), other liquid fuels, nuclear, and coal) and supporting the mining, processing, manufacturing,
             construction, logistics, transportation, permitting, operation, maintenance, security, waste disposal,
             storage, and monitoring of support for resources.
         x   Workers providing environmental remediation and monitoring, limited to immediate critical needs
             technicians.
         x   Workers involved in the manufacturing and distribution of equipment, supplies, and parts necessary to
             maintain production, maintenance, restoration, and service at energy sector facilities across all energy
             sector segments.


 Electricity Industry
         x   Workers who maintain, ensure, restore, or who are involved in the development, transportation, fuel
             procurement, expansion, or operation of, the generation, transmission, and distribution of electric power,
             including call centers, utility workers, engineers, retail electricity, construction, maintenance, utility
             telecommunications, relaying, and fleet maintenance technicians who cannot perform their duties
             remotely.
         x   Workers at coal mines, production facilities, and those involved in manufacturing, transportation,




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            permitting, operation, maintenance, and monitoring at coal sites.
        x   Workers who produce, process, ship, and handle coal used for power generation and manufacturing.
        x   Workers in the electricity industry including but not limited to those supporting safety, construction,
            manufacturing, transportation, permitting, operation/maintenance, engineering, physical and cyber
            security, monitoring, and logistics
        x   Workers needed for safe and secure operations at nuclear generation including, but not limited to, those
            critical to the broader nuclear supply chain, the manufacture and delivery of parts needed to maintain
            nuclear equipment, the operations of fuel manufacturers, and the production and processing of fuel
            components used in the manufacturing of fuel.
        x   Workers at fossil fuel (including but not limited to natural gas, refined, distillate, and/or coal), nuclear,
            and renewable energy infrastructure (including, but not limited to wind, solar, biomass, hydrogen,
            geothermal, and hydroelectric), and microgrids, including those supporting safety, construction,
            manufacturing, transportation, permitting, operation, maintenance, monitoring, and logistics.
        x   Workers at generation, transmission, and electric black start facilities.
        x   Workers at Reliability Coordinator, Balancing Authority, local distribution control centers, and primary and
            backup Control Centers, including, but not limited to, independent system operators, regional
            transmission organizations, and local distribution control centers.
        x   Workers that are mutual assistance/aid personnel, which may include workers from outside of the state
            or local jurisdiction.
        x   Vegetation management and traffic control for supporting those crews.
        x   Instrumentation, protection, and control technicians.
        x   Essential support personnel for electricity operations.
        x   Generator set support workers, such as diesel engineers used in power generation, including those
            providing fuel.
 Petroleum Industry
        x   Workers who support onshore and offshore petroleum drilling operations; platform and drilling
            construction and maintenance; transportation (including helicopter operations), maritime transportation,
            supply, and dredging operations; maritime navigation; well stimulation, intervention, monitoring,
            automation and control, extraction, production; processing; waste disposal, and maintenance,
            construction, and operations.
        x   Workers in the petroleum industry including but not limited to those supporting safety, construction,
            manufacturing, transportation, permitting, operation/maintenance, engineering, physical and cyber
            security, monitoring, and logistics.
        x   Workers for crude oil, petroleum, and petroleum product storage and transportation, including pipeline,
            marine transport, terminals, rail transport, storage facilities, racks, and road transport for use as end- use
            fuels such as gasoline, diesel fuel, jet fuel, and heating fuels or feedstocks for chemical manufacturing.
        x   Petroleum and petroleum product security operations center workers and workers who support
            maintenance and emergency response services.
        x   Petroleum and petroleum product operations control rooms, centers, and refinery facilities.
        x   Retail fuel centers such as gas stations and truck stops, and the distribution systems that support them.
        x   Supporting new and existing construction projects, including, but not limited to, pipeline construction.
        x   Manufacturing and distribution of equipment, supplies, and parts necessary for production, maintenance,
            restoration, and service of petroleum and petroleum product operations and use, including end-users.




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         x   Transmission and distribution pipeline workers, including but not limited to pump stations and any other
             required, operations maintenance, construction, and support for petroleum products.
 Natural Gas, Natural Gas Liquids (NGL), Propane, and Other Liquid Fuels
         x   Workers who support onshore and offshore drilling operations, platform and drilling construction and
             maintenance; transportation (including helicopter operations); maritime transportation, supply, and
             dredging operations; maritime navigation; natural gas and natural gas liquid production, processing,
             extraction, storage and transportation; well intervention, monitoring, automation and control; waste
             disposal, and maintenance, construction, and operations.
         x   Workers in the natural gas, NGL, propane, and other liquid fuels industries including but not limited to
             those supporting safety, construction, manufacturing, transportation, permitting, operation/maintenance,
             engineering, physical and cyber security, monitoring, and logistics.
         x   Transmission and distribution pipeline workers, including compressor stations and any other required
             operations maintenance, construction, and support for natural gas, natural gas liquid, propane, and other
             liquid fuels.
         x   Workers at Liquefied Natural Gas (LNG) and Compressed Natural Gas (CNG) facilities.
         x   Workers at natural gas, propane, natural gas liquids, liquified natural gas, liquid fuel storage facilities,
             underground facilities, and processing plants and other related facilities, including construction,
             maintenance, and support operations personnel.
         x   Natural gas processing plants workers and those who deal with natural gas liquids.
         x   Workers who staff natural gas, propane, natural gas liquids, and other liquid fuel security operations
             centers, operations dispatch and control rooms and centers, and emergency response and customer
             emergencies (including leak calls) operations.
         x   Workers supporting drilling, production, processing, refining, and transporting natural gas, propane,
             natural gas liquids, and other liquid fuels for use as end-use fuels, feedstocks for chemical
             manufacturing, or use in electricity generation.
         x   Workers supporting propane gas service maintenance and restoration, including call centers.
         x   Workers supporting propane, natural gas liquids, and other liquid fuel distribution centers.
         x   Workers supporting propane gas storage, transmission, and distribution centers.
         x   Workers supporting new and existing construction projects, including, but not limited to, pipeline
             construction.
         x   Workers supporting ethanol and biofuel production, refining, and distribution.
         x   Workers in fuel sectors (including, but not limited to nuclear, coal, and gas types and liquid fuels)
             supporting the mining, manufacturing, logistics, transportation, permitting, operation, maintenance, and
             monitoring of support for resources.
         x   Workers ensuring, monitoring, and engaging in the physical security of assets and locations associated
             with natural gas, propane, natural gas liquids, and other liquid fuels.
         x   Workers involved in the manufacturing and distribution of equipment, supplies, and parts necessary to
             maintain production, maintenance, restoration, and service of natural gas, propane, natural gas liquids,
             and other liquid fuels operations and use, including end-users.

 WATER AND WASTEWATER
 Workers needed to operate and maintain drinking water and wastewater and drainage infrastructure, including:
         x Operational staff at water authorities.




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       x   Operational staff at community water systems.
       x   Operational staff at wastewater treatment facilities.
       x   Workers repairing water and wastewater conveyances and performing required sampling or monitoring,
           including field staff.
       x   Operational staff for water distribution and testing.
       x   Operational staff at wastewater collection facilities.
       x   Operational staff and technical support for SCADA Control systems.
       x   Chemical equipment and personal protection suppliers to water and wastewater system.
       x   Workers who maintain digital systems infrastructure supporting water and wastewater operations.

 TRANSPORTATION AND LOGISTICS
       x   Workers supporting or enabling transportation and logistics functions, including truck drivers, bus drivers,
           dispatchers, maintenance and repair technicians, warehouse workers, truck stop and rest area workers,
           driver training and education centers, Department of Motor Vehicle (DMV) workers, enrollment agents for
           federal transportation worker vetting programs, towing and recovery services, roadside assistance
           workers, intermodal transportation personnel, and workers that construct, maintain, rehabilitate, and
           inspect infrastructure, including those that require cross-jurisdiction travel.).
       x   Workers supporting the distribution of food, fuels, pharmaceuticals and medical material (including
           materials used in radioactive drugs), and chemicals needed for water or water treatment and energy
           maintenance.
       x   Workers supporting operation of essential highway infrastructure, including roads, bridges, and tunnels
           (e.g., traffic operations centers and moveable bridge operators).
       x   Workers of firms providing services, supplies, and equipment that enable warehouse and operations,
           including cooling, storing, packaging, and distributing products for wholesale or retail sale or use,
           including cold- and frozen-chain logistics for food and critical biologic products.
       x   Mass transit workers providing critical transit services and performing critical or routine maintenance to
           mass transit infrastructure or equipment.
       x   Workers supporting personal and commercial transportation services including taxis, delivery services,
           vehicle rental services, bicycle maintenance and car-sharing services, and transportation network
           providers.
       x   Workers, including police, responsible for operating and dispatching passenger, commuter, and freight
           trains and maintaining rail infrastructure and equipment.
       x   Maritime transportation workers, including port authority and commercial facility personnel, dredgers,
           port workers, security personnel, mariners, ship crewmembers, ship pilots, tugboat operators, equipment
           operators (to include maintenance and repair, and maritime-specific medical providers), ship supply
           workers, chandlers, and repair company workers. Refer to the United States Coast Guard’s Marine Safety
           Information Bulletin “Maintaining Maritime Commerce and Identification of Essential Maritime Critical
           Infrastructure Workers” for more information.
       x   Workers, including truck drivers, railroad employees, maintenance crews, and cleaners, supporting
           transportation of chemicals, hazardous, medical, and waste materials that support critical infrastructure,
           capabilities, functions, and services, including specialized carriers, crane and rigging industry workers.
       x   Bus drivers and workers who provide or support intercity, commuter, and charter bus service in support of
           other essential services or functions.




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       x   Automotive repair, maintenance, and transportation equipment manufacturing and distribution facilities
           (including those who repair and maintain electric vehicle charging stations).
       x   Transportation safety inspectors, including hazardous material inspectors and accident investigator
           inspectors.
       x   Manufacturers and distributors (to include service centers and related operations) of lighting and
           communication systems, specialized signage and structural systems, emergency response equipment
           and support materials, printers, printed materials, packaging materials, pallets, crates, containers, and
           other supplies needed to support manufacturing, packaging staging and distribution operations, and
           other critical infrastructure needs.
       x   Postal Service, parcel, courier, last-mile delivery, and shipping and related workers, to include private
           companies, who accept, process, transport, and deliver information and goods.
       x   Workers who supply equipment and materials for maintenance of transportation equipment.
       x   Workers who repair and maintain vehicles, aircraft, rail equipment, marine vessels, bicycles, and the
           equipment and infrastructure that enables operations that encompass movement of cargo and
           passengers.
       x   Workers who support air transportation for cargo and passengers, including operation distribution,
           maintenance, and sanitation. This includes air traffic controllers, flight dispatchers, maintenance
           personnel, ramp workers, fueling agents, flight crews, airport safety inspectors and engineers, airport
           operations personnel, aviation and aerospace safety workers, security, commercial space personnel,
           operations personnel, accident investigators, flight instructors, and other on- and off-airport facilities
           workers.
       x   Workers supporting transportation via inland waterways, such as barge crew, dredging crew, and river
           port workers for essential goods.
       x   Workers critical to the manufacturing, distribution, sales, rental, leasing, repair, and maintenance of
           vehicles and other transportation equipment (including electric vehicle charging stations) and the supply
           chains that enable these operations to facilitate continuity of travel-related operations for essential
           workers.
       x   Warehouse operators, including vendors and support personnel critical for business continuity (including
           heating, ventilation, and air conditioning (HVAC) and electrical engineers, security personnel, and
           janitorial staff), e-commerce or online commerce, and customer service for essential functions.

 PUBLIC WORKS AND INFRASTRUCTURE SUPPORT SERVICES
       x   Workers who support the construction, maintenance, or rehabilitation of critical infrastructure.
       x   Workers supporting construction materials production, testing laboratories, material delivery services,
           and construction inspection.
       x   Workers who support the operation, inspection, and maintenance of essential public works facilities and
           operations, including bridges, water and sewer main breaks, fleet maintenance personnel, construction of
           critical or strategic infrastructure, traffic signal maintenance, emergency location services for buried
           utilities, maintenance of digital systems infrastructure supporting public works operations, and other
           emergent issues.
       x   Workers such as plumbers, electricians, exterminators, builders (including building and insulation),
           contractors, HVAC Technicians, landscapers, and other service providers who provide services, including
           temporary construction, that are necessary to maintaining the safety, sanitation, and essential operation




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           of residences, businesses and buildings, such as hospitals and senior living facilities.
       x   Workers personnel, who support operations that ensure, the availability of and access to needed
           facilities, transportation, energy, and communications through activities such as road and line clearing.
       x   Workers who support the effective removal, storage, and disposal of residential, industrial, and
           commercial solid waste and hazardous waste, including at landfill operations.
       x   Workers who support the operation, inspection, and maintenance of essential dams, locks, and levees.
       x   Workers who support the inspection and maintenance of aids to navigation and other government-
           provided services that ensure continued maritime commerce.

 COMMUNICATIONS AND INFORMATION TECHNOLOGY
 Communications
       x   Maintenance of communications infrastructure, -- including privately owned and maintained
           communication systems, -- supported by technicians, operators, call centers, wireline and wireless
           providers, cable service providers, satellite operations, Internet Exchange Points, Points of Presence,
           Network Access Points, back haul and front haul facilities, and manufacturers and distributors of
           communications equipment.
       x   Government and private sector workers, including government contractors, with work related to undersea
           cable infrastructure and support facilities, including cable landing sites, beach manhole vaults and
           covers, submarine cable depots, and submarine cable ship facilities.
       x   Government and private sector workers, including government contractors, supporting Department of
           Defense internet and communications facilities.
       x   Network Operations staff, engineers, and technicians to include IT managers and staff, HVAC and
           electrical engineers, security personnel, software and hardware engineers, and database administrators
           that manage the network or operate facilities.
       x   Workers responsible for infrastructure construction and restoration, including but not limited to
           engineers, technicians, and contractors for construction and engineering of fiber optic cables, buried
           conduit, small cells, other wireless facilities, and other communications sector-related infrastructure. This
           includes permitting, construction of new facilities, and deployment of new technology as required to
           address congestion or customer usage due to unprecedented use of remote services.
       x   Installation, maintenance, and repair technicians that establish, support, or repair service as needed.
       x   Central office personnel to maintain and operate central office, data centers, and other network office
           facilities, including critical support personnel assisting front line workers.
       x   Customer service and support staff, including managed and professional services, as well as remote
           providers of support to transitioning workers to set up and maintain home offices, who interface with
           customers to manage or support service environments and security issues including payroll, billing, fraud,
           logistics, and troubleshooting.
       x   Workers providing electronic security, fire, monitoring, and life safety services, and who ensure physical
           security, cleanliness, and the safety of facilities and personnel, including those who provide temporary
           licensing waivers for security personnel to work in other States or Municipalities.
       x   Dispatchers involved with service repair and restoration.
       x   Retail customer service personnel at critical service center locations to address customer needs,
           including new customer processing, distributing and repairing equipment, and addressing customer
           issues, in order to support individuals’ remote emergency communications needs




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         x   Supply chain and logistics personnel to ensure goods and products are available to provision these front-
             line workers.
         x   External Affairs personnel to assist in coordinating with local, state, and federal officials to address
             communications needs supporting COVID-19 response, public safety, and national security.
         x   Workers responsible for ensuring that persons with disabilities have access to and the benefits of various
             communications platforms, including those involved in the provision of telecommunication relay services,
             closed captioning of broadcast television for the deaf, video relay services for deaf citizens who prefer
             communication via American Sign Language over text, and audio-description for television programming.


  Information Technology
         x   Workers who support command centers, including, but not limited to, Network Operations Command
             Centers, Broadcast Operations Control Centers, and Security Operations Command Centers.
         x   Data center operators, including system administrators, HVAC and electrical engineers, security
             personnel, IT managers and purchasers, data transfer solutions engineers, software and hardware
             engineers, and database administrators for all industries, including financial services.
         x   Workers who support client service centers, field engineers, and other technicians and workers
             supporting critical infrastructure, as well as manufacturers and supply chain vendors that provide
             hardware and software, support services, research and development, information technology equipment
             (to include microelectronics and semiconductors), HVAC and electrical equipment for critical
             infrastructure, and test labs and certification agencies that qualify such equipment (to include
             microelectronics, optoelectronics, and semiconductors) for critical infrastructure, including data centers.
         x   Workers needed to preempt and respond to cyber incidents involving critical infrastructure, including
             medical facilities; state, local, tribal, and territorial (SLTT) governments and federal facilities; energy and
             utilities; banks and financial institutions; securities and other exchanges; other entities that support the
             functioning of capital markets, public works, critical manufacturing, food, and agricultural production;
             transportation; and other critical infrastructure categories and personnel, in addition to all cyber defense
             workers who can't perform their duties remotely.
         x   Suppliers, designers, transporters, and other workers supporting the manufacture, distribution, provision,
             and construction of essential global, national, and local infrastructure for computing services (including
             cloud computing services and telework capabilities), business infrastructure, financial transactions and
             services, web-based services, and critical manufacturing.
         x   Workers supporting communications systems, information technology, and work from home solutions
             used by law enforcement, public safety, medical, energy, public works, critical manufacturing, food and
             agricultural production, financial services, education, and other critical industries and businesses.
         x   Workers required in person to support Software as a Service businesses that enable remote working,
             performance of business operations, distance learning, media services, and digital health offerings, or
             required for technical support crucial for business continuity and connectivity.

  OTHER COMMUNITY- OR GOVERNMENT-BASED OPERATIONS AND ESSENTIAL
  FUNCTIONS
         x   Workers to ensure continuity of building functions, including but not limited to security and environmental
             controls (e.g., HVAC), the manufacturing and distribution of the products required for these functions, and
             the permits and inspections for construction supporting essential infrastructure.




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       x   Elections personnel to include both public and private sector elections support.
       x   Workers supporting the operations of the judicial system, including judges, lawyers, and others providing
           legal assistance.
       x   Workers who support administration and delivery of unemployment insurance programs, income
           maintenance, employment service, disaster assistance, workers’ compensation insurance and benefits
           programs, and pandemic assistance.
       x   Federal, State, and Local, Tribal, and Territorial government workers who support Mission Essential
           Functions and communications networks.
       x   Trade Officials (FTA negotiators; international data flow administrators).
       x   Workers who support radio, print, internet and television news and media services, including, but not
           limited to front line news reporters, studio, and technicians for newsgathering, reporting, and publishing
           news.
       x   Workers supporting Census 2020.
       x   Weather forecasters.
       x   Clergy for essential support.
       x   Workers who maintain digital systems infrastructure supporting other critical government operations.
       x   Workers who support necessary permitting, credentialing, vetting, and licensing for essential critical
           infrastructure workers and their operations.
       x   Customs and immigration workers who are critical to facilitating trade in support of the national
           emergency response supply chain.
       x   Educators supporting public and private K-12 schools, colleges, and universities for purposes of
           facilitating distance learning or performing other essential functions.
       x   Workers at testing centers for emergency medical services and other healthcare workers.
       x   Staff at government offices who perform title search, notary, and recording services in support of
           mortgage and real estate services and transactions.
       x   Residential and commercial real estate services, including settlement services.
       x   Workers supporting essential maintenance, manufacturing, design, operation, inspection, security, and
           construction for essential products, services, supply chain, and COVID-19 relief efforts.
       x   Workers performing services to animals in human care, including zoos and aquariums.

  CRITICAL MANUFACTURING
       x   Workers necessary for the manufacturing of metals (including steel and aluminum), industrial minerals,
           semiconductors, materials and products needed for medical supply chains and for supply chains
           associated with transportation, aerospace, energy, communications, information technology, food and
           agriculture, chemical manufacturing, nuclear facilities, wood products, commodities used as fuel for
           power generation facilities, the operation of dams, water and wastewater treatment, processing and
           reprocessing of solid waste, emergency services, and the defense industrial base. Additionally, workers
           needed to maintain the continuity of these manufacturing functions and associated supply chains, and
           workers necessary to maintain a manufacturing operation in warm standby.
       x   Workers necessary for the manufacturing of materials and products needed to manufacture medical
           equipment and PPE.
       x   Workers necessary for mining and production of critical minerals, materials and associated essential
           supply chains, and workers engaged in the manufacture and maintenance of equipment and other




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           infrastructure necessary for mining production and distribution.
       x   Workers who produce or manufacture parts or equipment that supports continued operations for any
           essential services and increase in remote workforce, including computing and communication devices,
           semiconductors, and equipment such as security tools for Security Operations Centers (SOCs) or data
           centers.
       x   Workers manufacturing or providing parts and equipment that enable the maintenance and continued
           operation of essential businesses and facilities.

  HAZARDOUS MATERIALS
       x   Workers who manage hazardous materials associated with any other essential activity, including but not
           limited to healthcare waste (medical, pharmaceuticals, medical material production, and testing
           operations from laboratories processing and testing kits) and energy (including nuclear facilities).
       x   Workers who support hazardous materials response and cleanup.
       x   Workers who maintain digital systems infrastructure supporting hazardous materials management
           operations.

  FINANCIAL SERVICES
       x   Workers who are needed to provide, process, and maintain systems for processing, verification, and
           recording of financial transactions and services, including payment, clearing, and settlement; wholesale
           funding; insurance services; consumer and commercial lending; public accounting; and capital markets
           activities.
       x   Workers who are needed to maintain orderly market operations to ensure the continuity of financial
           transactions and services.
       x   Workers who are needed to provide business, commercial, and consumer access to bank and non-bank
           financial services and lending services, including ATMs, lending and money transmission, lockbox
           banking, and to move currency, checks, securities, and payments (e.g., armored cash carriers).
       x   Workers who support financial operations and those staffing call centers, such as those staffing data and
           security operations centers, managing physical security, or providing accounting services.
       x   Workers supporting production and distribution of debit and credit cards.
       x   Workers providing electronic point of sale support personnel for essential businesses and workers.

  CHEMICAL
       x   Workers supporting the chemical and industrial gas supply chains, including workers at chemical
           manufacturing plants, laboratories, distribution facilities, and workers who transport basic raw chemical
           materials to the producers of industrial and consumer goods, including hand sanitizers, food and food
           additives, pharmaceuticals, paintings and coatings, textiles, building materials, plumbing, electrical, and
           paper products.
       x   Workers supporting the safe transportation of chemicals, including those supporting tank truck cleaning
           facilities and workers who manufacture packaging items.
       x   Workers supporting the production of protective cleaning and medical solutions, PPE, chemical consumer
           and institutional products, disinfectants, fragrances, and packaging that prevents the contamination of
           food, water, medicine, among others essential products.




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       x   Workers supporting the operation and maintenance of facilities (particularly those with high risk
           chemicals and sites that cannot be shut down) whose work cannot be done remotely and requires the
           presence of highly trained personnel to ensure safe operations, including plant contract workers who
           provide inspections.
       x   Workers (including those in glass container manufacturing) who support the production and
           transportation of chlorine and alkali manufacturing, single-use plastics, and packaging that prevents the
           contamination or supports the continued manufacture of food, water, medicine, and other essential
           products.

  DEFENSE INDUSTRIAL BASE
       x   Workers who support the essential services required to meet national security commitments to the
           federal government and U.S. Military, including, but are not limited to, space and aerospace workers,
           nuclear matters workers, mechanical and software engineers (various disciplines), manufacturing and
           production workers, IT support, security staff, security personnel, intelligence support, aircraft and
           weapon system mechanics and maintainers, and sanitary workers who maintain the hygienic viability of
           necessary facilities.
       x   Personnel working for companies, and their subcontractors, who perform under contract or sub-contract
           to the Department of Defense (DoD) and the Department of Energy (DoE) (on nuclear matters), as well as
           personnel at government-owned/contractor operated facilities, and who provide materials and services to
           the DoD and DoE (on nuclear matters), including support for weapon systems, software systems and
           cybersecurity, defense and intelligence communications, surveillance, sale of U.S. defense articles and
           services for export to foreign allies and partners (as authorized by the U.S. government), and space
           systems and other activities in support of our military, intelligence, and space forces.

  COMMERCIAL FACILITIES
       x   Workers who support the supply chain of building materials from production through application and
           installation, including cabinetry, fixtures, doors, cement, hardware, plumbing (including parts and
           services), electrical, heating and cooling, refrigeration, appliances, paint and coatings, and workers who
           provide services that enable repair materials and equipment for essential functions.
       x   Workers supporting ecommerce through distribution, warehouse, call center facilities, and other essential
           operational support functions, that accept, store, and process goods, and that facilitate their
           transportation and delivery.
       x   Workers in hardware and building materials stores necessary to provide access to essential supplies,
           consumer electronics, technology and appliances retail, and related merchant wholesalers and
           distributors.
       x   Workers distributing, servicing, repairing, installing residential and commercial HVAC systems, boilers,
           furnaces and other heating, cooling, refrigeration, and ventilation equipment.
       x   Workers supporting the operations of commercial buildings that are critical to safety, security, and the
           continuance of essential activities, such as on-site property managers, building engineers, security staff,
           fire safety directors, janitorial personnel, and service technicians (e.g., mechanical, HVAC, plumbers,
           electricians, and elevator).
       x   Management and staff at hotels and other temporary lodging facilities that provide for COVID-19
           mitigation, containment, and treatment measures or provide accommodations for essential workers.




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  RESIDENTIAL/SHELTER FACILITIES AND SERVICES
       x   Workers providing dependent care services, particularly those whose services ensure essential workers
           can continue to work.
       x   Workers who support food, shelter, and social services, and other necessities of life for needy groups and
           individuals, including in-need populations and COVID-19 responders including travelling medical staff.
       x   Workers in animal shelters.
       x   Workers responsible for the leasing of residential properties to provide individuals and families with ready
           access to available housing.
       x   Workers responsible for handling property management, maintenance, and related service calls who can
           coordinate the response to emergency “at-home” situations requiring immediate attention, as well as
           facilitate the reception of deliveries, mail, and other necessary services.
       x   Workers performing housing and commercial construction related activities, including those supporting
           government functions related to the building and development process, such as inspections, permitting,
           and plan review services that can be modified to protect the public health, but fundamentally should
           continue and enable the continuity of the construction industry (e.g., allow qualified private third-party
           inspections in case of federal government shutdown).
       x   Workers performing services in support of the elderly and disabled populations who coordinate a variety
           of services, including health care appointments and activities of daily living.
       x   Workers responsible for the movement of household goods.

  HYGIENE PRODUCTS AND SERVICES
       x   Workers who produce hygiene products.
       x   Workers in laundromats, laundry services, and dry cleaners.
       x   Workers providing personal and household goods, repair, and maintenance.
       x   Workers providing disinfection services for all essential facilities and modes of transportation and who
           support the sanitation of all food manufacturing processes and operations from wholesale to retail.
       x   Workers necessary for the installation, maintenance, distribution, and manufacturing of water and space
           heating equipment and its components.
       x   Support required for continuity of services, including commercial disinfectant services, janitorial and
           cleaning personnel, and support personnel functions that need freedom of movement to access facilities
           in support of front-line workers.
       x   Workers supporting the production of home cleaning, pest control, and other essential products
           necessary to clean, disinfect, sanitize, and ensure the cleanliness of residential homes, shelters, and
           commercial facilities.
       x   Workers supporting agriculture irrigation infrastructure.
       x   Workers supporting the production of home cleaning and pest control products.




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        +f9:f~6tnMX:nn:n~1n~tn:9~MX~sJMn~n:8sM\X~MX8St9:~3|~Ef_f\Cr~X\X_f\Cs~\f~:9t81rM\X1R
        :XsMsM:n~f:H1f9R:nn~\=~rJ:~X1rti:~\=~sJ:Mf~n:ivM8:n~sJ:~GX8sM\Xn~sJ:|~_:fEiU~\f~rJ:Mf
        8\f_\f1s:~\f~:XrMs|~nriu8rtf:

    &1sK:fOXIn~\>~U[f:~pJ1Y~ ~`:hn\Xn~af\JM7Nq:9 ~ RR~_t6RM8~1X9~_fMv1s:~H1rJ:fMXHn~\=~U\f:
     rJ1X~~_:fn\Xn~xJ\~1f:~X\s~_4s~\=~1~nMXHS:~J\tn:J\R9~\f~RMvMXH~tXMr~1f:~_f\JM6Ms:9
     :z8:_s~Ef~H1rJ:fMXHn~1n~_1fp~\=~sJ:~\_:f1sM\X~\=~1X~$nn:XsM1R~ tnMX:nn ~ *\rJMXH~MX~sJMn
     +f9:f~_f\JM6Mrn~rJ:~H1rJ:fMXH~\=~U:U7:fn~\=~1~J\tn:J\R9~\f~RMvMXH~tXMs~xMrJMX~1~_S18:~\=
     f:nM9:X8:~\f~rJ:~\_:f1rM\X~\=~1~nJ:Rs:f~Ef~_:fn\Xn~:z_:fM:X8MXH~J\U:R:nnX:nn

       /f1v:S~bf\JM6Mr:9~ RR~rf1v:R~MX8Rt9MXH~6ts~X\r~RMUMr:9~r\~sf1v:R~\X~U\r\f8|8R:
        1tr\U\6MR:~\f~_t6SM8~rf1XnMs~:z8:_s~Ef~$nn:XsM1R~/f1v:S~1X9~#nn:XsM1R~8rMvMsM:n~Mn
        _f\JM6Ms:9~ ,:fn\Xn~U1|~tn:~_t6SM8~sf1XnMr~\XR|~Ef~_tm\n:n~\=~_:fEiUMXH~$nn:XrM1S
        8sMvMrM:n~\f~s\~sf1v:R~s\~39~F\U~x\fQ~1r~$nn:XsM1R~ tnMX:nn:n~\f~s\~U1MXr1MX~_f\vM9:~\f
        f:8:Mv:~$nn:XsM1R~&\v:kU:Xs1R~%tX8sM\Xn~\f~.:iwM8:n~ ,:fn\Xn~fM9MXH~\X~_t6SM8~rf1XnMr
        Utnr~8\U_S|~xMsJ~.\8M1R~"Mnr38MXH~-:dtMf:U:Xsn~s\~rJ:~Hf:1s:nr~:zs:Xs~A1nM6S:~ /JMn
        +f9:f~1RR\xn~sf1v:R~MXs\~\f~\ts~\=~sJ:~!\tXr|~s\~_:fEfU~$nn:XsM1S~8sMvMsM:n~\_:f1s:
        #nn:XrM1S~ tnMX:nn:n~\f~r\~U1MXr1MX~\f~_f\vM9:~$nn:XsM1R~&\v:l:Xs1R~%tX8sM\Xn~\f
        .:ivM8:n

    ":DXMqO[Yn~1X9~:{;VcrM\Yn

        %\f~rJ:~_tf_\n:n~\=~rJMn~+f9:f~

           1   $nn:XrM1S~8sMvMsM:n ~ ,:fn\Xn~U1|~R:1v:~sJ:Mf~_R18:n~\=~f:nM9:X8:~\XR|~r\~_:fEfU
               1X|~\=~sJ:~ERR\xMXH~$nn:XrM1S~8rMvMsM:n~7tr~_:fn\Xn~1r~JMHJ~fMnQ~\=~n:v:f:
               MRRX:nn~F\U~!+0(" ~1X9~_:fn\Xn~xJ\~4:~nM8Q~1f:~tfH:9~s\~nr1|~MX~sJ:Mf~_R18:n
               \=~f:nM9:X8:~r\~sJ:~:zs:Xs~_\nnM6S:~:z8:_r~1n~X:8:nn1f|~s\~n::Q~U:9M81S~81f:
                     /\~:XH1H:~MX~18sMvMrM:n~\f~_:fEfU~s1nQn~:nn:XsM1R~s\~sJ:Mf~J:1RsJ~1X9~n1As|
                       \f~r\~rJ:~J:1SrJ~1X9~n1Ar|~\=~sJ:Mf~?2WMR|~\f~J\tn:J\R9~U:U6:fn
                       MX8Rt9MXH~_:sn~nt8J~1n~6|~x1|~\=~:z1U_S:~\6r1MXMXH~U:9M81S~nt__RM:n



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                      LPiE,+<)$Z<LFie=Y<Z<F:i$i;,$BZ;i)$P,iMPL4YY<LF$AiLPiL(Z$<F<F:iYbMMB=,Yi
                      F,,+,+iZLifLP@i8LEi$iMA$),iL-iP,Y<+,F),i
                  G !LiL(Z$<FiF,),YY$PhiY,Pe<),YiLPiYbMMB=,Yi7PiZ;,EY,Be,Yi$F+iZ;,<Pi.$E<BhiLP
                      ;LbY,;LA+iE,E(,PYiLPiZLi+,B<e,PiZ;LY,iY,Pe<),YiLPiYbMMA=,YiZLiLZ;,PYiYb);
                      $Yi(hif$hiL-i,g$EMB,i)$FF,+i7L+i+Phi:LL+Yi8,Y;i/Pc<ZYi$F+
                      e,:,Z$(A,YiM,ZiYbMMBhi8,Y;iE,$ZYi6Y;i$F+iMLbAZPhi$F+i$FhiLZ;,P
                      ;LbY,;LA+i)LFYbE,PiMPL+b)ZYi$F+iMPL+b)ZYiF,),YY$PhiZLiE$<FZ$<FiZ;,
                      Y$4ZhiY$F<Z$Z=LFi%F+i,YY,FZ<$AiLM,P$Z<LFiL-iMB$),YiL-iP,Y=+,F),
                 <<< "Li,F:$:,i<FiLbZ+LLPi$)Z<e<ZhiMPLe=+,+iZ;,iM,PYLFYi)LEMBhif<Z;i L)<$B
                      =YZ$F)<F:i,Ob=P,E,FZYiYb);i$Yi(hif$hiL-i,g$EMB,if$B@=F:i;<@=F:
                      PdFF<F:i(<)h)A<F:iLPih$P+ifLP@
                 e i "LiM,P7PEifLP@iMPLe<+<F:iMPL+b)ZYi$F+iY,Pe=),Yi$Zi$FiYY,FZ=$AibY=F,YYi
                      LPiZLiLZ;,Pf<Y,i)$PPhiLbZi$)Z=e<Z<,YiYM,)<6)$AAhiM,PE<ZZ,+i<FiZ;<YiP+,Pi
                      =F)Bb+<F:i=F<EbEi$Y<)iM,P$Z<LFY i
                  e !Li)$P,i7Pi$i0$E<BhiE,E(,PiLPiM,Zi<Fi$FLZ;,Pi;LbY,;LA+

          (   ,%C[;)&Q,iN,S$]>LH i ,PYLFYiE$hiA,$e,iZ;,<PiMB$),YiL-iP,Y=+,F),iZLifLP@i7PiLP
              L(Z$<FiY,Pe=),Yi$Zi$Fhi,$BZ;)$P,iM,P$Z<LFi<F)Ab+<F:i;LYM<Z$AYi)B<F<)Y
              +,FZ<YZYiM;$PE$)<,YiM;$PE$),bZ=)$Bi$F+i(=LZ,);FLAL:hi)LEM$F<,YiLZ;,PiB=),FY,+
              ;,$BZ;)&P,i3)<B<Z=,Yi;,$BZ;)$P,iYbMMB<,PYi;LE,i;,$BZ;)$P,iY,Pe<),YiMPLe<+,PY
              E,FZ$Bi;,$BZ;iMPLe<+,PYiLPi$FhiP,A$Z,+i$F+LPi$F)<AA$Phi;,$BZ;)$P,iY,Pe<),Y
              <F)Ab+<F:i(ALL+i+LF$Z<LFi),FZ,PY i ,$BZ;)$P,iM,P$Z<LFi$BYLi<F)Bb+,Y
              e,Z,P<F$Phi)$P,i$F+i$BBi;,$BZ;)$P,iY,Pe<),YiMPLe<+,+iZLi$F<E$AY i ";<Yi,g,EMZ<LF
              Y;$ABi(,i)LFYZPd,+i(PL$+AhiZLi$eL<+i$Fhi=EM$)ZYi\LiZ;,i+,B<e,PhiL-i;,$BZ;)$P,
              (PL$+Bhi+,6F,+ i ,$BZ;)$P,iM,P$Z<LFi+L,YiFLZi<F)Bb+,i6ZF,YYi%F+i,g,P)<Y,
              :hEYi$Ob$Z<)i),FZ,PYi$F+iY<E=A$Pi3)=A=Z=,Y

         )    YY,IZ?$DiJ2U&Y^Tc)_dR, i ,PYLFYiE$hiB,$e,iZ;,<PiMB$),YiL-iP,Y<+,F),iZLiMPLe<+,
              $FhiY,Pe<),YiLPiM,P7Vi$FhifLP@iF,),YY$PhiZLiZ;,iLM,P$Z<LFYi'+iE$<FZ,F$F),iL-
              YY,FZ<$BiF8$YZPd)ZbP,if;<);iE,$FYi$F+i<F)Ab+,Yi(bZi<YiFLZiA<E<Z,+iZLiMb(B<)
              fLP@Yi)LFYZPc)Z<LFi)LFYZPb)`<LFiL-i;LbY=F:i<FiM$Pa<)bB$Pi$5LP+$(B,i;LbY<F:iLP
              ;LbY<F:i7PiM,PYLFYi,gM,P<,F)<F:i;LE,B,YYF,YYi$<PMLPai$F+iMLPaiLM,P$Z=LFY
              E<B=Z$Phi<FYZ$BB$Z<LFYif$Z,PiY,f,Pi:$Yi,B,)ZP<)$BiL<Bi$F+i:$YiMPL+b)Z=LFi$F+
              P,6F=F:i<F)Bb+=F:i$YYL)<$Z,+i(bY<F,YY,Yi'+i$*Z<e<Z<,YiPL$+Yi$F+i;=:;f$hY
              Mb(B<)iZP$FYMLPZ$Z=LFiYLB<+if$YZ,i)LAA,)Z<LFi$F+iP,ELe$Bi9F,P$Ai;LE,Yi%F+
              ),E,Z,P<,Yi=FZ,W,Zi%F+iZ,B,)LEEbF<)$Z<LFYiYhYZ,EYi<F)Bb+<F:iZ;,iMPLe<Y<LFiL-
              ,YY,FZ=$Ai:BL($BiF$Z<LF$Bi%F+iBL)$Ai<F8$YZPc)ZbP,i7Pi)LEMbZ<F:iY,Pe<),Yi(bY<F,YY
              =F8$YZPb)ZbP,i)LEEbF<)$Z<LFYi'+if,(($Y,+iY,Pe=),YiMPLe<+,+iZ;$ZiZ;,hi)$PPh
              LbZiZ;LY,iY,Pe<),YiLPiZ;$ZifLP@i<Fi)LEMB<$F),if<Z;i L)=$Ai<YZ$F)<F:
              ,Ob<P,E,FZYiZLiZ;,i,gZ,FZiMLYY<(B,i BAi# i,M&P[E,FZiL-i,4FY,i$)Z<e<Z<,Y
              $P,i)$Z,:LP<)$AAhi,g,EMZi8LEiZ;=YiP+,P

         + YY,FZ<$BiLe,X,FZ$BibF)Z<LFYiLPi ,Pe<),Yi Le,X,FZi9F)Z=LFYiLPiY,Pe=),Y
            M,P7PE,+i(hi6PYZiP,YMLF+,PYi,E,P:,F)hiE$J$:,E,FZiM,PYLK,Bi,E,P:,F)h
            +<YM$Z);,PYi)LbPaiM,PYLFF,Bi$F+iB$fi,F7P),E,FZiM,PYLFF,Bi$F+iLZ;,PYif;LiF,,+
            ZLiM,P7PEi,YY,FZ<$Ai:Le,X,FZ$Ai1bF)Z<LFYiLPiY,Pe=),Yi$YiYb);iE$hi(,

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             ,-I-D>:?-,R*PRI9-R8AL-D?>-?I'<R-?I:IPRB-D5D>:?8RI9AH-R7?+I:A?HRADRBDAL:,:?8R
             HK+9RH-DL:+-HRH9'<=R*-R+A?H:,-D-,RHH-?I:'<RAL-G-?I'=RK?+I:A?HRADR
             %-DL:+-H R <<RB-DHA?HRN9ARB-D5D>RHH-?I:'<RAL-G-?I'<RK?+I:A?HRADR
             %-DL:+-HR'D-R+'I-8AD:+'<<PR-O->BIR6A>RI9:HR"D,-D R KDI9-DR?AI9:?8R:?RI9:HR"D,-DR
             H9'==RBDA9:*:IR'?PRB-DHA?R6A>RB-D5D>:?8RADR'++-HH:?8RHH-?I:'<RAL-G-?I'=R
             K?+I:A?HRADR%-DL:+-H R '+9R8AL-G-?I'<R-?I:IPRH9'<<R:,-?I:.PR'?,R,-H:8?'I-R
             'BBDABD:'I-R->B=AP--HRADR+A?ID'+IADHRIAR+A?I:?K-RBDAL:,:?8R'?,R+'DDP:?8RAKIR'?PR
             HH-?I:'<RAL-G-?I'<RK?+I:A?HRADR%-DL:+-HR <<RHH-?I:'<RAL-G-?I'<R
             K?+I:A?HRADR%-DM:+-HRH9'==R*-RB-D5D>-,R:?R+A>B=:'?+-RN:I9R%A+:'<R:HI'?+:?8R
             $-CK:D->-?IHRIARI9-R-OI-?IRBAHH:*<-R

         -   HH-?I:'<RKH:?-HH-HR HH-?I:'=RKH:?-HH-HR>-'?H
                   -'<I9+'D-R"B-D'I:A?HR'?,RHH-?I:'=R?6'HIDK+IKD-
                  DA+-DPRHIAD-HR+-DJ:4-,R1E-DHR>'D;-IHR0'D>R'?,RBDA,K+-RHI'?,H
                     HKB-D>'D;-IHR5A,R*(;HR+A?L-?:-?+-RHIAD-HR'?,RAI9-DR-HI'*=:H9>-?IH
                     -?8'8-,R:?RI9-RD-I':<RH'=-RA.R+'@?-,RADR6AQ-?R5A,R,DPR8AA,HR*-L-D'8-H
                     6-H9R/DK:IHR'?,RL-8-I'*<-HRB-IRHKBB<PR6-H9R>-'IHR4H9R'?,RBAK=IDPR'?,
                     '?PRAI9-DR9AKH-9A=,R+A?HK>-DRBDA,K+IHRHK+9R'HR+=-'?:?8R'?,RB-DHA?'<
                     +'D-RBDA,K+IH R &9:HR:?+<K,-HRHIAD-HRI9'IRH-<<R8DA+-D:-HR'?,R'<HARH-<=RAI9-D
                     ?A? 8DA+-DPRBDA,K+IHR'?,RBDA,K+IHR?-+-HH'DPRIAR>':?I':?:?8RI9-RH'2IP
                     H'?:I'I:A?R'?,R-HH-?I:'<RAB-D'I:A?RA.RB='+-HRA.RD-H:,-?+-
                ?PR5D>RA.R'8D:+K<IKD'<RBDA,K+I:A?R'?,RBDA+-HH:?8R:?+<K,:?8RI9-
                     +K<I:L'I:A?RA.RBDA,K+IHR5DRB-DHA?'=R+A?HK>BI:A?RADRKH-R:?+<K,:?8R1D>:?8
                     '?,RH-DM:+-HRBDAL:,-,R*PR0)>NAD;-DHRD(+9:?8R<:L-HIA+;R'?,R4H9:?8R'H
                     N-<<R'HR*KH:?-HHR'+I:L:I:-HRI9'IRHKBBADJRBDA,K+I:A?R'?,RBDA+-HH:?8R*P
                     BDAL:,:?8R-HH-?I:'<R'8D:+K<IKD'<RHKBB=:-HR'?,RH-DL:+-HR:?+<K,:?8
                     ID'?HBADI'I:A?R>'?K1+IKD:?8R-CK:B>-?IR'?,RH-DL:+-HRHK+9R'HR+AA<:?8
                     HIAD:?8RB'+;'8:?8R'?,R,:HID:*KI:A?RA.RHK+9RBDA,K+IHR5DRN9A<-H'=-RAD
                     D-I':=RH'<-RBDAL:,-,RI9'IRIARI9-R-OI-?IRBAHH:*=-RHK+9R*KH:?-HH-HR+A>B<P
                     N:I9R%A+:'=R:HI'?+:?8R$-CK:D->-?IHR'?,RAI9-DN:H-RBDAL:,-R5DRI9-R9-'<I9
                     '?,RH'2IPRA.RI9-:DR->B=AP--H
                L R KH:?-HH-HRI9'IRBDAL:,-R5A,RH9-<I-DR'?,RHA+:'<RH-DL:+-HR'?,RAI9-DR
                     ?-+-HH:I:-HRA.R=:2R5DR-+A?A>:+'<<PR,:H',L'?I'8-,R+A>BDA>:H-,RADR
                     AI9-DN:H-R?--,PRB-DHA?HR
                 L !-NHB'B-DHR'?,RI-=-L:H:A?RD',:AR'?,RAI9-DR>-,:'RH-DM:+-H
                LR 'HRHI'I:A?HR'?,R'KIA HKBB<PR'KIA D-B':DR'?,RD-='I-,R1+:<:I:-H
               L R '@;HR'?,RD-<'I-,R4?'?+:'<R:?HI:IKI:A?H
              L R 'D,N'D-RHIAD-H
                O R #<K>*-DHR-=-+ID:+:'?HR-OI-D>:?'IADHR'?,RAI9-DRH-DM:+-RBDAL:,-DHRN9AR
                     BDAL:,-RH-DM:+-HRI9'IR'D-R?-+-HH'DPRIAR>':?I':?:?8RI9-RH'2IPRH'?:I'I:A?R
                     '?,R-HH-?I:'<RAB-D'I:A?RA.RB<'+-HRA.RD-H:,-?+-RHH-?I:'<R+I:L:I:-HR'?,R
                     HH-?I:'=RKH:?-HH-HR
                 O KH:?-HH-HRBDAL:,:?8R>':<:?8R'?,RH9:BB:?8RH-DL:+-HR:?+=K,:?8RBAHIRA3+-
                     *AO-H
                OR ,K+'I:A?'<R:?HI:IKI:A?HR:?+=K,:?8RBK*=:+R'?,RBD:L'I-R RH+9AA<HR
                     +A<<-8-HR'?,RK?:L-DH:I:-HR5DRBKDBAH-HRA.R1+:<:I'I:?8R,:HI'?+-R<-'F:?8RADR

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                       C-E2E>8@5Q-GG-@H8(;Q4@+H8B@GQ8@Q+B>C;8(@+-QL7H6Q'B+8(;Q8GH(@+7@5Q
                       &-DJ8E->-@HGQHBQH6-Q5E-(H-GHQ-NH-@HQCBGG8*;-Q
               NA Q    #(J@,EB>(HGQ,EO+<-(@-EGQ(@,Q<(J@,EOQG-EK8+-QCEBK8,-EGQ
              N? Q    &-GH(JE(@HGQ(@,QBH6-EQ0+8;8H8-GQH6(HQCE-C(E-Q(@,QG-EK-Q2B,Q*JHQB@<OQ2EQ
                      ,-<8K-EOQBEQ+(EFOQBJHQ '+6BB<GQ(@,QBH6-EQ-@H8H8-GQH6(HQHOC8+(;;OQCEBK8,-Q3--Q
                      2B,QG-EK8+-GQHBQGHJ,-@HGQBEQ>->*-EGQB.QH6-QCJ*;8+Q>(OQ+B@H8@J-QHBQ,BQGBQ
                       J@,-EQH68GQ$E,-EQB@QH6-Q+B@,8H8B@QH6(HQH6-Q2B,Q7GQCEBK8,-,QHBQGHJ,-@HGQBEQ
                       >->*-EGQB.QH6-QCJ*<8+QB@Q(QC8+:JCQ(@,QH(:-(L(OQ*(G7GQB@;O Q '+6BB;GQ
                      (@,QBH6-EQ-@H7H8-GQH6(HQCEBK7,-Q2B,QG-EK8+-GQJ@,-EQH68GQ-N->CH7B@QG6(==Q@BHQ
                      C-E>8HQH6-Q2B,QHBQ*-Q-(H-@Q(HQH6-QG8H-QL6-E-Q8HQ8GQCEBK8,-,QBEQ(HQ(@OQBH6-EQ
                      5(H6-E8@5QG8H-Q
              N9K     JG8@-GG-GQH6(HQGJCC<OQCEB,J+HGQ@--,-,Q2EQC-EGB@GQHBQLBE:Q3B>QH6-8E
                      C;(+-GQB.QE-G7,-@+-
               NK     JG8@-GG-GQH6(HQGJCC;OQBH6-EQGG-@H8(<QJG8@-GG-GQL8H6QH6-QGJCCBEHQBE
                      GJCC;8-GQ@-+-GG(EOQHBQBC-E(H-Q8@+<J,8@5Q*OQL(OQB.Q-N(>C<-Q*JG8@-GG-G
                      H6(HQ>(@J0+HJE-QCEB,J+HGQ2EQJ<H8>(H-QJG-Q8@Q(Q!-(;H6+(E-Q$C-E(H8B@
              NK9    JG7@-GG-GQH6(HQG68CQBEQ,-;8K-EQ5EB+-E7-GQ2B,Q5BB,GQBEQG-EK7+-GQ,8E-+H;O
                      HBQC=(+-GQB.QE-G8,-@+-
             NKA Q    8E<7@-GQH(N7GQ(@,QBH6-EQCE8K(H-QHE(@GCBFI(H8B@QCEBK8,-EGQCEBK8,8@5Q
                      HE(@GCBEH(H8B@QG-EK7+-GQ@-+-GG(EOQ2EQGG-@H8(;Q+H8K8H8-GQ(@,QBH6-EQ
                      CJECBG-GQ-NCE-GG;OQ(JH6BE8P-,Q8@QH67GQ$E,-EQ
             NK?Q    !B>-*(G-,Q+(E-Q2EQG-@8BEGQ(,J;HGQBEQ+68;,E-@Q
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          KLHDC4;QSMH4+*SLDSA':+SKM)5SK5+;L+HS'N'7;'(;+S'KSKDDCS'KSEDKK7(;+S'C*SLDSMK+S#D)7'<S
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          O/1dY1.ZAOMddI,bdOMGbdQV1Q,V1d,M/dO91Vd;O/dZ@,ZdAYdQVO^A/1/dZO
        .\YZOI1VYd^A,d/1HA^1WbdY1V^A.1d^A,dQA.F\Qd;VdZ,F1O\Zd/AMAM?d,M/d^A,d/VA^1Z@V]
        )1VI,M1MZd;O/d7.AGAZA1YdZ@,ZdQV1Q,V1d,M/dO91Vd;O/d^A,d/1HA^1WbdY1V_A.1dQA.F\R
        OVd/VA^1Z@V]dI\YZd.OIQGbd`AZ@dZ@1d;GHO`AM?dQVO.1/\V1Y

        ,     OMZ,AM1VYdV1U\AV1/ d GGd;O/dJ\YZd-1d.OIQG1Z1Gbd.OMZ,AM1/dAMd,dY\AZ,-G1
              .OMZ,AM1Vd-1;V1d-1AM?dZV,MY8VV1/dZOd,d.\YZOJ1V d #OVd1a,IQG1dA.1d.V1,I
              .OM1Yd,V1dMOZd,HGO`1/dA.1d.V1,JdY.OOQYdAMd,d.O^1V1/d.OMZ,AM1Vd,V1d,GGO`1/

        -    '\Y[d.ONY\K2d6PO0d,`,cd<OLdSV1KDY3Yd +@1d1a.1QZAOMd;VdZ,F1 O\Zd;O/
              ,.ZA^AZA1YdAYd/1YA1/dZOd1M,-H1dQ1VYOMYd`@Od,V1d.OM:M1/dZOdZ@1AVdQG,.1YdO4
              V1YA/1M.1dZOdO-Z,AMdQV1Q,V1/d;O/dZOdZ,F1d-,.FdZOdZ@1AVdQG,.1YdO4dV1YA/1M.1
              ;Vd.OMY\IQZAOM d +@1dZ,F1O\Zd;O/dY@,GHdMOZd-1d.OMY\I1/d,Mb`@1V1
              `AZ@CMdZ@1dGCM1O5YA?@ZdO4d,dQ1VYOMdYZ,M/AM?dAMd=OMZdO4dZ@1d7.AGAZbdZ@,ZdYOG/
              Z@1d;O/


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              )@Z 4KJR]QL-/AG=]FUQR].1]F-AGR-@G10 ] DE]M1OQJGQ]X-ARAG>]AG]EAG1]JO
                JR?1OYAQ1]/JG>O1>-R@G>]JURQ@01]-]:J0]5/AEAR[]Q1DD@G>]:J0]W@-]R-C1 JUR
                01D@W1O[]JO]0O@W1 R?OV]Q?-DE]F-AGR-@G]-]0AQR-G/1]J2]-R]D1-QR]QAZ]61R];JF]-DD
                JR?1O]M1OQJGQ

          * 0&$0 !0 .' 0 +)0 *?1]$1-ER?]'38/1O]O1/J>G@\1Q]R?1]-UR?JOAT[]
          J2]R?1]+1GRUO-]JUGR[] GWAOJGF1GR-D]$1-ER?]AWAQAJG]-Q]QR-R10]@G]JOJG-WAOVQ]
          '+% ]#U@0-G/1]:O]"JJ0]"-/ADARA1Q]-G0]QROJG>E[]-0W@Q1Q]-DD]:J0]-G0]
          .1W1O->1]5/AD@R@1Q]RJ]/JFMD[]X@R?]R?1]>UA0-G/1]

      ))"+ 0-)")))0 -)+0 /0$  0), # "0(%+$ %0 DD] QQ1GRA-D]
          UQAG1QQ1Q]FUQR]MO1M-O1]-G0]MJQR]-])J/A-E]@QR-G/AG>](OJRJ/JE]:O]1-/?]J2]R?1AO]
          5/AEAR@1Q]AG]R?1]JUGR[];1NU1GR10].[]R?1]MU.DA/]JO]1FMEJ[11Q] *?1])J/A-D]
          AQR-G/@G>](OJRJ/JD]FUQR].1]MJQR10]-R]JO]G1-O]R?1]1GRO-G/1]J2]R?1]O1E1W-GR]5/@DAR[]
          -G0]Q?-DE].1]1-QAE[]WA1X-.E1].[]R?1]MU.DA/]-G0]1FMDJ[11Q] ]/JM[]J2]R?1])J/@-E]
          @QR-G/@G>](OJRJ/JE]FUQR]-EQJ].1]MOJWA010]RJ]1-/?]1FMDJ[11]M1O:OFAG>]XJOC]-R]
          R?1]5/ADAS[] DD] QQ1GR@-E]UQ@G1QQ1Q]Q?-EE]@FME1F1GR]R?1])J/A-E]AQR-G/AG>]
          (OJRJ/JD]-G0]Q?-ED]01QA>G-R1]-]QM1/A9/]JG 0UR[]1FMEJ[11]RJ]FJG@RJO]-G0]1G:O/1]
          /JFMDA-G/1]XAR?]R?1](OJRJ/JE]-R]-ED]RAF1Q]R?1].UQAG1QQ]AQ]JM1G]RJ]R?1]MU.DA/]
            QQ1GR@-D]UQAG1QQ1Q]Q?-DE]MOJW@01]1WA01G/1]J2]ARQ]@FMD1F1GR-RAJG]RJ]-G[]-UR?JOAR[]
          1G:O/AG>]R?@Q]'O01O]UMJG]01F-G0]

          JFMD1RAJG]-G0]MJQR@G>]J2]R?1]:OF]-RS-/?10]?1O1RJ]-Q]MM1G0@Z]])J/A-D]
          AQR-G/@G>](OJRJ/JD]X@DE].1]/JFMEA-GR]XAR?]R?AQ]'O01O] *?1])J/A-E]AQR-G/AG>]
          (OJRJ/JE]FUQR]1ZMD-@G]?JX]R?1].UQAG1QQ]@Q]-/?A1WAG>]R?1]:DDJXAG>]-Q]-MMEA/-.D1]

          -     &AF@RAG>]R?1]GUF.1O]J2]M1OQJGQ]X?J]/-G]1GR1O]@GRJ]R?1]5/@E@R[]-G0]XJOC
                 -P1-Q]-R]-G[]JG1]RAF1]RJ]1GQUO1]R?-R]M1OQJHQ]AG]R?1]5/AEAR[]-G0]XJOC]-O1-Q
                 /-I]1-Q@E[]F-AGR-@G]-]F@G@FUF]Q@Z :JR]0@QR-G/1]<JF]JG1]-GJR?1O]-R]-DE
                 RAF1Q ]1Z/1MR]-Q]O1NUAO10]RJ]/JFMD1R1]R?1]!QQ1GR@-E]UQAG1QQ]-/R@WBS[

          .     ,?1O1]DAG1Q]F-[]:OF]-R]-]5/@D@R[ ]F-OCAG>]@G/O1F1GRQ]J2]QAZ]61R ]-R]-
                 FAG@FUF ]1QR-.EAQ?@G>]X?1O1]AG0@W@0U-EQ]FUQR]QR-G0]RJ]F-@GR-AG]-01NU-R1
                 QJ/A-E]0@QR-G/AG>

          /     (OJW@0AG>]?-G0]Q-GARA\1O]QJ-M]-G0]X-R1O ]JO]JR?1O]171/R@W1]0@Q@G6/R-GR]-R
                 JO]G1-O]R?1]1GRO-G/1]J2]R?1]5/AD@T[]-G0]@G]JR?1O]-MMOJMO@-R1]-O1-Q]:O]UQ1].[
                 R?1]MU.EA/]-G0]1FMDJ[11Q]-G0]AH]EJ/-R@JGQ]X?1O1]R?1O1]@Q]?A>? ;1NU1G/[
                 1FMEJ[11]AGR1O-/R@JG]XAR?]R?1]MU.EA/]1> ]/-Q?@1OQ



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         0      &ROYB0BM>`<R`/OMU-/UH1TT`P-^1MU`T\TU1JT`OR`B3`MOU`62-TB.H1`UO`0O`TO
                0BTBM31/U`<R`U?1`M1[U`/XTUOJ1R`.\`0BTBM62/UBM>`-HH`P-]K1MU`PORV-HT`P1MT`-M0
                TU\HXT1T`-3U1R`1-/?`XT1

         1      '1>XH-RH\`/H1-MBM>`-M0`0BTBM62/UBM>`OU?1R`?B>?UOX/?`TXR7/1T

         3      &OTUBM>`-`TB>M`-U`U?1`1MUR-M/1`O3`U?1`7/BHBW\`-M0`ZORF`-R1-`BM<RJBM>`U?1
                PX.HB/`-M0`1JPHO\11T`U?-U`U?1\`T?OXH0`-YOB0`1MU1RBM>`U?1`7/BHBU\`B3`U?1\
                ?-Y1`-`/OX>?`OR`62Y1R`J-BMU-BM`-`JBMBJXJ`TB[ <OU`0BTU-M/1`=OJ`OM1
                -MOU?1R`TM11_1`-M0`/OX>?`BMUO`U?1BR`1H.OZ`-M0`MOU`T?-F1`?-M0T`OR`1M>->1
                BM`XMN1/1TT-R\`P?\TB/-H`/OMU-/U`-M0

         >      M\`-00BUBOM-H`TO/B-H`0BTU-M/BM>`J1-TXR1T`.1BM>`BJPH1J1MU10

         '1P1-U10`/OM9RJ10`7BHXR1`UO`/OJPH\`ZBU?`(O/B-H`BTU-M/BM>`&ROUO/OH`J-\`H1-0`UO`
         /HOTXR1`O3`MOM/OJPHB-MU`.XTBM1TT1T `

       #" ##  # # # # +N01R`-HB<SB-`H-Z
                                                               +N01R`-HB<SB-`H-
         P1RTOMT`ZBT?CM>`UO`PXR/?-T1`-`9R1-RK`JXTU`/OJPH1U1`-`.-/G>ROXM0`/?1/F`-M0
         Z-BUBM>`P1RBO0`-M0`-HH`T-H1T`JXTU`.1`/OJPH1U10`BM P1RTOM` "U`BT`MOU`31-TB.H1
         U?1R1<R1`<R`U?1` 1-HU?`%4:/1R`UO`R1QXBR1`U?-U`9R1-RJ`T-H1T`.1`/OM0X/U10`OM HBM1
         OMH\` )O`-//OKJO0-U1`P1RTOMT`Z?O`BMDUB-U10`U?1`PXR/?-T1`O3`-`9R1-RJ`-U`-`TUOR1
         HO/-U10`ZBU?BM`U?1`OXMU\`.1<R1`#-R/?```B1 `U?1`0-\`9R1-RK`TUOR1T`Z1R1
         OR01R10`UO`.1`/HOT10`.\`U?1` 1-HU?`%5;/1R`9R1-RJ`TUOR1T`-M0`PXR/?-T1RT`J-\
         1M>->1`BM`U?1`-/UBOMT`M1/1TT-R\`UO`/OJPH1U1`9R1-RJ`PXR/?-T1T`BMBUB-U10`.1<R1
         $-R/?```PROYB010`U?-U

         -      HH`-/UBYBUB1T`BM/HX0BM>`U?1`UR-MT31R`O3`POTT1TTBOM`O3`-M\`9R1-RJ`O//XR`.\
                -PPOBMUJ1MU`OMH\`-M0`OMH\`U?1`PXR/?-T1R`-M0`OM1`P1RTOM`OM`.1?-H3`O3`U?1
                TUOR1`T@-HH`.1`PR1T1MU

         .      *?1`9R1-RL`TUOR1`T?-HH`R1J-BM`/HOT10`UO`U?1`>1M1R-H`PX.HB/`-M0

         /     (O/B-H`BTU-M/BM>`'1QXBR1J1NUT`TA-HI`.1`<HHOZ10`UO`U?1`>R1-U1TU`1[U1MU
                8-TB.H1


       ## #  #!  # #  #  ##  # *?1
         BMU1MU`-M0`TURX/UXR1`O3`U?BT`%R01R`BT`UO`HBTU`TT1MUB-H`XTBM1TT1T`U?-U`J-\`R1J-BM
         OP1M`TX.E1/U`UO`RB>OROXT`/OM0BUBOMT`01TB>M10`UO`PRO?B.BU`U?1`TPR1-0`O3`%,! 

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         OG_P=5_<J51Q5NO_5YP5FO_91N>2C5_1F4_OG_J5IT>J5_1DD_GO=5J_2TN>F5NN5N_OG_3CGN5 _ !GJ_O=5_
         N1A5_G6_3D1J>PZ_1_D>NP_G6_2TN>F5NN_P[H5N_O=1P_=1V5_255F_GJ45J54_OG_3CGN5_1N_)GF^
           NN5FO>1D_>N_N5Q_:JQ=_25CGX _ #GX5V5J_>O_>N_5EH=1N>]54_P=1P_P=5_D>NQ_25DGX_>N_FGP_
         >FP5F454_PG_25_5Y3CTN>V5_1F4_P=5_83O_O=1P_1_2TN>F5NN_O\5_>N_FGP_D>NO54_25DGX_>N_FGP_
         >FP5F454_PG_>EHDZ_O=1P_>P_>N_1TO=GJ>]54_PG_NO1Z_GH5F_1N_1F_ NN5FP>1D_TN>F5NN_
         #51CP=31J5_*H5J1O>GF_ NN5FO>1D_"GV5LE5FP1C_!TF3O>GF_GJ_-5JV>35_GJ_ NN5FQ>1D_
         $F;1NPM3OTJ5_

         1      1JN_1F4_F><=P3DT2N_O=1P_4G_FGO_N5KW5_:G4
         2      (GV>5_Q=51P5JN_D>V5_H5J:JE1F35_V5FT5N_2GXC>F<_1DD5ZN_1F4_1J3145N
         3      "ZEN_7?OF5NN_35FO5JN_1F4_1IT1O>3_35FO5JN
         4      0>F5J>5N_2J5X5J>5N_1F4_O1H_JGGEN_O=1O_HJGV>45_O1NO>F<N
         5     DC_NX>EE>F<_HGGDN_NH1N_=GP_QU2N_N1TF1N_NO51E_JGGEN_1F4_N>E>C1J
                83>D>P>5N_5Y35HO_O=GN5_DG31O54_1O_1_N>F<D58E>DZ_J5N>45F35_X=>3=_N=1DC_25
                TN54_GFCZ_2Z_E5E25JN_G6_1_=GTN5=GD4_J5N>4>F<_1Q_Q=5_N>F<C5 8E>DZ
                J5N>45F35
         6     CC_HT2C>3_1F4_HJ>V1P5_31EH<JGTF4N_1F4_J53J51O>GF1D_V5=>3D5_,/_H1JAN
                5Y35HQ_O=1Q_H5JNGFN_X=G_35JR>6Z_O=1O_O=5>J_,/_>N_P=5>J_HJ>E1JZ_J5N>45F35_E1Z
                25_H5JE>PO54_PG_NO1Z_>F_P=5_,/_H1JB _ DC_H5JNGFN_J5N>4>F<_>F_1F_,/_N=1DD
                3GEHDZ_X>P=_1DD_*J45JN_GQ=5JX>N5_1HHC>312D5_PG_J5N>45FPN
         <      DGP=>F<_NPGJ5N
         =      -HGJQ>F<_<GG4N_NPGJ5N
              &5X5CJ[_NPGJ5N
         '      !12J>3_NPGJ5N
         A      .GZ_1F4_<1E5_NOGJ5N
               GGA_NPGJ5N
         E     JQN_1F4_3J16PN_NOGJ5N
         F     +1XF_2JGA5JN
         G     "TF_NOGJ5N
         H      1>O_1F4_P13AD5_N=GHN
         I      !TL>OUJ5_NOGJ5N
         J      #GE5_453GJ_1F4_H1JS_453GJ1O>GFN_NOGJ5N
         N      .G2133G_1F4_V1H>F<_NOGJ5N
         O      +5P_<JGGE>F<
         T      #1>J_GJ_F1>C_N1CGFN_21J25JN=GHN


                         .=5_>FP5FP_1F4_NOJT3PTJ5
         G6_P=>N_*J45J_>N_PG_C>NP_5NN5FQ>1C_13P>V>P>5N_P=1O_E1Z_3GFO>FT5_NT2@53P_PG_J><GJGTN
         3GF4>O>GFN_45N><F54_OG_HJG=>2>P_P=5_NHJ514_G6_*/% _PG_P=5_<J51O5NP_5YO5FP


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         @5TH7J:`5N9`UO`R:QXHR:`5JK`OUG:R`58UHYHVH:T`UO`8:5T: ` 'OR`VG:`T5I:`O;`8K5RHV]`5`JHTU`O;`
         58UHYHVH:T`UG5U`G5Y:`7::N`OR9:R:9`VO`8:5T:`5T`NON:TT:NUH5J`HT`T:U`CRWG`7:JO[`
         )O[:Y:R`HV`HT`:LPG5TH^:9`UG5U`UG:`KHTV`7:JO[`HT`NOU`HNV:N9:9`VO`7:`:\8JXTHY:`5N9`
         UG:`>68V`UG5V`5N`58UHYHU]`HT`NOV`KHTU:9`7:KO[`HT`NOV`HNU:N9:9`UO`HLPJ]`VG5U`5N`58UHYHU]`
         HT`5XUGORH^:9!`

         5     %OORUO %OOR`1OJH8HU5VHONT` %OORVO 9OOR`TOJH8HV5VHONT`[G:UG:R`CR
                PXSOT:T`O;`T5J:T`O;`FOO9T`OR`T:RZH8:T`8G5RHU57J:`8ONURH7XUHONT`TH5VXR:_
                F5UG:RHNF`OR`5N]`OUG:R`8OML:R8H5J`OR`NON8OLL:R8H5K`PXSOT:

        @?I

      ."FG1KB6K 62 ;/K<K &-'G(@K -ONF2:RL`$5R:`'58HJHUH:T`L5]`NOV
         R:ET:`UO`59LHV`5N]`P:RTON`[GO`G5T`7::N`9H5FNOT:9`[HUG`OR`VR:5V:9`CR`$/4+%
         5<U:R`UG5U`P:RTON`G5T`7::N`9HT8G5RF:9`DOL`5`G:5JVG`85R:`?8HJHU]`5N9`5PPROY:9`CR
         59LHVU5N8:`VO`5`-ONF2:RL`$5R:`'58HKHU]`7]`VG:`4:NUXR5`$OXNU]`0X7KH8`):5JVG
         %:P5RWL:NU

         5     'OR`PXRPOT:T`O<`VGHT`T:8VHON`-ONF 2:RL`$5R:`'58HJHV]`L:5NT`5`KONF V:RL
                85R:`?8HKHV]`TIHKJ:9`NXRTHNF`?8HJHU]`HNV:RL:9H5U:`85R:`?8HJHU]`8ONFR:F5U:
                JHYHNF`G:5JUG`?8HJHV]`NXRTHNF`?8HJHU]`GOTPH8:`?8HJHU]`R:TH9:NUH5J`85R:
                ?8HJHU]`CR`UG:`:K9:RK]`R:TH9:NUH5J`?8HJHU]`OR`8OLLXNHU]`85R:`?8HKHV]`5T
                9:AN:9`HN`):5KVG`5N9`15@V]`$O9:`T:8UHONT`` ` `5N9` 
                5N9`R:FXJ5UHONT`PROLXKF5V:9`UG:R:XN9:R`5T`UG:]`L5]`7:`5L:N9:9`DOL`VHL:
                VO`UHL:

        6A9)H-@K3K 74!=0K>K *+C#@K 2G:`):5KUG`/=B8:R`R:8OFNH^:T`VG:
         5XVGORHV]`O;`VG:`FXH95N8:`9O8XL:NUT`)OTPHU5J`*OK9HNF`3NHU`(XH95N8:`CR
         $/4,% `5N9`-ONF 2:RL`$5R:`'58HJHU]`(XH95N8:`CR`0R:Y:NUHNF`5N9
         .5N5FHNF`$/4,%  `VG:`8XRR:NV`Y:RTHONT`O;`[GH8G`5R:`5Y5HJ57K:`5U
         [[[Y8:L:RF:N8] 8OL`5N9`TURONFJ]`59YHT:T`5JK`GOTPHV5JT`5N9`-ONF 2:RL`$5R:
         '58HJHUH:T`5T`UG5V`V:RL`HT`9:AN:9`HN`T:8UHON``O<`UGHT`/R9:R`UO`8OLPJ]`[HVG`UG:
         FXH95N8:

      1$D,81AK5KJ/:E%61@

         'OR`UG:`PXSOT:T`O<`UGHT`/R9:R"

         5     &TT:NUH5J`#8VHYHVH:T ` 0:RTONT`L5]`J:5Y:`UG:HR`PJ58:T`O;`R:TH9:N8:`ONJ]`VO
                P:RCRL`ON:`O;`VG:`CKJO[HNF`&TT:NUH5K`#8UHYHUH:T`7XU`P:RTONT`5V`GHFG`RHTI

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              C,SH*M*F*S:<=B*HHS/GC@S$S%B)SD*FHCBHSN9CS%F*SH:(;S%F*SKF8*)SICS
              HI%PS:BSI9*:FSD<%(*HSC,SF*H:)*B(*SJCSI9*S*OJ*BJSDCHH:'=*S*O(*DIS%HSB*(*HH%FPSICS
              H**;S@*):(%=S(%F*S

                  #CS*B8%8*S:BS%(I:M:I:*HSCFSD*F5F@SJ%H;HS*HH*BJ:%=SICSI9*:FS9*%=J9S%B)
                     H%/+JPSCFSJCSJ9*S9*%=I9S%B)SH%,*JPSC,SI9*:FS0@:=PSCFS9CKH*9C=)
                     @*@'*FHS:B(>K):B8SD*JHSHK(9S%HS'PSN%PSC,S*O%@D<*SC'I%:B:B8
                     @*):(%=SHKDD=:*HSCFS@*):(%J:CBSM:H:J:B8S%S9*%=I9S(%F*SDFC,*HH:CB%=SCF
                     C'J%:B:B8SHKDD=:*HSB**)*)SICSNCF;S6C@S%SD=%(*SC,SF*H:)*B(*

                  #CSC'I%:BSB*(*HH%FQSH*FM:(*HSCFSHKDD=:*HS5FSJ9*@H*=M*HS%B)SI9*:F
                     0@:<PSCFS9CKH*9C=)S@*@'*FHSCFSICS)*=:M*FSJ9CH*SH*FM:(*HSCFSHKDD=:*H
                     ICSCJ9*FHSHK(9S%HS'PSN%PSC,S*O%@D=*S(%BB*)S5C)S)FPS8CC)HS6*H9
                     -FL:IHS%B)SM*8*I%'=*HSD*JSHKDD=PS6*H9S@*%IHS2H9S%B)SDCK<IFQS%B)
                     %BPSCI9*FS9CKH*9C=)S(CBHK@*FSDFC)K(IHS%B)SDFC)K(IHSB*(*HH%FQSIC
                     @%:BI%:BSI9*SH%/+IQS H%B:I%J:CBS%B)S*HH*BI:%<SCD*F%I:CBSC,SD=%(*HSC,
                     F*H:)*B(*

                  #CS*B8%8*S:BS7B*F%<SH*FM:(*HSDFCM:)*)SI9*S5==CN:B8SF*HJF:(J:CBHS%F*
                     C'H*FM*)

                     : CFS:B)CCFSH*FM:(*HSN9*F*SJ9*S'C)PSC,SI9*S)*(*%H*)S:HSDF*H*BJS5F
                     M:*N:B8SCFS:BS%S(<CH*)S(%H;*IS@*@'*FHSC,SI9*S)*(*%H*)HS9CKH*9C=)
                     %B)SI9*SF*<%J:M*HSC,SI9*S)*(*%H*)SN:I9:BSJ9*SH*(CB)S)*8F**S:B(=K):B8
                     :B =%NHS@%PS8%J9*FS5FSJ9*S%(I:M:JPSDFCM:)*)SI9%JS"C(:%=S:HJ%B(:B8
                       *EK:F*@*BIHS%F*S5=<CN*)S%B)SI9%JSBCS@CF*SJ9%BS3M*SD*FHCBH
                     8%I9*FS:BH:)*SI9*S0(:<:IQS%IS%SH:B8=*SI:@* S "I%'=*S8FCKDHSC,S3M*
                     D*FHCBHS: *SD*FHCBHS@%PSBCISHK'HI:IKI*S:BSCFSCKISC,SI9*S8FCKDS@%P
                     FCI%J*SN:I9:BSI9*S0(:<:IPSDFCM:):B8SDFCIC(C=HS%F*S:@D<*@*BJ*)SJC
                     H%B:J:R*SI9*S/&(:<:I:*HS'*JN**BS*%(9S8FCKDSM:H:I
                     :: CFS8F%M*H:)*SH*FM:(*HS@*@'*FHSC,SJ9*S)*(*%H*)HS9CKH*9C=)S%B)
                     I9*SF*<%I:M*HSC,SJ9*S)*(*%H*)SN:I9:BSI9*SH*(CB)S)*8F**S:B(=K):B8
                     :B =%NHS@%PS8%I9*FS5FSI9*S%(I:M:IPSDFCM:)*)SI9%IS"C(:%=S:HJ%B(:B8
                       *EK:F*A*BIHS%F*S5<=CN*)S%B)SI9%JSBCS@CF*SJ9%BSSD*FHCBHS8%J9*F

                  #CS*B8%8*S:BS%SN*)):B8S(*F*@CBPSDFCM:)*)SI9%IS"C(:%=S:HI%B(:B8
                     !*EK:F*@*BIHS%F*S5=?CN*)SICSI9*S8F*%I*HJS*OI*BIS1%H:'<*S%B)SI9%JSBC
                     @CF*SI9%BS SD*FHCBHSN9CSB**)SBCIS'*S6C@SI9*SH%@*S9CKH*9C<)SCF
                     =:M:B8SKB:IS:BS%)):J:CBSICSJ9*S(CKD=*SJCS'*SA%FF:*)S%B)SI9*SC.4(:%BI
                     8%I9*FS:BS%SHI%'<*S8FCKD


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                  3D991DD'9(6)1'D3 D1BD8)CD93D386?D36D46:**49D*1D-)?D36
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                    316:8D4-B8D43-*9)-D84(8D03?*8D1D8*0).6D9)?)9)8
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                    3=4*D31-BDBD468318D&30D9(D80D(3=8(3-D36D-*?*1'D=1)9D139
                    A*1'D$?D468318
                    ))* ..D03936D?()-8D9D9(D'9(6*1'D0=89D0*19*1DD*891D3
                    8)AD!9D&30D.-D39(6D?().8
                    )? 9(D03936D?()-D@*13@8D0=89DD-38D9D-.D9)08D=6)1'D9(
                    ?19
                    ? -.D468318D0=89D60*1D)1D9(D?()-D*1D@()(D9(BD66)?D9D.-
                    9)08D=7)1'D9(D?19
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                    ?*) 13D91')-D*908D3 D1BD,)1D)1-=*1'D%3D463=98D0BD
                    9618#66D93D468318D)1D9(D03936D?()-8
                    ?)** 139@*9(891*1'D9(D3?D31D36D036D468318D139DA*1'
                    !+?D0BD196D16BD=).*1'8D8D1886BD93D4=99)1'D31D9(
                    468199)31D1
                    )A .-D3).D*891)1'D5=*60198D8(.-DD304-*D@)9(D93D9(
                    '6989DA919D#8).

                  3D1''D)1D3=9336D9)?)9BD463?)D9(D468318D304.BD@)9(
                    3*-D*891)1'D5=*60198D8=(D8DBD@BD3 DA04.
                    '3.$1'D911)8D4),--.D@-,)1'D(*,)1'D7>21)1'D)B.)1'
                    4.8=6D6)?*1'D1D@36,*1'D63=1D9()6D4/8D3 D68)1
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                    ) 3D463?)D30039*318D%6D468318D@(3D@*8(D93D'3. D8D
                    %60D3 D3=9336D9)?)9BD4=.)D1D46)?9D'3- D3=688D0BD3469
                    463?)D9(BD8;)9-BD1%6D3).D*891)1'D5=*60198D1
                    1%6D9(D%-.3@)1'D)9)31.D463933-8

                           3936)CD7:8D6D139D--3@
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                          (3=8(3.D36D-)?)1'D=2)9D6D/-3@D46D'63=4D1D(
                          '63=4D0=89DD89-D* D468318D0BD139D8=89*9>9D*1D36D3=9

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                            B*YK8(Y6FBNDY
                            Y& Y'9JK$A&(YB*Y$KY=($JKYYY0(KYJ8$>>Y%(Y?$9AK$9A('Y%(KS((A
                            6FBNDJYB*Y6B>*(FJY$KY$=>YK9?(J
                            Y' =>Y%$>>YQ$J8(FJYJ8$>>Y%(Y&BP(F('Y$A'Y3$6YD9AJYJ8$>>Y%(
                            F(?BP('Y$A'YK8(Y&NDYBAY($&8Y6F((AYJ8$==Y%(Y9AP(FK('YBF
                            BK8(FS9J(Y9AJK$>>('YKBY(=9?9A$K(Y89685(EN(A&UYKBO&8YJOF/&(J
                            BAYK8(Y6F((AJY$A'YK((J
                            Y( (FJBAJY?$UYNJ(Y$Y'F9P9A6YF$A6(YDFBP9'('YK8$KYF$A6(Y%$=>J
                            $F(YDFBD(F>UYJ$A9K9W('Y%(4F(Y'9JKF9%NK9BAYKBY&NJKB?(FJYJK$A'X
                            $>BA(Y6B=*Y'F9P9A6YF$A6(JY?$UY$>JBYBD(F$K(Y
                            Y. F$&K9&(YDNKK9A6Y6F((AJYJ8$>>YF(?$9AY&>BJ('
                            6 !8(YFBY 8BDYBFYJ9?9>$FY/&9>9KUY'(J96A('Y4FYK8(YJ$=(YB*
                            6B=+F(>$K('Y(EN9D?(AKY$A'YJNDD=9(JYJ8$>=YF(?$9AY&>BJ('Y$A'
                            8 !8(YJA$&;YJ8BDJY$A'YF(JK$OF$AKJYJ8$>=YF(?$9AY&>BJ('

                  "BYD(G-CG@YRBG<YDFBP9':A6YDFB'N&KJY$A'YJ(FP9&(JY$KY$AYJJ(AK9$>
                     NJ9A(JJYBFYKBYBK8(FS9J(Y&$FFUYBNKY$&K9P9K9(JYJD(&92&$>>UYD(F?9KK('Y9A
                     K89JYF'(FY9A&>N'9A6Y9A9?O?Y$J9&YD(F$K9BAJY$A'Y>9?9K('
                     %NJ9A(JJYBD(F$K9BAJ

                  !BY&$F(Y4FY$Y/?9>UY?(?%(FYBFYD(KY9AY$ABK8(FY8BNJ(8B>'

                  !BYDF(D$F(Y$A'YDF(J(AKY$Y>9P(JKF($?YBFYBK8(FYP9FLN$>Y&B??NA9&$K9BA
                     %UY$AYBF6$A9W$K9BAYBFY$JJB&9$K9BAYKBY9KJY?(?%(FJY9A&>N'9A6YQBFJ89D
                     J(FP9&(J Y K$1YB*YBF6$A9W$K9BAJYBFY$JJB&9$K9BAJYQ8BYA(('YABKY%(YB*
                     K8(YJ$?(Y8BNJ(8B='YBFY>9P9A6YNA9KY9A&>N'9A6Y/9K8%$J('
                     BF6$A9W$K9BAJY?$UY6$K8(FY9AY$YJ9A6=(YJD$&(Y$KYK8(YJ$?(YK9?(YJB=(=V
                     4FYK8(YJB>(YDOHBJ(YB*YDF(D$F9A6Y$A'YDF(J(AK9A6Y>9P(JKF($?YBFYBK8(F
                     P9FKN$>Y&B??NA9&$K9BAJYDFBP9'('YK8$KYK8(YAN?%(FYB*YJN&8YJK$1Y9JYK8(
                     ,)Q(JKYA(&(JJ$FVYKBYDF(D$F(Y$A'YDF(J(AKYK8BJ(Y&B??NA9&$K9BAJY%NK
                     9AYABY(P(AKY9AY(T&(JJYB*YK(AYYD(FJBAJY$A'YK8$KY B&9$>Y9JK$A&9A6
                     (EN9F(?(AKJY$F(Y4>=BQ('

              AK97$K8(F9A7Y&=$OJ( Y KY9JYK8(Y9AK(AKYB*YK89JYF'(FYK8$KY:A'9P9'O$>YD(FJBAJY
              %(YD(F?9KK('YKBY(A6$6(Y9AYK8(Y$%BP(YJJ(AK9$>Y&K9P9K9(J Y #8(F(Y$AY$&K9P9KUY
              >9JK('Y$%BP(Y(TDF(JJ>UY$>=BQJY$YJD(&92('YAN?%(FYB*YD(FJBAJYKBY(A6$6(Y9AY$AY
              $&K9P9KVYKB6(K8(FYK8(YAN?%(FYB*YD(FJBAJY(TDF(JJ>UYJK$K('Y9AYK8(Y=9JK('Y
              $&K9P9KVYJ8$=>YDF(P$9>Y ABM9K8JK$A'9A6Y$AUYBK8(FYDFBP9J9BAY:AYK89JYF'(F Y
              T&(DKY$JY(TDF(JJ=UYD(F?9KL('Y8BQ(P(FY$=>YDN%>9&Y$A'YDF:P$K(Y6$K8(F:A6JYB*Y
              $AUYAN?%(FYB*YD(FJBAJYB&&NI9A6YBNKJ9'(YB*Y$Y8BNJ(8B='YBFY>9P9A6YNA9KY$F(Y

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              ORN>@-@[10 l"N[>@I=l@Il[>@WlO*R*=R*O>lORN>@-@[Wl*l=*[>1R@I=lN4l[gNlNRlFNR1l
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              Ne1VF1I[*ClaI.[@NIWlNRl'1Rf@.1W l!@I@FaFl*W@.l#O1R*[@NIW lNRl
              C@F@[10l-aW@I1WWlNO1R*[@NIW laR[>1RlIN[>@I=l@Il[>@WlO*R*=R*O>lORN>@-@[Wl
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              9RlNRlN-[*@IlW1Re@.1Wl*[l*Iil1*C[>.*R1l#O1R*[@NIl@I.Ca0@I=l>NWO@[*CW
              .C@I@.Wl01I[@W[WlO>*RF*.@1WlO>*RF*.1a[@.*Cl*I0l-@N[1.>INCN=il.NFO*I@1W
              N[>1RlC@.1IW10l>1*C[>.*R1l5.@C@[@1W l>1*C[>.*R1lWaOOC@1RWl>NF1l>1*C[>.*R1
              W1Rf@.1WlORNe@01RW lF1I[*Cl>1*C[>lORNe@01RWlNRl*IilR1C*[10l*I0NRl*I.@CC*Rj
              >1*C[>.*R1lW1Rf@.1Wl@I.Ca0@I=l-CNN0l0NI*[@NIl.1I[1RW

                  1*C[>.*R1l#O1R*[@NIl@I.Ca01WlORN6WW@NI*ClW1Re@.1WlORNe@010l-i
                     .>@RNOR*.[NRWl *.aOaI.[aR@W[W le1[1R@I*R@*IWl*I0l*CCl>1*C[>.*R1
                     W1Rf@.1WlORNe@010l[Nl*I@F*CW

                  1*C[>.*R1l#O1R*[@NIl0N1WlIN[l@I.Ca01l8[I1WWl*I0l1h1R.@W1l=iFW
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                  (>@Wl1h1FO[@NIlW>*CCl-1l.NIW\Rb10l-RN*0Cil[Nl*eN@0l*Iil@FO*.[Wl[N
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              F*@I[1I*I.1lN4lWW1I[@*Cl I:*W[Rc.[dR1 lg>@.>lF1*IWl*I0l@I.Ca01W l-a[l@W
              IN[lC@F@[10l[N lOa-C@.lgNRBWl.NIW[Ra.[@NIl.NIW[Rd.[@NIlN4l>NaW@I=l@I
              O*R`@.aC*Rl*7NR0*-C1l>NaW@I=lNRl>NaW@I=l9RlO1RWNIWl1hO1R@1I.@I=
              >NF1C1WWI1WW l.NIW[Ra.[@NIlN4l*=R@.aC[aR*ClW[Ra.[aR1W l*@RONR[l*I0lONR`
              NO1R*[@NIW lF@C@[*Rkl@IW[*CC*[@NIWlg*[1R lW1g1R l=*W l1C1.[R@.*C lN@Cl*I0l=*W
              ORN0a.[@NIl*I0lR18I@I=l@I.Ca0@I=l*WWN.@*[10l-aW@I1WW1Wl*I0l*.[@e@[@1WlRN*0W
              *I0l>@=>g*iW lOa-C@.l[R*IWONR`*[@NI lWNC@0lg*W[1l.NCC1.[@NIl*I0lR1FNe*C
              <I1R*Cl>NF1Wl*I0l.1G1[1R@1W l@I[1V1[l*I0l[1C1.NFGaI@.*[@NIWlWiW[1FW
              @I.Ca0@I=l[>1lORNe@W@NIlN4l1WW1I[@*Cl=CN-*C lI*[@NI*Cl*I0lCN.*Cl@I:*W[Rd.[cR1
              9Rl.NFOa[@I=lW1Rf@.1W l-aW@I1WWl@I:*W[Ra.[aR1 l.NFHaI@.*[@NMWl*M0
              g1- -*W10lW1Re@.1W lORNe@010l[>*[l[>1il.*RRilNa[l[>NW1lW1Re@.1WlNRl[>*[
              gNRBl@Il.NFOC@*I.1lg@[>l'N.@*Cl@W[*M.@I=l&1Qa@R1F1I[W l[Nl[>1l1h[1I[
              ONWW@-C1l CCl)'l1O*R`G1I[lN4l16IW1l*.[@e@[@1Wl*R1l.*[1=NR@.*ECi
              1h1FO[l:NFl[>@Wl#R01R

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        %     HH&;J5"8V=N&G&;J"8VL;$J5=;HV=CV &CO5$&H V =N&F:&;JV0;$J5=;HV=C
              H&CO5$&HV@&C.C:&%V#SV,CHJVC&H@=;%&CHV&:&C1&;$SV:";"1&:&;JV@&CH=;;&8
              &:&C1&;$SV%5H@"J$2&CHV$=LCKV@&CH=;;&8V8"PV&;.C$&:&;JV@&CH=;;&8V";%
              =J2&CHVP2=V;&&%VJ=V@&C.EV&HH&;J5"8V1=N&F:&;J"8V0;$J5=;HV=CVH&CN5$&HV"H
              HL$2V:"SV#&V%&J&C:5;&%V#SVJ2&V1=N&F:&;J"8V&;J5JSV@&C.E5;1VJ2=H&
              0;$J5=;HV=CVH&CO5$&HVH2"88V#&V$=;H5%&C&%VHH&;J5"8V=N&G&;J"8
              L;$J5=;HV=CV &DO5$&H V 88V@&CH=;HVP2=V@&C.C:VHH&;J5"8V=N&F:&;J"8
              L;$J5=;HV=CV &CO5$&HV"C&V$"J&1=C5$"88SV&Q&:@JV/=:VJ25HVC%&CVP258&
              @&C)?C:5;1VHL$2V1=N&F:&;J"8V0;$J5=;HV=CVH&CO5$&H V LCK2&CV;=J25;1V5;
              J25HVC%&CVH2"88V@C=25#5JV";SV@&CH=;V/=:V@&C.C:5;1V=CV"$$&HH5;1VHH&;J5"8
              =N&F:&;J"8VL;$J5=;HV=CV &CO5$&H V "$2V1=N&F:&;J"8V&;J5JTVH2"88
              5%&;J5'SV";%V%&H51;"J&V"@@C=@C5"J&V&:@8=S&&HV=CV$=;JC"$J=CHVJ=V$=;J5;L&
              @C=N5%5;1V";%V$"CCS5;1V=LJV";SVHH&;J5"8V=N&F:&;J"8VL;$J5=;HV=C
               &CN5$&H V 88VHH&;J5"8V=N&F:&;J"8VL;$J5=;HV=CV &CN5$&HVH2"88V#&
              @&C)?C:&%V5;V$=:@85";$&VP5J2V =$5"8V5HJ";$5;1V&BL5C&:&;JHVJ=VJ2&
              &RJ&<JV@>HI6#8&

        &     HH&;J5"8VLH5;&HH&H V HH&;J5"8VLH5;&HH&HV:&";H

                 &"8J2$"C&V@&C"J5=;HV";%VHH&;J5"8V;/"HJCM$JMC&

                 C=$&CTVHJ=C&HV$&CK5,&%V*C:&CHV:"C7&JHV*C:V";%V@C=%L$&VHJ";%H
                    HL@&C:"C7&JHV.=%V#";7HV$=;N&;5&;$&VHJ=C&HV";%V=J2&C
                    &HJ"#85H4:&;JHV&;1"1&%V5;VJ2&VC&J"58VH"8&V='V$";;&%V=CV/=U&;V.=%
                    %CTV1==%HV#&N&C"1&HV/&H2V(CM5JHV";%VN&1&J"#8&HV@&JVHL@@8SV/&H2
                    :&"JHV,H2V";%V@=L8JCTV";%V";SV=J2&CV2=LH&2=8%V$=;HL:&CV@C=%L$JH
                    HL$2V"HV$8&";5;1V";%V@&CH=;"8V$"C&V@C=%L$JH V !25HV5;$8L%&HVHJ=C&H
                    J2"JVH&88V1C=$&C5&HV";%V"8H=VH&88V=J2&CV;=; 1C=$&CTV@C=%L$JHV";%
                    @C=%L$JHV;&$&HH"CTVJ=V:"5;J"5;5;1VJ2&VH"+JSVH";5J"J5=;V";%V&HH&;J5"8
                    =@&C"J5=;V='V@8"$&HV='VC&H5%&;$&

                 ;SV.EV='V"1C5$L8JMC"8V@C=%L$J5=;V";%V@C=$&HH5;1V5;$8L%5;1VJ2&
                    $L8J5N"J5=;V='V@C=%L$JHV.CV@&CH=;"8V$=;HL:@J5=;V=CVLH&V5;$9L%5;1
                    *C:5;1V";%VH&CO5$&HVAC=N5%&%V#SV*D:P=C7&CHVC";$25;1V85N&HJ=$7
                    ";%V-H25;1V"HVP&88V"HV#LH5;&HHV"$J5N5J5&HVJ3"JVHL@@=DJV@C=%L$J5=;V";%
                    @C=$&HH5;1V#SV@D=N5%5;1V&HH&;J5"8V"1C6$L8JLC"8VHL@@85&HV";%VH&CO5$&H
                    5;$8L%5;1VJC";H@=CK"J5=;V:";L*$JLC5;1V&BL5@:&;JV";%VH&CO5$&H
                    HL$2V"HV$==85;1VHJ=C5;1V@"$7"15;1V";%V%5HJC5#LJ5=;V='VHL$2V@D=%L$JH
                    .CVP2=8&H"8&V=CVC&J"58VH"8&V@C=N5%&%VJ2"JVJ=VJ2&V&QJ&;JV@=HH5#8&VHL$3
                    #LH5;&HH&HV$=:@8SVP5J2V =$5"8V5HJ";$5;1V&BL5C&:&;JHV";%

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                     >G3&BL4F&P@B>J4%&P.BPG3&P3&"7G3P"<%PF"+GNP>'PG3&4BP&:@8>N&&FP

              P   HF4<&FF&FPG3"GP@B>J4%&P.>%PF3&7G&BP"<%PF>$4"8PF&BK4$&FP"<%P>G3&B
                     <&$&FF4G4&FP>'P74'&P.BP&$><>:4$"77NP%4F"%J"<G"2&%P$>:@B>:4F&%P>B
                     >G3&BL4F&P<&&%NP@&BF><F

                  &LF@"@&BFP"<%PG&7&J4F4><PB"%4>P"<%P>G3&BP:&%4"PF&BK4$&F

                  "FPFG"G4><FP"<%P"HG>FH@@7NP"HG>B&@"4BP"<%PB&7"G&%P*$474G4&F

                  "<6FP"<%PB&7"G&%P,<"<$4"7P4<FG4GIG4><F

                  "B%L"B&PFG>B&F

                  7H:#&BFP&8&$GB4$4"<FP&MG&B:4<"G>BFP3>HF&$9&"<&BFP2"B%&<&BFP"<%
                     >G3&BPF&BK4$&P@B>J4%&BFPL3>P@B>J4%&PF&BK4$&FPG3"GP"B&P<&$&FF"BNPG>
                     :"4<G"4<PG3&PF"+GNPF"<4G"G4><P"<%P&FF&<G4"7P>@&B"G4><P>'P@8"$&FP>'
                     B&F4%&<$&PFF&<G4"9P$G4J4G4&FP"<%PFF&<G4"8PHF4<&FF&F

                  HF4<&FF&FP@B>J4%4<2P:"474<2P"<%PF34@@4<2PF&BK4$&FP4<$7H%4<2P@>FG
                     >(-$&P#>M&F

                   %I$"G4><"7P4<FG4GIG4><FP4<$7H%4<2P@H#74$P"<%P@B4J"G&P PF$3>>7F
                     $>77&2&FP"<%PH<4J&BF4G4&FP/BP@HE>F&FP>'P*$474G"G4<2P%4FG"<$&
                     7&"D4<2P>BP@&B.B:4<2P&FF&<G4"7P1<$G4><FP4<P$>:@74"<$&PL4G3P!>$4"7
                     4FG"<$4<2P &AH4B&:&<GFPG>PG3&P2B&"G&FGP&MG&<GP@>FF4#7&

                   "H<%B>:"GFP%BN$8&"<&BFP"<%P9"H<%BNPF&BK4$&P@B>J4%&BF

                     &FG"HB"<GFP"<%P>G3&BP*$474G4&FPG3"GP@B&@"B&P"<%PF&BK&P/>%P#HGP><8N
                     .BP%&84J&BNP@4$6H@P>BP%B4J&G3BIP !$3>>7FP"<%P>G3&BP&<G4G4&FPG3"G
                     GO@4$"77NP@B>J4%&P0&&P.>%PF&BK4$&FPG>PFGH%&<GFP>BP:&:#&BFP>'PG3&
                     @H#84$P:"NP$><G4<H&PG>P%>PF>PH<%&BPG34FPB%&BP><PG3&P$><%4G4><PG3"G
                     G3&P)?>%P4FP@B>J4%&%PG>PFGH%&<GFP>BP:&:#&BFP>'PG3&P@H#84$P>=P"
                     @4$6H@P"<%PG"6&"L"NP#"F4FP><7NP !$3>>7FP"<%P>G3&BP&<G4G4&FPG3"G
                     @B>J4%&P.>%PF&BJ4$&FPH<%&BPG34FP&M&:@G4><PF3"78P<>GP@&B;4GPG3&P.>%
                     G>P#&P&"G&<P"GPG3&PF4G&PL3&B&P4GP4FP@B>J4%&%P>BP"GP"<NP>G3&BP2"G3&B4<2
                     F5G&

                  B4J&G3BIP$"BPL"F3&FP@B>J4%&%PG3&PF&CK4$&P4FP"IG>:"G&%P"<%P<>

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                     &AA+9*&9A@J;?J+8=7;H++@J&?+J59D;7D+*J59J@+?E5)593JA4+JD+45)7+@J

                 C@59+@@+@JA4&AJ@C==7HJ;A4+?J@@+9A5&7JC@59+@@+@JF5A4JA4+J@C==;?BJ;?
                     @C==75+@J9+)+@@&?HJA;J;=+?&A+J59)7C*593J(HJF&HJ;,J+G&8=7+
                     (C@59+@@+@JA4&AJ8&9C.)BC?+J=?;*C)A@J0?JC7A58&A+JC@+J59J&J +&7A4)&?+
                     "=+?&A5;9

                 C@59+@@+@JA4&AJ@45=J;?J*+75D+?J3?;)+?5+@J0;*J3;;*@J;?J@+?D5)+@
                     *5?+)A7HJA;J=7&)+@J;,J?+@5*+9)+ J %45@J+G+8=A5;9J@4&77J9;AJ(+JC@+*JA;
                     &77;FJ0?J8&9C-')AC?593J;?J&@@+8(7HJ;,J9;9+@@+9A5&7J=?;*C)A@J;?J0?
                     ;A4+?J29)A5;9@J(+@5*+@JA4;@+J9+)+@@&?HJA;JA4+J*+75D+?HJ;=+?&A5;9

                 5?759+@JA&G5@J&9*J;A4+?J=?5D&A+JA?&9@=;?B&A5;9J=?;D5*+?@J=?;D5*593
                     A?&9@=;?B&A5;9J@+?E5)+@J9+)+@@&?HJ-<?J@@+9A5&7J)A5D5A5+@J&9*J;A4+?
                     =C?=;@+@J+G=?+@@7HJ&CA4;?5I+*J59JA45@J"?*+?

                  ;8+ (&@+*J)&?+J0?J@+95;?@J&*C7A@J;?J)457*?+9

                 $+@5*+9A5&7J.)575A5+@J&9*J@4+7A+?@J0?J@+95;?@J&*C7A@J&9*J)457*?+9

                 #?;/@@5;9&7J@+?E5)+@J@C)4J&@J7+3&7J;?J&));C9A593J@+?E5)+@JF4+9
                     9+)+@@&?HJA;J&@@5@AJ59J);8=75&9)+JF5A4J7+3&77HJ8&9*&A+*J&)A5D5A5+@

                 457*)&?+J.)575A5+@J=?;D5*593J@+?D5)+@JA4&AJ+9&(7+J+8=7;H++@
                     +G+8=A+*J59JA45@J"?*+?JA;JF;?6J&@J=+?85AA+* J 457*)&?+J.)575A5+@
                     8C@AJ;=+?&A+JC9*+?JA4+J077;F593J8&9*&A;?HJ);9*5A5;9@
                     5 457*)&?+J8C@AJ(+J)&??5+*J;CAJ59J@A&(7+J3?;C=@J;,JJ;?J/F+?
                     @A&(7+J8+&9@JA4&AJA4+J@&8+JJ;?J/F+?J)457*?+9J&?+J59JA4+J@&8+
                     3?;C=J+&)4J*&H
                     55 457*?+9J@4&77J9;AJ)4&93+J1;8J;9+J3?;C=JA;J&9;A4+?
                     555 !,J8;?+JA4&9J;9+J3?;C=J;,J)457*?+9J5@J)&?+*J0?J&AJ;9+J.)575AH
                     +&)4J3?;C=J@4&77J(+J59J&J@+=&?&A+J?;;8 J ?;C=@J@4&77J9;AJ85GJF5A4
                     +&)4J;A4+?
                     5D 457*)&?+J=?;D5*+?@J@4&77J?+8&59J@;7+7HJF5A4J;9+J3?;C=J;,
                      )457*?+9

                   ;A+7@J8;A+7@J(+*&9*(?+&6.@AJ+@A&(75@48+9A@J&9*J;A4+?
                     (C@5:+@@+@JA4&AJ=?;D5*+JA?&9@5+9AJ;))C=&9)HJ0?JD5@5A;?@JA;JA4+
                     ;C9AHJ=?;D5*+*JA4&AJ@C)4J(C@59+@@+@J?+>C5?+JA4+5?J=&A?;:@JA;J@A&HJ59
                     =7&)+J&@J;A4+?F5@+J?+>C5?+*J(HJA45@J"?*+?

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                 $HD@4L2:/?\2HENPLU2P:HE\ILHV:343\P9/P\NS29\/2P:V:PZ\:@I?4@4EPN
                     -H2:/?\%:NP/E2:E8\,4KS:L4@4EPN\PH\P94\4YP4EP\6/N:1?4\/E3\HP94LW:N4
                     ILHV:34N\7L\P94\94/?P9\/E3\N/6PZ\H5\4@I?HZ44N

                 ":2Z2?4\NPHL4N\:E2?S3:E8\P94\N/?4N\H5\1:2Z2?4N\I/LRN\/E3\NSII?:4N \/E3
                     P94\L4I/:L\H5\1:2Z2?4N\":2Z2?4\L4EP/?N\/L4\EHP\/??HW43

                -4LV:24\ILHV:34LN\P9/P\4E/1?4\L4N:34EP:/?\L4/?\4NP/P4\PL/EN/2P:HEN
                    :E2?S3:E8\L4EP/?N\?4/N4N\/E3\9H@4\N/?4N\:E2?S3:E8\1SP\EHP\?:@:P43
                    PH\L4/?\4NP/P4\/84EPN\4N2LHW\/84EPN\EHP/L:4N\/E3\P:P?4\2H@I/E:4N
                    ILHV:343\P9/P\/IIH:EP@4EPN\/E3\HP94L\L4N:34EP:/?\V:4W:E8\@SNP\HE?Z
                    H22SL\V:LRS/??Z\HL\:5\V:LRU/?\V:4W:E8\:N\EHP\6/N:1?4\1Z\/IIH:EEP@4EP
                    W:P9\EH\@HL4\P9/E\PXH\V:N:PHLN\/P\/\P:@4\1HP9\H5\W9H@\@SNP\L4N:34
                    W:P9:E\P94\N/@4\9HSN49H?3\HL\?:V:E8\SE:P\/E3\HE4\:E3:V:3S/?\N9HW:E8
                    P94\SE:P\\4Y24IP\:E I4LNHE\V:N:PN\/L4\EHP\/??HW43\W94E\P94\H22SI/EP\:N
                    IL4N4EP\:E\P94\L4N:34E24

                 !SPH@H1:?4\34/?4LN9:IN\/E3\N:@:?/L\1SN:E4NN4N\W:P9\/\IL:@/LZ
                     1SN:E4NN\H5\/SPH@H1:?4\N/?4N\'E I4LNHE\N/?4N\/E3\?HE8 P4L@\?4/N:E8
                     PL/EN/2P:HEN\/L4\/??HW43\/N\W4??\/N\P94\HI4L/P:HE\H5\L4I/:L\N9HIN\/E3
                     /SPH I/LRN\NSII?Z\NPHL4N\ !SPH@H1:?4\L4EP/?N\/L4\EHP\/??HW43
                     !SPH@H1:?4N\:E2?S34\2/LN\PLS2>N \L42L4/P:HE/?\V49:2?4N
                     @HPHL2Z2?4N\/E3\@HPHL:[43\N2HHP4LN

                 &HSN49H?3\/II?:/E24\NPHL4N

                 -9H4\L4I/:L\N9HIN \:E I4LNHE\N/?4N\H5\HP94L\8HH3N\/E3\N4LV:24N\EHP
                     /??HW43

                 "H/P\Z/L3N\/E3\HP94L\1SN:E4NN4N\P9/P\ILHV:34\7L\N/54PZ\N42SL:PZ\/E3
                     N/E:P/P:HE\H5\1H/PN\NPHL43\/P\3H2>N\/E3\@/L:E/N\:E2?S3:E8\P94\L4I/:L
                     H5\1H/PN

        5    (:F;ATB\#0O<2\*J4M/Q=HGN\ ):E:@S@\"/N:2\+I4L/P:HEN\@4/EN\/E3
              :E2?S34N\P94\7??HW:E8\ILHV:343\P9/P\4@I?HZ44N\2H@I?Z\W:P9\-H2:/?
              %:NP/E2:E8\,4KS:L4@4EPN\PH\P94\4YP4EP\IHNN:1?4\W9:?4\2/LLZ:E8\HSP\NS29
              HI4L/P:HEN

                  .94\@:E:CS@\E424NN/LZ\/2P:V:P:4N\PH\@/:EP/:E\P94\V/?S4\H5\P94
                     1SN:E4NNN\:EV4EPHLZ\4ENSL4\N42SL:PZ\ILH24NN\I/ZLH??\/E3\4@I?HZ44

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                     ),@,2KJUAEU3EUE,;(K,+U5@*K8A@J U

                  %7,U=8@8=M=U@,*,JJ(ESU(*K8O8K8,JUKAU0*8<8K(K,U,=B;AS,,JUA.UK7,
                     )MJ8@,JJU),8@6U();,UKAU*A@K8@M,UKAUQAE:UE,=AK,;SU/FA=UK7,8EUB;(*,JUA.
                     E,J8+,@*,

        6     JJ,@K8(;U&E(O,; U JJ,@K8(;U%E(O,;U=,(@JU(@+U8@*;M+,JUKE(O,;UQ8K78@UAE
              Q8K7AMKUK7,UAM@KSUAEU),KQ,,@UK7,UO(E8AMJU*AM@K8,J U3EU(@SUA.UK7,
              3;<AQ8@6UBMIAJ,J UJM)9,*KUKAU$A*8(;U8JK(@*8@6U#,DM8E,=,@KJ

                  @SUKE(O,<UE,;(K,+UKAUK7,UBEAO8J8A@UA.UAEU(**,JJUKAUJJ,@K8(;U*K8O8K8,J
                     8@*;M+8@6UAMK+AAEU(*K8O8K8,JUJJ,@K8(;UAO,H,@K(;UM@*K8A@JUAE
                     $,EP8*,JUJJ,@K8(;UMJ8@,JJ,JU 8@8=M=U(J8*U!B,E(K8A@JUAE
                     ;8=8K,+U)MJ8@,JJUAB,E(K8A@J

                  &E(O,;ULAU*(E-U3EU,<+,E<SUB-EJA@JU=8@AEJU+-B,@+-@KJUB-EJA@JUQ8K7
                     +8J()8;8K8,JUAEUAK7,EUOM;@,E()<,UB,EJA@J

                  %E(O,<UKAUAEU4A=U,+M*(K8A@(;U8@JK8KNK8A@JU3EUBMEBAJ,JUA.UE,*,8O8@6
                     =(K,E8(;JU3EU+8JK(@*,U;,(G8@6 U3EUE,*,8O8@6U=,(<JU(@+U(@SUAK7,E
                     E,;(K,+UJ,EP8*,J

                  %E(O,<UKAUE,KNGUKAU(UB;(*,UA.UE,J8+,@*,U4A=UAMKJ8+,UK7,UAM@KS

              U   &E(O,;UE,DM8E,+U)SU;(QU,@3E*,=,@KUAEU*AMEKUAE+,E

                  &E(O,;UE,DM8E,+U3EU@A@ E,J8+,@KJUKAUE,KMGUKAUK7,8EUB;(*,JUA.
                     E,J8+,@*,UAMKJ8+,UK7,UAM@KS

                             6 6
                      &E(O,;U,@6(6,+U8@U8@K,EJK(K,U*A==,E*,U(@+UAK7,ER8J,UJM)9,*KUKAUK7,
                     BBEAO8J8A@JUA.UK7,UA?=,E*,U<(MJ,UA.UK7,U'@8K,+U$K(K
                     BEAO8J8A@JUA.UK7,UA?=,E*,U<(MJ,UA.UK7,U'@8K,+U$K(K,J
                      A@JK8KMK8A@

        7    AK,;JU,K*U ";(*,JUA.UE,J8+,@*,U8@*<M+,U7AK,<JU>AK,;J UJ7(E,+UE,@K(;UM@8KJ
              (@+UJ8=8;(EU1*8;8K8,J

            MJ8@,JJU %7,UK,E=JU)MJ8@,JJU(@+U)MJ8@,JJ,JU(JUMJ,+U8@UK78JU!E+,E
              8@*<M+,U(@SU3E BEA2KU@A@ BEA2KUAEU,+M*(K8A@(;U,@K8K8,JU8@*<M+8@6UJA;,
              BEABE8,KAEJ78BJU*AEBAE(K8A@JU2E=JUC(EL@,EJ78BJ U;8>8K,+U<8()8;8KS
              *A=B(@8,J U9A8@KUJKA*:U*A=B(@8,J U(JJA*8(K8A@JU(@+UAK7,EUAE6(@8T(K8A@JUA.

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                V9Z]TS]fZ9H4Z8O9]]fT:f^J9fS4^`Z9fT:f^J9KZf]9ZaK79]fTZf^J9fGS7^KTS]f^J9df
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                         ORDER OF THE STATE PUBLIC HEALTH
                                    OFFICER
                                   May 7, 2020


  On March 19, 2020, I issued an order directing all individuals living in the State of
  California to stay at home except as needed to facilitate authorized, necessary
  activities or to maintain the continuity of operations of critical infrastructure
  sectors. (See https://covid19.ca.gov/stay-home-except-for-essential-needs/.) I
  then set out California’s path forward from this “Stay-at-Home” Order in
  California’s Pandemic Roadmap https://www.gov.ca.gov/wp-
  content/uploads/2020/05/5.4.20-Update-on-Californias-Pandemic-
  Roadmap.pdf.That Roadmap identifies four stages of the pandemic: safety and
  preparation (Stage 1), reopening of lower-risk workplaces and other spaces
  (Stage 2), reopening of higher-risk workplaces and other spaces (Stage 3), and
  finally an easing of final restrictions leading to the end of the stay at home order
  (Stage 4).
  Today, COVID-19 continues to present a significant risk to the health of
  individuals throughout California. There are confirmed cases of the virus in 54 of
  the 58 counties across the State, and each day over the past two weeks over
  one thousand new cases have been confirmed in California and dozens of
  people have lost their lives due to the virus. However, owing to Californians’
  mitigation efforts, statewide data currently demonstrates stable rates of new
  infections and hospitalizations, the maintenance of surge capacity, and an
  improved ability to test, contact trace, isolate, and provide support to
  individuals exposed to COVID-19. As State Public Health Officer, I have
  determined that the statewide data now supports the gradual movement of the
  entire state from Stage 1 to Stage 2 of California’s Pandemic Resilience
  Roadmap.




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  Gradual movement into Stage 2 is intended to reintroduce activities and sectors
  in a phased manner and with necessary modifications, in order to protect public
  health and result in a lower risk for COVID-19 transmission and outbreak in a
  community. Such deliberate phasing is critical to allowing the State to protect
  the public, and to mitigate and manage the impact of the re-openings, such
  that our health care delivery system has the capacity to respond to potential
  increased demands. Differences across the state in the prevalence of COVID-
  19, as well as testing rates, containment capability, and hospital capacity, have
  resulted in differences among local health jurisdictions’ ability to safely progress
  through the various stages. The low and stable data reported by some local
  health officers in their local health jurisdictions, combined with sufficient COVID-
  19 preparedness, justifies allowance for some variation in the speed with which
  some local health jurisdictions will be able to move through the phases of Stage
  2.
  NOW, THEREFORE, I as State Public Health Officer and Director of the
  California Department of Public Health, order:
     1. All local health jurisdictions in the state may begin gradual
        movement into Stage 2, as set forth in this Order, effective on May 8,
        2020; however, a local health jurisdiction may implement or
        continue more restrictive public health measures if the jurisdiction’s
        Local Health Officer believes conditions in that jurisdiction warrant it.

     2. I will progressively designate sectors, businesses, establishments, or
        activities that may reopen with certain modifications, based on public
        health and safety needs, and I will add additional sectors, businesses,
        establishments, or activities at a pace designed to protect public health
        and safety. Those sectors, businesses, establishments, or activities that are
        permitted to open will be designated, along with necessary modifications,
        at https://covid19.ca.gov/roadmap/, as I announce them.

     3.. To
         T the extent that such sectors are re-opened, Californians may leave
         their homes to work at, patronize, or otherwise engage with those
         businesses, establishments, or activities and must, when they do so,
         continue at all times to practice physical distancing, minimize their time
         outside of the home, and wash their hands frequently. To prevent further
         spread of COVID-19 to and within other jurisdictions within the State,
         Californians should not travel significant distances and should stay close to
         home. My March 19, 2020, Order otherwise remains in full effect.




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     4. The California Department of Public Health has set forth criteria to help
        local health officers assess the capacity of their local health jurisdictions to
        move through Stage 2. Local health jurisdictions that meet the criteria and
        follow the process set forth
        https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-
        19/COVID-19-County-Variance-Attestation-Memo.aspx will be permitted
        to move through Stage 2 more quickly than the State as a whole and
        reopen additional low-risk businesses before the rest of the state, if they
        choose to do so. A list of the sectors, businesses, establishments, or
        activities, and any necessary modifications, that such a qualifying
        jurisdiction may choose to reopen will be available at
        https://covid19.ca.gov/roadmap-counties/, and may be expanded if I
        deem it to be in the interest of public health and safety.

  Pursuant to the authority under EO N-60-20, and Health and Safety
  Code sections 120125, 120140, 131080, 120130(c), 120135, 120145,
  120175 and 120150, this Order is to go into effect immediately and
  shall stay in effect until further notice.

  This Order is being issued to protect the public health of Californians
  as we move as expeditiously to minimize risk to the extent possible
  throughout the Stages of the Pandemic Resilience Roadmap.




  Sonia Y Angell, MD, MPH
  State Public Health Officer & Director
  California Department of Public Health




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                                      STAY WELL VC
                             Safely Reopening Ventura County

                       ORDER OF THE VENTURA COUNTY HEALTH
                       OFFICER SUPPLEMENTING THE STATE
                       PUBLIC HEALTH OFFICER’S ORDER DATED
                       MARCH 19, 2020, TO ADDRESS THE UNIQUE
                       NEEDS OF VENTURA COUNTY IN RESPONSE
                       TO THE COVID-19 PANDEMIC

                          DATE OF THIS ORDER: MAY 7, 2020

      WHEREAS on March 4, 2020, Governor Gavin Newsom proclaimed a State of
 Emergency to exist in the State of California as a result of the threat of COVID-19; and

         WHEREAS on March 12, 2020, the County of Ventura Health Officer (“County
 Health Officer”) issued a Declaration of Local Health Emergency pursuant to Health and
 Safety Code section 101080, finding that there existed an imminent and proximate threat
 of the spread of COVID-19 in Ventura County (“County”), and said Declaration was
 ratified by the County of Ventura Board of Supervisors on March 12, 2020; and

        WHEREAS on March 17, 2020, the County Health Officer issued an order
 directing that all individuals past a certain age remain in their places of residence, limiting
 the operation of food facilities, and closing specified businesses that serve large
 gatherings; and

        WHEREAS on March 19, 2020, the State Public Health Officer issued an order
 requiring that all individuals living in the State of California stay at home except as
 needed to maintain continuity of operations of critical infrastructure sectors as defined
 (“State Stay at Home Order”); and

        WHEREAS the County Health Officer is required by Health and Safety Code
 section 101030 to enforce and observe all orders of the State Public Health Officer and all
 statutes relating to public health; and

         WHEREAS State law ppermits local health officers to issue ppublic health orders
 that are more restrictive,, but not less restrictive,, than an order issued byy the State Public
 Health Officer,, the County y Health Officer,, based on his evaluation of the unique q needs
 and circumstances existing  g within the County,  y, issued additional health orders on March
 20, March 31, April 9, April 18 and April 20, 2020  2020; and

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        WHEREAS the County       y Health Officer has determined that there no longerg exists
 a need for local health orders that are more restrictive than the State Stayy at Home Order
 with respect
         p to many   y activities of individuals and businesses,, and that the ppublic health
 and welfare would best be served by   y a single
                                              g set of regulations where reasonable to avoid
 public confusion between State and local orders; and

         WHEREAS the State of California has identified businesses on its website at
 https://covid19.ca.gov/roadmap/ that are able to reopen under the statewide order; and

        WHEREAS the County Health Officer has determined that some elements of his
 current order are not addressed by the State Stay at Home Order, and that the public
 health would be served by supplementing the State Stay at Home Order as set forth
 below;

        NOW, THEREFORE, I, Dr. Robert Levin, the County Health Officer, pursuant
 to Health and Safety Code sections 101040, 101085 and 120175, hereby issue the
 following order (“Local Order”) to be effective immediately:

        IT IS HEREBY ORDERED THAT:

 1.     Commercial laboratory test results. All commercial laboratories that test
        persons in the County for the presence of COVID-19 must report all test results
        (whether positive or negative) to the Ventura County Public Health Department
        laboratory within eight hours of receiving the test results.

 2.     Special rule for persons 70 years of age or older. All persons currently living in
        the County equal to or older than 75 years of age, or equal to or older than 70 years
        of age with an active or unstable comorbidity, are ordered to stay in their place of
        residence and must at all times follow Social Distancing Requirements to the
        greatest extent feasible. Such persons may leave their places of residence only as
        necessary to seek medical care or exercise or nutrition or to perform essential
        work in furtherance of Healthcare Operations or Essential Governmental
        Functions or Services.

        a. For purposes of this section, “Healthcare Operations” means and includes
        hospitals, clinics, dentists, pharmacies, pharmaceutical and biotechnology
        companies, other licensed healthcare facilities, healthcare suppliers, home
        healthcare services providers, mental health providers, chiropractors,
        acupuncturists or any related and/or ancillary healthcare services, including blood
        donation centers, and veterinarians and all other healthcare services provided to
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       animals. “Healthcare Operation” does not include fitness and exercise gyms,
       aquatic centers and similar facilities.

       b. For purposes of this section, “Essential Governmental Functions or Services”
       means government functions or services performed by first responders, emergency
       management personnel, emergency dispatchers, court personnel, law enforcement
       personnel, and others who perform essential governmental functions or services as
       such may be determined by the governmental entity performing those functions or
       services.

 3.    Admittance to Long-Term Care Facilities. Long-Term Care Facilities may not
       refuse to admit any person who has been diagnosed with or treated for COVID-19
       after that person has been discharged from a health care facility and approved for
       admittance to a Long-Term Care Facility by the Ventura County Public Health
       Department.

       a. For purposes of this Local Order, “Long-Term Care Facility” means a
       long-term care facility, skilled nursing facility, intermediate care facility,
       congregate living health facility, nursing facility, hospice facility, residential care
       facility for the elderly, residential facility, or community care facility as defined in
       Health and Safety Code sections 1250, 1502, 1503.5 and 1569, and regulations
       promulgated thereunder, as they may be amended from time to time.

 4.    Hospitals and Long-Term Care Facilities. The County Health Officer
       recognizes the authority of the guidance documents “Hospital Holding Unit
       Guidance for COVID-19” and “Long-Term Care Facility Guidance for Preventing
       and Managing COVID-19” (the current versions of which are available at
       www.vcemergency.com) and strongly advises all hospitals and Long-Term Care
       Facilities to comply with the guidance.

 5.    All businesses must establish, implement and enforce COVID-19 prevention
       plans. All businesses must establish, implement and enforce a site-specific
       prevention plan in accordance with the State of California COVID-19 industry
       Guidance and associated checklist found at https://covid19.ca.gov/roadmap/.
       Prior to reopening, all businesses must register and attest to their preparedness for
       safely reopening at vcreopen.com. Businesses that were operating under the
       previous order must also register and attest to their adherence to state guidelines
       within ten days at vcreopen.com.

       As a condition of operation, each business must post a written notice explaining
       how it will comply with Social Distancing Requirements in conspicuous places
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       where it can easily be seen by employees and patrons of the business facility. The
       written posting shall identify by name and telephone number the County Covid
       Compliance Hotline where compliance related questions or complaints may be
       reported by employees and patrons.

       Further, all businesses, as a condition of operation, shall admit without delay any
       officer, employee or agent of the County of Ventura or local city to their business
       facilities for the purposes of inspection for monitoring and compliance. The
       failure to cooperate with such inspectors, or repeated and confirmed violations of
       COVID-19 prevention requirements, may lead to issuance of a business-specific
       closure order by the County Health Officer.

 6.    Social Distancing Requirements defined. “Social Distancing Requirements”
       means and includes maintaining at least a six-foot physical distance from other
       persons, washing hands with soap and water for at least 20 seconds or using hand
       sanitizer as frequently as possible, covering coughs or sneezes (into the sleeve or
       elbow, not hands), regularly cleaning high-touch surfaces and not shaking hands.

 7.    Food facilities. Under the State Stay at Home Order, all permanent food facilities,
       as defined by Health and Safety Code section 113849, may only prepare and offer
       food that is provided to customers via delivery service, via pick-up for takeout
       dining, and via drive-thru. This Local Order, in addition, requires that permanent
       food facilities that prepare and offer food via delivery service, pick-up or
       drive-thru must comply with the following procedures:

       a. Containers required. All food must be completely contained in a suitable
       container before being transferred to a customer. For example, ice cream cones
       are not allowed; ice cream scoops in a covered container are allowed.

       b. Must consume food away from premises. The exception for take-out food
       activities is designed to enable persons who are confined to their places of
       residence to obtain prepared food to take back to their places of residence for
       consumption. The take-out food shall not be consumed anywhere within the
       line-of-sight of a person standing in front of the facility that sold the food.

       c. Six-foot spacing must be maintained. All persons waiting in line or otherwise
       congregating outside a food facility selling food via take-out, delivery or drive-thru




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       shall maintain a distance of at least six feet from all other persons.

 8.    Primary  y retail business must be critical infrastructure to be fully     y open.
                                                                                       p Onlyy
       retail businesses whose primary
                                 p       y line of business qqualifies as critical infrastructure
       under the State Stayy at Home Order may     y be fully
                                                            y open
                                                               p to the ppublic,, e.g.,
                                                                                      g,
       businesses whose primary
                           p      y business is the sale of food,, beverages,
                                                                           g , ppet supplies,
                                                                                        pp ,
       household cleaningg products,
                             p        , etc. Items the sale of which constitute less than 33
       percent of a business's ggross sales over the last six months are considered to be less
       p
       than primary.
             p      y For example,
                                 p , a tobacco or vape p store that sells a minimal amount of
       snacks and water as a side business does not qualify
                                                         q     y as a grocery
                                                                      g      y store,,
       convenience store or similar establishment that can be fully open to the public
       under the current State Stay at Home Order.

 9.    Businesses and activities that must remain closed even if allowed by State
       Stay at Home Order. The State Stay at Home Order does not expressly address
       every type of business activity. To avoid confusion, this Local Order prohibits the
       following businesses and activities, whether or not allowed by the State Stay at
       Home Order:

       a. All swimming pools, spas, hot tubs, saunas, steam rooms and similar facilities,
       except those located at a single-family residence, which shall be used only by
       members of a household residing at the single-family residence.

       b. All public and private campgrounds and recreational vehicle (RV) parks, except
       that persons who certify that their RV is their primary residence may be permitted
       to stay in the RV park. All persons residing in an RV shall comply with all orders
       otherwise applicable to residents.

 10.   List of activities ordered to cease. The following activities are deemed
       non-essential and harmful to public health, and therefore are prohibited whether or
       not allowed by the State Stay at Home Order:

       a. Door-to-Door Solicitations. Door-to-door solicitations, whether for purposes of
       sales of goods or services, charitable contributions, signature-gathering or any
       other commercial or noncommercial purpose.

 11.   Essential activities allowed. The State Stay  y at Home Order implicitly
                                                                         p      y allows for
       persons to leave their pplaces of residence to engage in essential activities, but
       p
       does not expressly address that issue. The State Public Health Officer has issued
       guidance, primarily in the form of posted answers to “Frequently Asked

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       Questions,” which are frequently amended or otherwise changed. For the sake of
       clarity and guidance to persons residing in the County, this section of the Local
       Order sets forth those activities that the County Health Officer deems to be
       essential and allowed. However, to the extent any activity described herein
       conflicts with and is more permissive than the State Stay at Home Order as it is
       currently written or as it may be amended, the State Stay at Home Order shall take
       precedence and shall be enforced.

       a. Persons may leave their places of residence only to perform one of the
       following essential activities:

             (1) To engage in activities or perform tasks essential to their health and
             safety, or to the health and safety of their family or household members
             (including pets), such as, by way of example, obtaining medical supplies or
             medication, visiting a health care professional or obtaining supplies needed
             to work from a place of residence.

             ( ) To obtain necessary
             (2)                        y services or supplies
                                                        pp     for themselves and their family
             or household members,, or to deliver those services or supplies pp     to others,
             such as,, byy way  y of example,
                                           p , canned food,, dry
                                                               y ggoods,, fresh fruits and
             vegetables,
               g          , ppet supplies,
                                   pp , fresh meats,, fish and ppoultry,
                                                                       y, and any y other
             household consumer pproducts,, and pproducts necessary      y to maintain the
             safety, sanitation and essential operation of places of residence.

             (3) To engage in funeral services, provided the following restrictions are
             observed:

                    (i) For indoor services, where the body of the deceased is present for
                    viewing or in a closed casket, members of the deceased’s household
                    and the relatives of the deceased within the second degree (including
                    in-laws) may gather for the activity provided that Social Distancing
                    Requirements are followed and that no more than five persons
                    gather inside the facility at a single time. Stable groups of five
                    persons (i.e., persons may not substitute in or out of the group) may
                    rotate within the facility providing protocols are implemented to
                    sanitize the facilities between each group visit.
                    (ii) For graveside services, members of the deceased’s household and
                    the relatives of the deceased within the second degree (including




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                    in-laws) may gather for the activity provided that Social Distancing
                    Requirements are followed and that no more than 10 persons gather.

             (4) To engage in a wedding ceremony, provided that Social Distancing
             Requirements are followed to the greatest extent feasible and that no more
             than 10 persons (who need not be from the same household or living unit),
             in addition to the couple to be married and the officiant, gather in a stable
             group.

             (5) To attend a gathering of any size to observe or participate in live or
             virtual presentations to the gathering, such as faith-based services, concerts,
             plays, political speeches, movies and similar activities, provided that all of
             the following protocols are followed:

                    (i) all activity must occur outdoors;
                    (ii) all persons attending the activity must be inside a motor vehicle
                    occupied only by persons from the same household or living unit;
                    (iii) all motor vehicles at the gathering must maintain a distance of
                    six feet from all other vehicles:
                    (iv) the motor vehicle windows must be closed at all times during the
                    event;
                    (v) all persons must remain in the vehicle in which they arrived at all
                    times during the event;
                    (vi) no restroom facilities shall be made available to persons at the
                    facility during the event;
                    (vii) no tangible items of any kind, including food products, may be
                    transferred to persons in the motor vehicles;
                    (viii) notwithstanding the above, one or more persons, not exceeding
                    five, may enter nearby buildings as necessary to putting on the
                    presentation; and
                    (ix) all Social Distancing Requirements shall be complied with to the
                    greatest extent feasible.

             (6) To engage in outdoor activity, provided the persons comply with Social
             Distancing Requirements, such as, by way of example, golfing, tennis,
             pickle-ball, walking, hiking, running, bicycling, pleasure driving and
             working around their places of residence, including gardening.

                    (i) To provide accommodations for persons who wish to golf as a



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                     form of outdoor activity, public and private golf courses may operate
                     provided they strictly enforce Social Distancing Requirements and
                     enforce the following additional protocols:

                            (a) Motorized carts are not allowed;
                            (b) No more than four golfers (who need not be from the same
                            household or living unit), are allowed per group and each
                            group must be stable (i.e., persons may not substitute in or out
                            of the group);
                            (c) A distance of at least 30 feet shall be maintained between
                            groups of golfers at all times;
                            (d) All ball washers shall be covered and flag pins shall be
                            removed and the cup on each green shall be inverted or
                            otherwise installed to eliminate high-frequency touch surfaces
                            on the greens and tees;
                            (e) Persons may use a driving range provided that range balls
                            are properly sanitized before distribution to customers
                            (stand-alone golf driving ranges may also operate);
                            (f) Practice putting greens shall remain closed;
                            (g) The “Pro Shop” or similar facility designed for the sale of
                            golf-related equipment and supplies shall remain closed; and
                            (h) The snack shop(s) and restaurant(s) shall remain closed.

              ( ) To otherwise carry out activities specifically permitted in this Local
              (7)
              Order.

              (8) To care for a family member or pet in another household.

              (9) To prepare and present a live-stream or other virtual communication by
              an organization or association to its members, including worship services.
              Staff of organizations or associations (who need not be of the same
              household or living unit), including faith-based organizations, may gather in
              a single space at the same time solely for the purpose of preparing and
              presenting live-stream or other virtual communications provided that the
              number of such staff is the fewest necessary to prepare and present those
              communications, but in no event in excess of 10 persons, and that Social
              Distancing Requirements are followed.

 12.   Compliance. The violation of any provision of this Local Order or the State Stay
       at Home Order constitutes a threat to public health and a public nuisance per se. In

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       addition, pursuant to Government Code sections 26602 and 41601 and Health and
       Safety Code section 101029, the County Health Officer requests that the Sheriff
       and all chiefs of police in the County ensure compliance with and enforce this
       Local Order.

 13.   Violation may constitute unfair competition. Any person that, after notice,
       operates, manages, maintains or occupies or continues to operate, manage,
       maintain or occupy, any business in violation of this Local Order or the State Stay
       at Home Order may, in addition or in the alternative to any other civil and criminal
       penalties allowed by law, be subject to liability under the Unfair Competition Law
       (chapter 5 of part 2 of division 7 of the Business and Professions Code,
       commencing at section 17200), and subject to civil penalties and other relief as
       provided therein, for each act or practice in violation of this Local Order, the State
       Stay at Home Order, any predecessor order, or any of them.

 14.   More restrictive provisions of local and State orders enforceable. This Local
       Order is issued to supplement the State Stay at Home Order, which establishes
       minimum requirements for individuals and businesses, as well as the Governor’s
       March 19, 2020 Executive Order N-33-20 directing California residents to follow
       the State Stay at Home Order. This Local Order adopts in certain respects more
       stringent restrictions addressing the particular facts and circumstances in this
       County, which are necessary to control the public health emergency as it is
       evolving within the County and the south coast region. Where a conflict exists
       between this Local Order and any State public health order, including the State
       Stay at Home Order, the more restrictive provision controls.

 15.   Applicable to entire County. This Local Order applies to all persons in the cities
       and the entire unincorporated area of the County.

 16.   Effective date and time; repeal
                                     p of p   prior order. This Local Order shall become
       effective and operative
                       p        at 11:59 pp.m. on May  y 7,, 2020,, and will continue to be in
       effect until 11:59 pp.m. on Mayy 31,, 2020,, or until it is extended,, rescinded,
       superseded or amended in writing by the County Health Officer. The County
       Health Officer order dated April 20, 2020, is herebly repealed and replaced with
       this Local Order, except that all prior violations of previous orders remain
       prosecutable, criminally or civilly. All prior closure or cease and desist orders
       directed at specified persons or businesses shall remain in force, but shall be
       reviewed by enforcement staff and rescinded if appropriate.

 17.   Copies of Local Order. Copies of this Local Order shall promptly be: (1) made

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       available at the County of Ventura Public Health Office, 2240 East Gonzalez
       Road, Suite 210, Oxnard, California, 93036; (2) posted on the Ventura County
       Public Health Department website (available at www.vchca.org/ph); and (3)
       provided to any member of the public requesting a copy of this Local Order.

 18.   Severability. If any provision of this Local Order or the application thereof to any
       person or circumstance is held to be invalid by a court of competent jurisdiction,
       the remainder of the Local Order, including the application of such part or
       provision to other persons or circumstances, shall not be affected and shall
       continue in full force and effect. To this end, the provisions of this Local Order
       are severable.

 IT IS SO ORDERED:



                                                                   Dated: May        , 2020
 Robert Levin, M.D.
 Ventura County Health Officer


 Pursuant to Health and Safety Code section 120295 et seq., violation of or failure to
 comply with this Order is a misdemeanor punishable by fine, imprisonment, or both.




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                                     STAY WELL VC
                            Safely Reopening Ventura County

                       ORDER OF THE VENTURA COUNTY HEALTH
                       OFFICER SUPPLEMENTING THE STATE
                       PUBLIC HEALTH OFFICER’S ORDER DATED
                       MARCH 19, 2020, TO ADDRESS THE UNIQUE
                       NEEDS OF VENTURA COUNTY IN RESPONSE
                       TO THE COVID-19 PANDEMIC

                          DATE OF THIS ORDER: MAY 7, 2020

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          WHEREAS on March 4, 2020, Governor Gavin Newsom proclaimed a State of
    Emergency to exist in the State of California as a result of the threat of COVID-19; and

         WHEREAS on March 12, 2020, the County of Ventura Health Officer (“County
 Health Officer”) issued a Declaration of Local Health Emergency pursuant to Health and
 Safety Code section 101080, finding that there existed an imminent and proximate threat
 of the spread of COVID-19 in Ventura County (“County”), and said Declaration was
 ratified by the County of Ventura Board of Supervisors on March 12, 2020; and

        WHEREAS on March 17, 2020, the County Health Officer issued an order
 directing that all individuals past a certain age remain in their places of residence, limiting
 the operation of food facilities, and closing specified businesses that serve large
 gatherings; and

        WHEREAS on March 19, 2020, the State Public Health Officer issued an order
 requiring that all individuals living in the State of California stay at home except as
 needed to maintain continuity of operations of critical infrastructure sectors as defined
 (“State Stay at Home Order”); and

        WHEREAS the County Health Officer is required by Health and Safety Code
 section 101030 to enforce and observe all orders of the State Public Health Officer and all
 statutes relating to public health; and

         WHEREAS State law permits local health officers to issue public health orders
 that are more restrictive, but not less restrictive, than an order issued by the State Public
 Health Officer, the County Health Officer, based on his evaluation of the unique needs
 and circumstances existing within the County, issued additional health orders on March
 20, March 31, April 9, April 18 and April 20, 2020; and

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        WHEREAS the County Health Officer has determined that there no longer exists
 a need for local health orders that are more restrictive than the State Stay at Home Order
 with respect to many activities of individuals and businesses, and that the public health
 and welfare would best be served by a single set of regulations where reasonable to avoid
 public confusion between State and local orders; and

         WHEREAS the State of California has identified businesses on its website at
 https://covid19.ca.gov/roadmap/ that are able to reopen under the statewide order; and

        WHEREAS the County Health Officer has determined that some elements of his
 current order are not addressed by the State Stay at Home Order, and that the public
 health would be served by supplementing the State Stay at Home Order as set forth
 below;

        NOW, THEREFORE, I, Dr. Robert Levin, the County Health Officer, pursuant
 to Health and Safety Code sections 101040, 101085 and 120175, hereby issue the
 following order (“Local Order”) to be effective immediately:

       IT IS HEREBY ORDERED THAT:

 1.    Commercial laboratory test results. All commercial laboratories that test
       persons in the County for the presence of COVID-19 must report all test results
       (whether positive or negative) to the Ventura County Public Health Department
       laboratory within eight hours of receiving the test results.

 2.    Special rule for persons 70 years of age or older. All persons currently living in
       the County equal to or older than 75 years of age, or equal to or older than 70 years
       of age with an active or unstable comorbidity, are ordered to stay in their place of
       residence and must at all times follow Social Distancing Requirements to the
       greatest extent feasible. Such persons may leave their places of residence only as
       necessary to seek medical care or exercise or nutrition or to perform essential
       work in furtherance of Healthcare Operations or Essential Governmental
       Functions or Services.

       a. For purposes of this section, “Healthcare Operations” means and includes
       hospitals, clinics, dentists, pharmacies, pharmaceutical and biotechnology
       companies, other licensed healthcare facilities, healthcare suppliers, home
       healthcare services providers, mental health providers, chiropractors,
       acupuncturists or any related and/or ancillary healthcare services, including blood
       donation centers, and veterinarians and all other healthcare services provided to
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       animals. “Healthcare Operation” does not include fitness and exercise gyms,
       aquatic centers and similar facilities.

       b. For purposes of this section, “Essential Governmental Functions or Services”
       means government functions or services performed by first responders, emergency
       management personnel, emergency dispatchers, court personnel, law enforcement
       personnel, and others who perform essential governmental functions or services as
       such may be determined by the governmental entity performing those functions or
       services.

 3.    Admittance to Long-Term Care Facilities. Long-Term Care Facilities may not
       refuse to admit any person who has been diagnosed with or treated for COVID-19
       after that person has been discharged from a health care facility and approved for
       admittance to a Long-Term Care Facility by the Ventura County Public Health
       Department.

       a. For purposes of this Local Order, “Long-Term Care Facility” means a
       long-term care facility, skilled nursing facility, intermediate care facility,
       congregate living health facility, nursing facility, hospice facility, residential care
       facility for the elderly, residential facility, or community care facility as defined in
       Health and Safety Code sections 1250, 1502, 1503.5 and 1569, and regulations
       promulgated thereunder, as they may be amended from time to time.

 4.    Hospitals and Long-Term Care Facilities. The County Health Officer
       recognizes the authority of the guidance documents “Hospital Holding Unit
       Guidance for COVID-19” and “Long-Term Care Facility Guidance for Preventing
       and Managing COVID-19” (the current versions of which are available at
       www.vcemergency.com) and strongly advises all hospitals and Long-Term Care
       Facilities to comply with the guidance.

 5.    All businesses must establish, implement and enforce COVID-19 prevention
       plans. All businesses must establish, implement and enforce a site-specific
       prevention plan in accordance with the State of California COVID-19 industry
       Guidance and associated checklist found at https://covid19.ca.gov/roadmap/.
       Prior to reopening, all businesses must register and attest to their preparedness for
       safely reopening at vcreopen.com. Businesses that were operating under the
       previous order must also register and attest to their adherence to state guidelines
       within ten days at vcreopen.com.

       As a condition of operation, each business must post a written notice explaining
       how it will comply with Social Distancing Requirements in conspicuous places
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       where it can easily be seen by employees and patrons of the business facility. The
       written posting shall identify by name and telephone number the County Covid
       Compliance Hotline where compliance related questions or complaints may be
       reported by employees and patrons.

       Further, all businesses, as a condition of operation, shall admit without delay any
       officer, employee or agent of the County of Ventura or local city to their business
       facilities for the purposes of inspection for monitoring and compliance. The
       failure to cooperate with such inspectors, or repeated and confirmed violations of
       COVID-19 prevention requirements, may lead to issuance of a business-specific
       closure order by the County Health Officer.

     Social Distancing Requirements defined. “Social Distancing Requirements”
       means and includes maintaining at least a six-foot physical distance from other
       persons, washing hands with soap and water for at least 20 seconds or using hand
       sanitizer as frequently as possible, covering coughs or sneezes (into the sleeve or
       elbow, not hands), regularly cleaning high-touch surfaces and not shaking hands.

     5HSHDOHG0D\Food facilities. Under the State Stay at Home Order, all
       permanent food facilities,as defined by Health and Safety Code section 113849,
       may only prepare and offerfood that is provided to customers via delivery service,
       via pick-up for takeoutdining, and via drive-thru. This Local Order, in addition,
       requires that permanentfood facilities that prepare and offer food via delivery
       service, pick-up or
       drive-thru must comply with the following procedures:

       D Containers required. All food must be completely contained in a suitable
       container before being transferred to a customer. For example, ice cream conesare
       not allowed; ice cream scoops in a covered container are allowed.

       E Must consume food away from premises. The exception for take-out food
       activities is designed to enable persons who are confined to their places of
       residence to obtain prepared food to take back to their places of residence for
       consumption. The take-out food shall not be consumed anywhere within theline-
       of-sight of a person standing in front of the facility that sold the food.

       F Six-foot spacing must be maintained. All persons waiting in line or otherwise
       congregating outside a food facility selling food via take-out, delivery ordrive-thru



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       shall maintain a distance of at least six feet from all other persons.

     5HSHDOHG0D\Primary retail business must be critical
       infrastructure to be fully open. Onlyretail businesses whose primary line of
       business qualifies as critical infrastructureunder the State Stay at Home Order may
       be fully open to the public, e.g.,businesses whose primary business is the sale of
       food, beverages, pet supplies,household cleaning products, etc. Items the sale of
       which constitute less than 33percent of a business's gross sales over the last six
       months are considered to be lessthan primary. For example, a tobacco or vape store
       that sells a minimal amount ofsnacks and water as a side business does not qualify
       as a grocery store,convenience store or similar establishment that can be fully open
       to the publicunder the current State Stay at Home Order.

     Businesses and activities that must remain closed even if allowed by StateStay
       at Home Order. The State Stay at Home Order does not expressly addressevery
       type of business activity. To avoid confusion, this Local Order prohibits the
       following businesses and activities, whether or not allowed by the State Stay at
       Home Order:

       D All swimming pools, spas, hot tubs, saunas, steam rooms and similar facilities,
       except those located at a single-family residence, which shall be used only by
       members of a household residing at the single-family residence.

       E All public and private campgrounds and recreational vehicle (RV) parks, except
       that persons who certify that their RV is their primary residence may be permitted
       to stay in the RV park. All persons residing in an RV shall comply with all orders
       otherwise applicable to residents.

    List of activities ordered to cease. The following activities are deemed
       non-essential and harmful to public health, and therefore are prohibited whether or
       not allowed by the State Stay at Home Order:

       D Door-to-Door Solicitations. Door-to-door solicitations, whether for purposes of
       sales of goods or services, charitable contributions, signature-gathering or any
       other commercial or noncommercial purpose.

    Essential activities allowed. The State Stay at Home Order implicitly allows for
       persons to leave their places of residence to engage in essential activities, butdoes
       not expressly address that issue. The State Public Health Officer has issued
       guidance, primarily in the form of posted answers to “Frequently Asked

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       Questions,” which are frequently amended or otherwise changed. For the sake of
       clarity and guidance to persons residing in the County, this section of the Local
       Order sets forth those activities that the County Health Officer deems to be
       essential and allowed. However, to the extent any activity described herein
       conflicts with and is more permissive than the State Stay at Home Order as it is
       currently written or as it may be amended, the State Stay at Home Order shall take
       precedence and shall be enforced.

       a. Persons may leave their places of residence only to perform one of the
       following essential activities:

             (1) To engage in activities or perform tasks essential to their health and
             safety, or to the health and safety of their family or household members
             (including pets), such as, by way of example, obtaining medical supplies or
             medication, visiting a health care professional or obtaining supplies needed
             to work from a place of residence.

             (2) To obtain necessary services or supplies for themselves and their family
             or household members, or to deliver those services or supplies to others,
             such as, by way of example, canned food, dry goods, fresh fruits and
             vegetables, pet supplies, fresh meats, fish and poultry, and any other
             household consumer products, and products necessary to maintain the
             safety, sanitation and essential operation of places of residence.

             (3) To engage in funeral services, provided the following restrictions are
             observed:

                    (i) For indoor services, where the body of the deceased is present for
                    viewing or in a closed casket, members of the deceased’s household
                    and the relatives of the deceased within the second degree (including
                    in-laws) may gather for the activity provided that Social Distancing
                    Requirements are followed and that no more than five persons
                    gather inside the facility at a single time. Stable groups of five
                    persons (i.e., persons may not substitute in or out of the group) may
                    rotate within the facility providing protocols are implemented to
                    sanitize the facilities between each group visit.
                    (ii) For graveside services, members of the deceased’s household and
                    the relatives of the deceased within the second degree (including




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                    in-laws) may gather for the activity provided that Social Distancing
                    Requirements are followed and that no more than 10 persons gather.

             (4) To engage in a wedding ceremony, provided that Social Distancing
             Requirements are followed to the greatest extent feasible and that no more
             than 10 persons (who need not be from the same household or living unit),
             in addition to the couple to be married and the officiant, gather in a stable
             group.

             (5) To attend a gathering of any size to observe or participate in live or
             virtual presentations to the gathering, such as faith-based services, concerts,
             plays, political speeches, movies and similar activities, provided that all of
             the following protocols are followed:

                    (i) all activity must occur outdoors;
                    (ii) all persons attending the activity must be inside a motor vehicle
                    occupied only by persons from the same household or living unit;
                    (iii) all motor vehicles at the gathering must maintain a distance of
                    six feet from all other vehicles:
                    (iv) the motor vehicle windows must be closed at all times during the
                    event;
                    (v) all persons must remain in the vehicle in which they arrived at all
                    times during the event;
                    (vi) no restroom facilities shall be made available to persons at the
                    facility during the event;
                    (vii) no tangible items of any kind, including food products, may be
                    transferred to persons in the motor vehicles;
                    (viii) notwithstanding the above, one or more persons, not exceeding
                    five, may enter nearby buildings as necessary to putting on the
                    presentation; and
                    (ix) all Social Distancing Requirements shall be complied with to the
                    greatest extent feasible.

             (6) To engage in outdoor activity, provided the persons comply with Social
             Distancing Requirements, such as, by way of example, golfing, tennis,
             pickle-ball, walking, hiking, running, bicycling, pleasure driving and
             working around their places of residence, including gardening.

                    (i) To provide accommodations for persons who wish to golf as a



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                     form of outdoor activity, public and private golf courses may operate
                     provided they strictly enforce Social Distancing Requirements and
                     enforce the following additional protocols:

                            (a) Motorized carts are not allowed;
                            (b) No more than four golfers (who need not be from the same
                            household or living unit), are allowed per group and each
                            group must be stable (i.e., persons may not substitute in or out
                            of the group);
                            (c) A distance of at least 30 feet shall be maintained between
                            groups of golfers at all times;
                            (d) All ball washers shall be covered and flag pins shall be
                            removed and the cup on each green shall be inverted or
                            otherwise installed to eliminate high-frequency touch surfaces
                            on the greens and tees;
                            (e) Persons may use a driving range provided that range balls
                            are properly sanitized before distribution to customers
                            (stand-alone golf driving ranges may also operate);
                            (f) Practice putting greens shall remain closed;
                            (g) The “Pro Shop” or similar facility designed for the sale of
                            golf-related equipment and supplies shall remain closed; and
                            (h) The snack shop(s) and restaurant(s) shall remain closed.

              (7) To otherwise carry out activities specifically permitted in this Local
              Order.

              (8) To care for a family member or pet in another household.

              (9) To prepare and present a live-stream or other virtual communication by
              an organization or association to its members, including worship services.
              Staff of organizations or associations (who need not be of the same
              household or living unit), including faith-based organizations, may gather in
              a single space at the same time solely for the purpose of preparing and
              presenting live-stream or other virtual communications provided that the
              number of such staff is the fewest necessary to prepare and present those
              communications, but in no event in excess of 10 persons, and that Social
              Distancing Requirements are followed.

 12.   Compliance. The violation of any provision of this Local Order or the State Stay
       at Home Order constitutes a threat to public health and a public nuisance per se. In

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       addition, pursuant to Government Code sections 26602 and 41601 and Health and
       Safety Code section 101029, the County Health Officer requests that the Sheriff
       and all chiefs of police in the County ensure compliance with and enforce this
       Local Order.

 13.   Violation may constitute unfair competition. Any person that, after notice,
       operates, manages, maintains or occupies or continues to operate, manage,
       maintain or occupy, any business in violation of this Local Order or the State Stay
       at Home Order may, in addition or in the alternative to any other civil and criminal
       penalties allowed by law, be subject to liability under the Unfair Competition Law
       (chapter 5 of part 2 of division 7 of the Business and Professions Code,
       commencing at section 17200), and subject to civil penalties and other relief as
       provided therein, for each act or practice in violation of this Local Order, the State
       Stay at Home Order, any predecessor order, or any of them.

 14.   More restrictive provisions of local and State orders enforceable. This Local
       Order is issued to supplement the State Stay at Home Order, which establishes
       minimum requirements for individuals and businesses, as well as the Governor’s
       March 19, 2020 Executive Order N-33-20 directing California residents to follow
       the State Stay at Home Order. This Local Order adopts in certain respects more
       stringent restrictions addressing the particular facts and circumstances in this
       County, which are necessary to control the public health emergency as it is
       evolving within the County and the south coast region. Where a conflict exists
       between this Local Order and any State public health order, including the State
       Stay at Home Order, the more restrictive provision controls.

 15.   Applicable to entire County. This Local Order applies to all persons in the cities
       and the entire unincorporated area of the County.

 16.   Effective date and time; repeal of prior order. This Local Order shall become
       effective and operative at 11:59 p.m. on May 7, 2020, and will continue to be in
       effect until 11:59 p.m. on May 31, 2020, or until it is extended, rescinded,
       superseded or amended in writing by the County Health Officer. The County
       Health Officer order dated April 20, 2020, is herebly repealed and replaced with
       this Local Order, except that all prior violations of previous orders remain
       prosecutable, criminally or civilly. All prior closure or cease and desist orders
       directed at specified persons or businesses shall remain in force, but shall be
       reviewed by enforcement staff and rescinded if appropriate.

 17.   Copies of Local Order. Copies of this Local Order shall promptly be: (1) made

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       available at the County of Ventura Public Health Office, 2240 East Gonzalez
       Road, Suite 210, Oxnard, California, 93036; (2) posted on the Ventura County
       Public Health Department website (available at www.vchca.org/ph); and (3)
       provided to any member of the public requesting a copy of this Local Order.

 18.   Severability. If any provision of this Local Order or the application thereof to any
       person or circumstance is held to be invalid by a court of competent jurisdiction,
       the remainder of the Local Order, including the application of such part or
       provision to other persons or circumstances, shall not be affected and shall
       continue in full force and effect. To this end, the provisions of this Local Order
       are severable.

 IT IS SO ORDERED:



                                                                   Dated: May        , 2020
 Robert Levin, M.D.
 Ventura County Health Officer


 Pursuant to Health and Safety Code section 120295 et seq., violation of or failure to
 comply with this Order is a misdemeanor punishable by fine, imprisonment, or both.




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                                     STAY WELL VC
                            Safely Reopening Ventura County

                       ORDER OF THE VENTURA COUNTY HEALTH
                       OFFICER SUPPLEMENTING THE STATE
                       PUBLIC HEALTH OFFICER’S ORDER DATED
                       MARCH 19, 2020, TO ADDRESS THE UNIQUE
                       NEEDS OF VENTURA COUNTY IN RESPONSE
                       TO THE COVID-19 PANDEMIC

                           DATE OF THIS ORDER: MAY 7, 2020

                        >$VDPHQGHG0D\DQG0D\@

          WHEREAS on March 4, 2020, Governor Gavin Newsom proclaimed a State of
    Emergency to exist in the State of California as a result of the threat of COVID-19; and

         WHEREAS on March 12, 2020, the County of Ventura Health Officer (“County
 Health Officer”) issued a Declaration of Local Health Emergency pursuant to Health and
 Safety Code section 101080, finding that there existed an imminent and proximate threat
 of the spread of COVID-19 in Ventura County (“County”), and said Declaration was
 ratified by the County of Ventura Board of Supervisors on March 12, 2020; and

        WHEREAS on March 17, 2020, the County Health Officer issued an order
 directing that all individuals past a certain age remain in their places of residence, limiting
 the operation of food facilities, and closing specified businesses that serve large
 gatherings; and

        WHEREAS on March 19, 2020, the State Public Health Officer issued an order
 requiring that all individuals living in the State of California stay at home except as
 needed to maintain continuity of operations of critical infrastructure sectors as defined
 (“State Stay at Home Order”); and

        WHEREAS the County Health Officer is required by Health and Safety Code
 section 101030 to enforce and observe all orders of the State Public Health Officer and all
 statutes relating to public health; and

         WHEREAS State law permits local health officers to issue public health orders
 that are more restrictive, but not less restrictive, than an order issued by the State Public
 Health Officer, the County Health Officer, based on his evaluation of the unique needs
 and circumstances existing within the County, issued additional health orders on March
 20, March 31, April 9, April 18 and April 20, 2020; and

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        WHEREAS the County Health Officer has determined that there no longer exists
 a need for local health orders that are more restrictive than the State Stay at Home Order
 with respect to many activities of individuals and businesses, and that the public health
 and welfare would best be served by a single set of regulations where reasonable to avoid
 public confusion between State and local orders; and

         WHEREAS the State of California has identified businesses on its website at
 https://covid19.ca.gov/roadmap/ that are able to reopen under the statewide order; and

        WHEREAS the County Health Officer has determined that some elements of his
 current order are not addressed by the State Stay at Home Order, and that the public
 health would be served by supplementing the State Stay at Home Order as set forth
 below;

        NOW, THEREFORE, I, Dr. Robert Levin, the County Health Officer, pursuant
 to Health and Safety Code sections 101040, 101085 and 120175, hereby issue the
 following order (“Local Order”) to be effective immediately:

       IT IS HEREBY ORDERED THAT:

 1.    Commercial laboratory test results. All commercial laboratories that test
       persons in the County for the presence of COVID-19 must report all test results
       (whether positive or negative) to the Ventura County Public Health Department
       laboratory within eight hours of receiving the test results.

 2.    Special rule for persons 70 years of age or older. All persons currently living in
       the County equal to or older than 75 years of age, or equal to or older than 70 years
       of age with an active or unstable comorbidity, are ordered to stay in their place of
       residence and must at all times follow Social Distancing Requirements to the
       greatest extent feasible. Such persons may leave their places of residence only as
       necessary to seek medical care or exercise or nutrition or to perform essential
       work in furtherance of Healthcare Operations or Essential Governmental
       Functions or Services.

       a. For purposes of this section, “Healthcare Operations” means and includes
       hospitals, clinics, dentists, pharmacies, pharmaceutical and biotechnology
       companies, other licensed healthcare facilities, healthcare suppliers, home
       healthcare services providers, mental health providers, chiropractors,
       acupuncturists or any related and/or ancillary healthcare services, including blood
       donation centers, and veterinarians and all other healthcare services provided to
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       animals. “Healthcare Operation” does not include fitness and exercise gyms,
       aquatic centers and similar facilities.

       b. For purposes of this section, “Essential Governmental Functions or Services”
       means government functions or services performed by first responders, emergency
       management personnel, emergency dispatchers, court personnel, law enforcement
       personnel, and others who perform essential governmental functions or services as
       such may be determined by the governmental entity performing those functions or
       services.

 3.    Admittance to Long-Term Care Facilities. Long-Term Care Facilities may not
       refuse to admit any person who has been diagnosed with or treated for COVID-19
       after that person has been discharged from a health care facility and approved for
       admittance to a Long-Term Care Facility by the Ventura County Public Health
       Department.

       a. For purposes of this Local Order, “Long-Term Care Facility” means a
       long-term care facility, skilled nursing facility, intermediate care facility,
       congregate living health facility, nursing facility, hospice facility, residential care
       facility for the elderly, residential facility, or community care facility as defined in
       Health and Safety Code sections 1250, 1502, 1503.5 and 1569, and regulations
       promulgated thereunder, as they may be amended from time to time.

 4.    Hospitals and Long-Term Care Facilities. The County Health Officer
       recognizes the authority of the guidance documents “Hospital Holding Unit
       Guidance for COVID-19” and “Long-Term Care Facility Guidance for Preventing
       and Managing COVID-19” (the current versions of which are available at
       www.vcemergency.com) and strongly advises all hospitals and Long-Term Care
       Facilities to comply with the guidance.

 5.    All businesses must establish, implement and enforce COVID-19 prevention
       plans. All businesses must establish, implement and enforce a site-specific
       prevention plan in accordance with the State of California COVID-19 industry
       Guidance and associated checklist found at https://covid19.ca.gov/roadmap/.
       Prior to reopening, all businesses must register and attest to their preparedness for
       safely reopening at vcreopen.com. Businesses that were operating under the
       previous order must also register and attest to their adherence to state guidelines
       within ten days at vcreopen.com.

       As a condition of operation, each business must post a written notice explaining
       how it will comply with Social Distancing Requirements in conspicuous places
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       where it can easily be seen by employees and patrons of the business facility. The
       written posting shall identify by name and telephone number the County Covid
       Compliance Hotline where compliance related questions or complaints may be
       reported by employees and patrons.

       Further, all businesses, as a condition of operation, shall admit without delay any
       officer, employee or agent of the County of Ventura or local city to their business
       facilities for the purposes of inspection for monitoring and compliance. The
       failure to cooperate with such inspectors, or repeated and confirmed violations of
       COVID-19 prevention requirements, may lead to issuance of a business-specific
       closure order by the County Health Officer.

     Social Distancing Requirements defined. “Social Distancing Requirements”
       means and includes maintaining at least a six-foot physical distance from other
       persons, washing hands with soap and water for at least 20 seconds or using hand
       sanitizer as frequently as possible, covering coughs or sneezes (into the sleeve or
       elbow, not hands), regularly cleaning high-touch surfaces and not shaking hands.

     5HSHDOHG0D\Food facilities. Under the State Stay at Home Order, all
       permanent food facilities,as defined by Health and Safety Code section 113849,
       may only prepare and offerfood that is provided to customers via delivery service,
       via pick-up for takeoutdining, and via drive-thru. This Local Order, in addition,
       requires that permanentfood facilities that prepare and offer food via delivery
       service, pick-up or
       drive-thru must comply with the following procedures:

       D Containers required. All food must be completely contained in a suitable
       container before being transferred to a customer. For example, ice cream conesare
       not allowed; ice cream scoops in a covered container are allowed.

       E Must consume food away from premises. The exception for take-out food
       activities is designed to enable persons who are confined to their places of
       residence to obtain prepared food to take back to their places of residence for
       consumption. The take-out food shall not be consumed anywhere within theline-
       of-sight of a person standing in front of the facility that sold the food.

       F Six-foot spacing must be maintained. All persons waiting in line or otherwise
       congregating outside a food facility selling food via take-out, delivery ordrive-thru



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       shall maintain a distance of at least six feet from all other persons.

     5HSHDOHG0D\Primary retail business must be critical
       infrastructure to be fully open. Onlyretail businesses whose primary line of
       business qualifies as critical infrastructureunder the State Stay at Home Order may
       be fully open to the public, e.g.,businesses whose primary business is the sale of
       food, beverages, pet supplies,household cleaning products, etc. Items the sale of
       which constitute less than 33percent of a business's gross sales over the last six
       months are considered to be lessthan primary. For example, a tobacco or vape store
       that sells a minimal amount ofsnacks and water as a side business does not qualify
       as a grocery store,convenience store or similar establishment that can be fully open
       to the publicunder the current State Stay at Home Order.

     Businesses and activities that must remain closed even if allowed by StateStay
       at Home Order. The State Stay at Home Order does not expressly addressevery
       type of business activity. To avoid confusion, this Local Order prohibits the
       following businesses and activities, whether or not allowed by the State Stay at
       Home Order:

       D All swimming pools, spas, hot tubs, saunas, steam rooms and similar facilities,
       except those located at a single-family residence, which shall be used only by
       members of a household residing at the single-family residence.

       E All public and private campgrounds and recreational vehicle (RV) parks, except
       that persons who certify that their RV is their primary residence may be permitted
       to stay in the RV park. All persons residing in an RV shall comply with all orders
       otherwise applicable to residents.

    List of activities ordered to cease. The following activities are deemed
       non-essential and harmful to public health, and therefore are prohibited whether or
       not allowed by the State Stay at Home Order:

       D Door-to-Door Solicitations. Door-to-door solicitations, whether for purposes of
       sales of goods or services, charitable contributions, signature-gathering or any
       other commercial or noncommercial purpose.

    Essential activities allowed. The State Stay at Home Order implicitly allows for
       persons to leave their places of residence to engage in essential activities, butdoes
       not expressly address that issue. The State Public Health Officer has issued
       guidance, primarily in the form of posted answers to “Frequently Asked

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       Questions,” which are frequently amended or otherwise changed. For the sake of
       clarity and guidance to persons residing in the County, this section of the Local
       Order sets forth those activities that the County Health Officer deems to be
       essential and allowed. However, to the extent any activity described herein
       conflicts with and is more permissive than the State Stay at Home Order as it is
       currently written or as it may be amended, the State Stay at Home Order shall take
       precedence and shall be enforced.

       D Persons may leave their places of residence only >5HSHDOHG0D\@to
       perform one of thefollowing essential activities:

               To engage in activities or perform tasks essential to their health and
             safety, or to the health and safety of their family or household members
             (including pets), such as, by way of example, obtaining medical supplies or
             medication, visiting a health care professional or obtaining supplies needed
             to work from a place of residence.

               To obtain necessary services or supplies for themselves and their family
             or household members, or to deliver those services or supplies to others,
             such as, by way of example, canned food, dry goods, fresh fruits and
             vegetables, pet supplies, fresh meats, fish and poultry, and any other
             household consumer products, and products necessary to maintain the
             safety, sanitation and essential operation of places of residence.

               To engage in funeral services, provided the following restrictions are
             observed:

                     L For indoor services, where the body of the deceased is present for
                    viewing or in a closed casket, members of the deceased’s household
                    and the relatives of the deceased within the second degree (including
                    in-laws) may gather for the activity provided that Social Distancing
                    Requirements are followed and that no more than five personsgather
                    inside the facility at a single time. Stable groups of fivepersons (i.e.,
                    persons may not substitute in or out of the group) mayrotate within
                    the facility providing protocols are implemented tosanitize the
                    facilities between each group visit.
                     LL For graveside services, members of the deceased’s household
                    andthe relatives of the deceased within the second degree (including




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                    in-laws) may gather for the activity provided that Social Distancing
                    Requirements are followed and that no more than 10 persons gather.

             (4) To engage in a wedding ceremony, provided that Social Distancing
             Requirements are followed to the greatest extent feasible and that no more
             than 10 persons (who need not be from the same household or living unit),
             in addition to the couple to be married and the officiant, gather in a stable
             group.

             (5) To attend a gathering of any size to observe or participate in live or
             virtual presentations to the gathering, such as faith-based services, concerts,
             plays, political speeches, movies and similar activities, provided that all of
             the following protocols are followed:

                    (i) all activity must occur outdoors;
                    (ii) all persons attending the activity must be inside a motor vehicle
                    occupied only by persons from the same household or living unit;
                    (iii) all motor vehicles at the gathering must maintain a distance of
                    six feet from all other vehicles:
                    (iv) the motor vehicle windows must be closed at all times during the
                    event;
                    (v) all persons must remain in the vehicle in which they arrived at all
                    times during the event;
                    (vi) no restroom facilities shall be made available to persons at the
                    facility during the event;
                    (vii) no tangible items of any kind, including food products, may be
                    transferred to persons in the motor vehicles;
                    (viii) notwithstanding the above, one or more persons, not exceeding
                    five, may enter nearby buildings as necessary to putting on the
                    presentation; and
                    (ix) all Social Distancing Requirements shall be complied with to the
                    greatest extent feasible.

             (6) To engage in outdoor activity, provided the persons comply with Social
             Distancing Requirements, such as, by way of example, golfing, tennis,
             pickle-ball, walking, hiking, running, bicycling, pleasure driving and
             working around their places of residence, including gardening.

                    (i) To provide accommodations for persons who wish to golf as a



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                     form of outdoor activity, public and private golf courses may operate
                     provided they strictly enforce Social Distancing Requirements and
                     enforce the following additional protocols:

                            D Motorized carts are not allowed;
                            E No more than four golfers (who need not be from the same
                           household or living unit), are allowed per group and each
                           group must be stable (i.e., persons may not substitute in or out
                           of the group);
                            F A distance of at least 30 feet shall be maintained between
                           groups of golfers at all times;
                            G All ball washers shall be covered and flag pins shall be
                           removed and the cup on each green shall be inverted or
                           otherwise installed to eliminate high-frequency touch surfaces
                           on the greens and tees;
                            H Persons may use a driving range provided that range balls
                           are properly sanitized before distribution to customers
                           (stand-alone golf driving ranges may also operate);
                            I Practice putting greens shall remain closed;
                            J 5HSHDOHG0D\The “Pro Shop” or similar facility
                           designed for the sale ofgolf-related equipment and supplies
                           shall remain closed; and
                            K 5HSHDOHG0D\The snack shop(s) and
                           restaurant(s) shall remain closed.
              (7) To otherwise carry out activities specifically permitted in this Local
              Order.

              (8) To care for a family member or pet in another household.

             (9) To prepare and present a live-stream or other virtual communication by
             an organization or association to its members, including worship services.
             Staff of organizations or associations (who need not be of the same
             household or living unit), including faith-based organizations, may gather in
             a single space at the same time solely for the purpose of preparing and
             presenting live-stream or other virtual communications provided that the
             number of such staff is the fewest necessary to prepare and present those
             communications, but in no event in excess of 10 persons, and that Social
             Distancing Requirements are followed.
 12.   Compliance. The violation of any provision of this Local Order or the State Stay
       at Home Order constitutes a threat to public health and a public nuisance per se. In

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       addition, pursuant to Government Code sections 26602 and 41601 and Health and
       Safety Code section 101029, the County Health Officer requests that the Sheriff
       and all chiefs of police in the County ensure compliance with and enforce this
       Local Order.

 13.   Violation may constitute unfair competition. Any person that, after notice,
       operates, manages, maintains or occupies or continues to operate, manage,
       maintain or occupy, any business in violation of this Local Order or the State Stay
       at Home Order may, in addition or in the alternative to any other civil and criminal
       penalties allowed by law, be subject to liability under the Unfair Competition Law
       (chapter 5 of part 2 of division 7 of the Business and Professions Code,
       commencing at section 17200), and subject to civil penalties and other relief as
       provided therein, for each act or practice in violation of this Local Order, the State
       Stay at Home Order, any predecessor order, or any of them.

 14.   More restrictive provisions of local and State orders enforceable. This Local
       Order is issued to supplement the State Stay at Home Order, which establishes
       minimum requirements for individuals and businesses, as well as the Governor’s
       March 19, 2020 Executive Order N-33-20 directing California residents to follow
       the State Stay at Home Order. This Local Order adopts in certain respects more
       stringent restrictions addressing the particular facts and circumstances in this
       County, which are necessary to control the public health emergency as it is
       evolving within the County and the south coast region. Where a conflict exists
       between this Local Order and any State public health order, including the State
       Stay at Home Order, the more restrictive provision controls.

 15.   Applicable to entire County. This Local Order applies to all persons in the cities
       and the entire unincorporated area of the County.

 16.   Effective date and time; repeal of prior order. This Local Order shall become
       effective and operative at 11:59 p.m. on May 7, 2020, and will continue to be in
       effect until 11:59 p.m. on May 31, 2020, or until it is extended, rescinded,
       superseded or amended in writing by the County Health Officer. The County
       Health Officer order dated April 20, 2020, is herebly repealed and replaced with
       this Local Order, except that all prior violations of previous orders remain
       prosecutable, criminally or civilly. All prior closure or cease and desist orders
       directed at specified persons or businesses shall remain in force, but shall be
       reviewed by enforcement staff and rescinded if appropriate.

 17.   Copies of Local Order. Copies of this Local Order shall promptly be: (1) made

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       available at the County of Ventura Public Health Office, 2240 East Gonzalez
       Road, Suite 210, Oxnard, California, 93036; (2) posted on the Ventura County
       Public Health Department website (available at www.vchca.org/ph); and (3)
       provided to any member of the public requesting a copy of this Local Order.

 18.   Severability. If any provision of this Local Order or the application thereof to any
       person or circumstance is held to be invalid by a court of competent jurisdiction,
       the remainder of the Local Order, including the application of such part or
       provision to other persons or circumstances, shall not be affected and shall
       continue in full force and effect. To this end, the provisions of this Local Order
       are severable.

 IT IS SO ORDERED:



                                                                   Dated: May        , 2020
 Robert Levin, M.D.
 Ventura County Health Officer


 Pursuant to Health and Safety Code section 120295 et seq., violation of or failure to
 comply with this Order is a misdemeanor punishable by fine, imprisonment, or both.




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                                    STAY WELL VC
                            Safely Reopening Ventura County

                              HEALTH OFFICER ORDER
                               COUNTY OF VENTURA

      FOR CONTROL OF COVID-19 WITHIN THE COUNTY OF VENTURA
                        Effective Date: May 29, 2020, 11:59 p.m.


 Please read this Order carefully. This Order issued by the Ventura County Health
 Officer shall become effective at 11:59 p.m. on May 29, 2020. At that time, all current
 Orders of the Ventura County Health Officer shall expire and no longer be of any force or
 effect, except any and all prior violations of the previous orders remain prosecutable,
 criminally or civilly. Pursuant to Health and Safety Code section 120295 et seq.,
 violation of or failure to comply with this Order is a misdemeanor punishable by fine,
 imprisonment, or both.
 UNDER THE AUTHORITY OF CALIFORNIA HEALTH AND SAFETY CODE
 SECTIONS 101040, 101085 AND 120175, THE HEALTH OFFICER OF THE
 COUNTY OF VENTURA ORDERS:
 1.     Admittance to Long-Term Care Facilities. Long-Term Care Facilities may not
 refuse to admit any person who has been diagnosed with or treated for COVID-19 after
 that person has been discharged from a health care facility and approved for admittance
 to a Long-Term Care Facility by the Ventura County Public Health Department.
        a. For purposes of this Order, “Long-Term Care Facility” means a long-term
        care facility, skilled nursing facility, intermediate care facility, congregate living
        health facility, nursing facility, hospice facility, residential care facility for the
        elderly, residential facility, or community care facility as defined in Health and
        Safety Code sections 1250, 1502, 1503.5 and 1569, and regulations promulgated
        thereunder, as they may be amended from time to time.
 2.     Hospitals and Long-Term Care Facilities. The County Health Officer
 recognizes the authority of the guidance documents “Hospital Holding Unit Guidance for
 COVID-19” and “Long-Term Care Facility Guidance for Preventing and Managing
 COVID-19” (the current versions of which are available at www.vcemergency.com) and
 strongly advises all hospitals and Long-Term Care Facilities to comply with the
 guidance.


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  3.      Businesses must establish, implement and enforce COVID-19 prevention
  plans. Businesses, with the exception of businesses operated from home, must
  establish, implement and enforce a site-specific prevention plan in accordance with the
  State of California COVID-19 industry Guidance and associated checklist found at
  https://covid19.ca.gov/roadmap/. Prior to reopening, businesses must register and
  attest to their preparedness for safely reopening at vcreopen.com. Businesses that
  were operating under a previous order must also register and attest to their adherence
  to state guidelines.
          As a condition of operation, each business must post a written notice explaining
 how it will comply with Social Distancing Requirements in conspicuous places where it
 can easily be seen by employees and patrons of the business facility. The written posting
 shall identify by name and telephone number the County COVID-19 Compliance Hotline
 where compliance related questions or complaints may be reported by employees and
 patrons.
          Further, businesses, as a condition of operation, shall admit without delay any
 officer, employee or agent of the County of Ventura or local city to their business
 facilities for the purposes of inspection for monitoring and compliance. The failure to
 cooperate with such inspectors, or repeated and confirmed violations of COVID-19
 prevention requirements, may lead to issuance of a business-specific closure order by
 the County Health Officer.
 4.    Places of Worship and Providers of Religious Services and Cultural
 Ceremonies.
        a. The California Department of Public Health directed on May 25, 2020, that
        upon a county public health department’s approval, in-person attendance at
        religious services or cultural ceremonies is authorized, but is limited to 25
        percent of building capacity, or a maximum of 100 attendees, whichever is
        fewer.
        b. In accordance with the California Department of Public Health’s direction
        on May 25, 2020, this Order provides the Ventura County’s Public Health
        Department’s approval for implementation of subsection (a) immediately
        above.
        c. This Order does not obligate places of worship and providers of religious
        services and cultural ceremonies to resume in-person activities.
        d. The Health Officer recommends that places of worship and providers of
        religious services and cultural ceremonies consider and implement as may be
        appropriate the guidance issued by the California Department of Public Health
        on Places of Worship and Providers of Religious Services and Cultural
        Ceremonies.

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        e. As a condition of operating under this authority, places of worship or
        providers of religious services or cultural ceremonies shall post a written notice
        explaining how it will comply with the guidance issued by the California
        Department of Public Health where it can easily be seen by employees or
        patrons of the establishment. The posted notice shall prominently display the
        name and telephone number of the County Covid Compliance Hotline where
        compliance related questions or complaints may be reported by employees and
        patrons.
 5.       Activities allowed outside of place of residence. The State Stay at Home
 Order allows for persons to leave their places of residence to engage in certain
 activities. The State Public Health Officer has issued guidance, primarily in the form of
 posted answers to “Frequently Asked Questions,” that can be ambiguous and
 frequently amended or otherwise changed. For the sake of clarity and guidance to
 persons residing in Ventura County, this section of the Order sets forth a non-exclusive
 list of activities outside of a person’s place of residence that the County Health Officer
 has deemed to be allowed. To the extent any activity described herein conflicts with
 and is more permissive than the State Stay at Home Order as it is currently written or as
 it may be amended, the State Stay at Home Order shall take precedence and shall be
 enforced.
        a. Persons may leave their places of residence to perform the following
        activities, among others:
            (1) To engage in activities or perform tasks essential to their health and
            safety, or to the health and safety of their family or household members
            (including pets), such as, by way of example, obtaining medical supplies or
            medication, visiting a health care professional or obtaining supplies needed
            to work from a place of residence.
            (2) To obtain necessary services or supplies for themselves and their family
            or household members, or to deliver those services or supplies to others,
            such as, by way of example, canned food, dry goods, fresh fruits and
            vegetables, pet supplies, fresh meats, fish and poultry, and any other
            household consumer products, and products necessary to maintain the
            safety, sanitation and essential operation of places of residence.
           (3) To engage in funeral services, provided the following restrictions are
            observed:

            (i) For graveside services, members of the deceased’s household and the
            relatives of the deceased within the second degree (including in-laws) may
            gather for the activity provided that Social Distancing Requirements are
            followed and that no more than 10 persons gather.

                                              3

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          (4) To engage in a wedding ceremony outside a place of worship, provided
          that Social Distancing Requirements are followed to the greatest extent
          feasible and that no more than 10 persons (who need not be from the same
          household or living unit), in addition to the couple to be married and the
          officiant, gather in a stable group.

          (5) To attend a gathering of any size to observe or participate in live or
          virtual presentations to the gathering, such as faith-based services, concerts,
          plays, political speeches, movies and similar activities, provided that all of
          the following protocols are followed:
                    (i) All activity must occur outdoors;
                    (ii) All persons attending the activity must be inside a motor vehicle
                    occupied only by persons from the same household or living unit;
                    (iii) All motor vehicles at the gathering must maintain a distance
                    of six feet from all other vehicles;
                    (iv) All persons must remain in the vehicle in which they arrived
                    at all times during the event;
                    (v) No restroom facilities shall be made available to persons at the
                    facility during the event;
                    (vi) Notwithstanding the above, one or more persons, not exceeding
                    five, may enter nearby buildings as necessary to putting on the
                    presentation; and
                    (vii) Social Distancing Requirements shall be complied with to the
                    greatest extent feasible.

             (6) To engage in outdoor activity, provided the persons comply with
             Social Distancing Requirements, such as, by way of example, golfing,
             tennis, pickle-ball, walking, hiking, running, bicycling, pleasure driving
             and working around their places of residence, including gardening.
                    (i)    To provide accommodations for persons who wish to golf
                    as a form of outdoor activity, public and private golf courses may
                    operate provided they strictly enforce Social Distancing
                    Requirements and enforce the following additional protocols:

                           (a) Motorized carts are allowed provided that only one
                           person may occupy a cart at any time (except where drivers
                           are required for disability accommodations);
                           (b) No more than four golfers (who need not be from the
                           same household or living unit), are allowed per group and

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                            each group must be stable (i.e., persons may not substitute
                            in or out of the group);
                            (c) A distance of at least 30 feet shall be maintained
                            between groups of golfers at all times;
                            (d) All ball washers shall be covered and flag pins shall
                            either be removed or affixed to prevent handling by golfers,
                            and the cup on each green shall be inverted or otherwise
                            installed to eliminate high-frequency touch surfaces on the
                            greens and tees;
                            (e) Persons may use a driving range provided that range
                            balls are properly sanitized before distribution to customers
                            (stand-alone golf driving ranges may also operate).

              (7)    To otherwise carry out activities specifically permitted in this
              Order.
              (8)    To care for a family member or pet in another household.
              (9)    To prepare and present a live-stream or other virtual
              communication by an organization or association to its members,
              including worship services. Staff of organizations or associations (who
              need not be of the same household or living unit), including faith-based
              organizations, may gather in a single space at the same time solely for the
              purpose of preparing and presenting live-stream or other virtual
              communications provided that the number of such staff is the fewest
              necessary to prepare and present those communications, but in no event in
              excess of 10 persons, and that Social Distancing Requirements are
              followed.
 6.      Social Distancing Requirements defined. “Social Distancing Requirements”
 means and includes maintaining at least a six-foot physical distance from other persons,
 washing hands with soap and water for at least 20 seconds or using hand sanitizer as
 frequently as possible, covering coughs or sneezes (into the sleeve or elbow, not
 hands), regularly cleaning high-touch surfaces and not shaking hands.
 7.      Compliance. The violation of any provision of this Order or the State Stay at
 Home Order constitutes a threat to public health and a public nuisance per se. In
 addition, pursuant to Government Code sections 26602 and 41601 and Health and
 Safety Code section 101029, the County Health Officer requests that the Sheriff and all
 chiefs of police in the County ensure compliance with and enforce this Order.
 8.      Violation may constitute unfair competition. Any person that, after notice,
 operates, manages, maintains or occupies or continues to operate, manage, maintain or
 occupy, any business in violation of this Order or the State Stay at Home Order may, in

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 addition or in the alternative to any other civil and criminal penalties allowed by law,
 be subject to liability under the Unfair Competition Law (chapter 5 of part 2 of division
 7 of the Business and Professions Code, commencing at section 17200), and subject to
 civil penalties and other relief as provided therein, for each act or practice in violation
 of this Order, the State Stay at Home Order, any predecessor order, or any of them.
 9.      More restrictive provisions of local and State orders enforceable. Where a
 conflict exists between this Order and any State public health order, the more restrictive
 provision controls.
 10.     Applicable to entire County. This Order applies to all persons in the cities
 and the entire unincorporated area of the County.
 11.     Effective date and time; repeal of prior order. This Order shall become
 effective and operative at 11:59 p.m. on May 29, 2020, and will continue to be in effect
 until 11:59 p.m. on June 14, 2020, or until it is extended, rescinded, superseded or
 amended in writing by the County Health Officer.
 12.     Copies of This Order. Copies of this Order shall promptly be: (1) made
 available at the County of Ventura Public Health Office, 2240 East Gonzalez Road,
 Suite 210, Oxnard, California, 93036; (2) posted on the Ventura County Public Health
 Department website (available at www.vchca.org/ph); and (3) provided to any member
 of the public requesting a copy of this Order.
 13.     Severability. If any provision of this Order or the application thereof to any
 person or circumstance is held to be invalid by a court of competent jurisdiction, the
 remainder of this Order, including the application of such part or provision to other
 persons or circumstances, shall not be affected and shall continue in full force and
 effect. To this end, the provisions of this Order are severable.


 IT IS SO ORDERED:


  __________________________
 Robert Levin, M.D.
 Ventura County Health Officer                            Dated: May , 2020




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                                 FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                        MAY 22 2020
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

 SOUTH BAY UNITED PENTECOSTAL                     No. 20-55533
 CHURCH, a California nonprofit
 corporation; BISHOP ARTHUR HODGES                D.C. No. 3:20-cv-00865-BAS-AHG
 III, an individual,                              Southern District of California,
                                                  San Diego
                 Plaintiffs-Appellants,
                                                  ORDER
   v.

 GAVIN NEWSOM, in his official capacity
 as the Governor of California; XAVIER
 BECERRA, in his official capacity as the
 Attorney General of California; SONIA
 ANGELL, in her official capacity as
 California Public Health Officer; WILMA J.
 WOOTEN, in her official capacity as Public
 Health Officer, County of San Diego;
 HELEN ROBBINS-MEYER, in her official
 capacity as Director of Emergency Services;
 WILIAM D, GORE, in his official capacity
 as Sheriff of the County of San Diego,

                 Defendants-Appellees.

 Before: SILVERMAN, NGUYEN, and COLLINS, Circuit Judges.

        This appeal challenges the district court’s denial of appellants’ motion for a

 temporary restraining order and order to show cause why a preliminary injunction

 should not issue in appellants’ challenge to the application of the State of

 California and County of San Diego’s stay-at-home orders to in-person religious


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 services. Appellants have filed an emergency motion seeking injunctive relief

 permitting them to hold in-person religious services during the pendency of this

 appeal.

       We have jurisdiction to review the denial of a temporary restraining order

 where, as here, “the circumstances render the denial ‘tantamount to the denial of a

 preliminary injunction.’” Religious Tech. Ctr., Church of Scientology Int’l, Inc. v.

 Scott, 869 F.2d 1306, 1308 (9th Cir. 1989) (internal citation omitted); see also 28

 U.S.C. § 1292(a)(1). Accordingly, the motion to dismiss for lack of jurisdiction

 (Docket Entry No. 24) is denied.

       The request to take judicial notice (Docket Entry No. 25) is granted.

       In evaluating a motion for an injunction pending appeal, we consider

 whether the moving party has demonstrated that they are likely to succeed on the

 merits, that they are likely to suffer irreparable harm in the absence of preliminary

 relief, that the balance of equities tips in their favor, and that an injunction is in the

 public interest. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008);

 see also Feldman v. Ariz. Sec’y of State’s Office, 843 F.3d 366, 367 (9th Cir. 2016)

 (“The standard for evaluating an injunction pending appeal is similar to that

 employed by district courts in deciding whether to grant a preliminary

 injunction.”).




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         We conclude that appellants have not demonstrated a sufficient likelihood of

 success on appeal. Where state action does not “infringe upon or restrict practices

 because of their religious motivation” and does not “in a selective manner impose

 burdens only on conduct motivated by religious belief,” it does not violate the First

 Amendment. See Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508

 U.S. 520, 533, 543 (1993). We’re dealing here with a highly contagious and often

 fatal disease for which there presently is no known cure. In the words of Justice

 Robert Jackson, if a “[c]ourt does not temper its doctrinaire logic with a little

 practical wisdom, it will convert the constitutional Bill of Rights into a suicide

 pact.” Terminiello v. City of Chicago, 337 U.S. 1, 37 (1949) (Jackson, J.,

 dissenting).

         The remaining factors do not counsel in favor of injunctive relief. See

 Winter, 555 U.S. at 20. We therefore deny the emergency motion for injunctive

 relief pending appeal (Docket Entry No. 2).1




 1
     Judge Collins would grant the motion and has filed a dissent.


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                                                                            FILED
 South Bay United Pentecostal Church v. Newsom, No. 20-55533
                                                                            MAY 22 2020
 COLLINS, Circuit Judge, dissenting:                                    MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS

       Plaintiffs-Appellants South Bay United Pentecostal Church (the “Church”)

 and its Bishop, Arthur Hodges III (collectively, “Plaintiffs”), move for a

 preliminary injunction pending appeal that would allow them to conduct in-person

 church services. The State of California’s refusal to allow them to hold such

 services likely violates the Free Exercise Clause of the First Amendment, and so I

 would grant the requested injunction. Because the majority concludes otherwise, I

 respectfully dissent.

                                            I

       The Church is a Christian congregation in Chula Vista, California. Until the

 recent COVID-19 pandemic, the Church held between three and five Sunday

 services every week, which would attract 200–300 congregants each. Its sanctuary

 seats 600.

       On March 19, 2020, Governor Gavin Newsom issued Executive Order N-

 33-20. The order generally required “all individuals living in the State of

 California to stay home or at their place of residence except as needed to maintain

 continuity of operations of the federal critical infrastructure sectors.” The federal

 list of critical sectors did not include churches. The State public health officer

 subsequently designated a comprehensive set of “Essential Critical Infrastructure




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 Workers.” That list designated clergy as essential, but only if they were holding

 services “through streaming or other technologies that support physical distancing

 and state public health guidelines.”

       On April 28, the Governor announced a four-stage “Reopening Plan” or

 “Resilience Roadmap,” under which the State would initially relax the stay-at-

 home order for some organizations but not others. At Stage 1, only “critical

 infrastructure” was exempted. At Stage 2, curbside retail and additional factories

 making previously non-essential “things like toys, clothing, . . . [and] furniture”

 would be permitted to reopen. Stage 2 entities also included ones that would

 reopen at a later date within that stage, such as schools (in an adapted form),

 childcare, dine-in restaurants, outdoor museums, “destination retail, including

 shopping malls and swap meets,” and office-based businesses where telework is

 not possible. At Stage 3, “higher risk workplaces” like churches could reopen,

 along with bars, movie theaters, hair salons, and “more personal & hospitality

 services.” And at Stage 4, concerts, conventions, and spectator sports could

 reopen. The Governor predicted that while Phase 2 would begin in “weeks, not

 months,” Phase 3 would begin in “months, not weeks.”

       On May 4, the Governor announced that Stage 2 would commence within a

 week. On May 8, Plaintiffs sued the Governor and several other state officers

 (collectively, “the State”) as well as various local officials, claiming that the




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 Reopening Plan’s decision to place churches within Stage 3 instead of Stage 2

 violated the Free Exercise Clause of the First Amendment. The County of San

 Diego implemented the Reopening Plan in an order dated May 9, 2020. Plaintiffs

 filed an amended complaint on May 11.

        On May 15, 2020, the district court denied Plaintiffs’ motion for both a

 temporary restraining order (“TRO”) and an order to show cause (“OSC”) why a

 preliminary injunction allowing the Church to hold in-person services should not

 issue. Plaintiffs appealed and concurrently moved for a preliminary injunction in

 this court.

                                           II

        We have jurisdiction over this appeal under our controlling decision in

 Religious Tech. Ctr., Church of Scientology Int’l, Inc. v. Scott, 869 F.2d 1306 (9th

 Cir. 1989).1 Both in Religious Tech. Ctr. and in this case, the plaintiffs filed a

 motion for a TRO and for an OSC why a preliminary injunction should not issue;

 the district court denied the motion “for a TRO and an OSC following a hearing at

 which all parties were represented”; and the specific grounds on which the district

 court denied the motion “foreclosed any interlocutory relief.” Id. at 1308–09. As

 to the latter point, the district court below agreed with the State that the Reopening


 1
   The State questioned our jurisdiction in its initial opposition to Plaintiffs’ motion
 in this court, but it did not renew that objection in its subsequent formal opposition.
 Nonetheless, we have an obligation to consider the issue sua sponte.


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 Plan is a “neutral law of general application” that is therefore subject only to

 rational basis review under Church of the Lukumi Babalu Aye, Inc. v. City of

 Hialeah, 508 U.S. 520, 531 (1993). Given that this threshold legal conclusion is

 indisputably fatal to Plaintiffs’ Free Exercise claim, “[t]he futility of any further

 hearing was thus patent; there was nothing left to talk about.” Id. at 1309. The

 order was thus “tantamount to a denial of a preliminary injunction,” id. at 1308,

 and we therefore have jurisdiction under 28 U.S.C. § 1292(a)(1).

                                            III

        Plaintiffs seek a preliminary injunction pending appeal, and the standards for

 such relief are well-settled. “A plaintiff seeking a preliminary injunction must

 establish that he is likely to succeed on the merits, that he is likely to suffer

 irreparable harm in the absence of preliminary relief, that the balance of equities

 tips in his favor, and that an injunction is in the public interest.” Winter v. Natural

 Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “Under our ‘sliding scale’

 approach, ‘the elements of the preliminary injunction test are balanced, so that a

 stronger showing of one element may offset a weaker showing of another.’”

 Hernandez v. Sessions, 872 F.3d 976, 998 (9th Cir. 2017) (quoting Pimentel v.

 Dreyfus, 670 F.3d 1096, 1105 (9th Cir. 2012)). Here, all of these factors favor the

 Plaintiffs.




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                                           A

       In seeking injunctive relief pending appeal, Plaintiffs principally rely on

 their claim under the First Amendment’s Free Exercise Clause, which provides that

 “Congress shall make no law respecting an establishment of religion, or

 prohibiting the free exercise thereof.” U.S. CONST. amend. I (emphasis added).

 This restriction is fully applicable to the States through the Fourteenth

 Amendment. Cantwell v. Connecticut, 310 U.S. 296, 303 (1940). I conclude that

 Plaintiffs have established a very strong likelihood of success on the merits of their

 Free Exercise claim.

                                           1

       As a threshold matter, the State contends that, in light of the ongoing

 pandemic, the constitutional standards that would normally govern our review of a

 Free Exercise claim should not be applied. “Although the Constitution is not

 suspended during a state of emergency,” the State tells us, “constitutional rights

 may be reasonably restricted ‘as the safety of the general public may demand’”

 (quoting Jacobson v. Massachusetts, 197 U.S. 11, 29 (1905)). According to the

 State, the current emergency conditions preclude us from applying Lukumi’s

 familiar framework for evaluating Free Exercise claims and require us instead to

 apply Jacobson’s “highly deferential” standard of review, under which we are

 supposedly limited “‘to a determination of whether the [Governor’s] actions were




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 taken in good faith and whether there is some factual basis for [the] decision’”

 (quoting United States v. Chalk, 441 F.2d 1277, 1281 (4th Cir. 1971)). As the

 State sees it, there is no “reason why Jacobson would not extend to the First

 Amendment and other constitutional provisions” (emphasis added). I am unable to

 agree with this argument, which seems to me to be fundamentally inconsistent with

 our constitutional order. Cf. Sterling v. Constantin, 287 U.S. 378, 397–98 (1932)

 (“If this extreme position could be deemed to be well taken, it is manifest that the

 fiat of a state Governor, and not the Constitution of the United States, would be the

 supreme law of the land; that the restrictions of the Federal Constitution upon the

 exercise of state power would be but impotent phrases[.]”).

       The State’s motion cites no authority that can justify its extraordinary claim

 that the current emergency gives the Governor the power to restrict any and all

 constitutional rights, as long as he has acted in “good faith” and has “some factual

 basis” for his edicts. Nothing in Jacobson supports the view that an emergency

 displaces normal constitutional standards. Rather, Jacobson provides that an

 emergency may justify temporary constraints within those standards. As the

 Second Circuit has recognized, Jacobson merely rejected what we would now call

 a “substantive due process” challenge to a compulsory vaccination requirement,

 holding that such a mandate “was within the State’s police power.” Phillips v. City

 of New York, 775 F.3d 538, 542 (2d Cir. 2015); see also Zucht v. King, 260 U.S.




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 174, 176 (1922) (Jacobson “settled that it is within the police power of a state to

 provide for compulsory vaccination”). Jacobson’s deferential standard of review

 is appropriate in that limited context. It might have been relevant here if Plaintiffs

 were asserting a comparable substantive due process claim, but they are not.

       Instead, Plaintiffs assert a claim under the Free Exercise Clause, whose

 standards are well-established and which applies to the States under the Fourteenth

 Amendment. Cantwell, 310 U.S. at 303. Jacobson had no occasion to address a

 Free Exercise claim, because none was presented there. (That is unsurprising,

 because the Free Exercise Clause had not yet been held to apply to the States when

 Jacobson was decided in 1905. See Phillips, 775 F.3d at 543.) Consequently,

 Jacobson says nothing about what standards would apply to a claim that an

 emergency measure violates some other, enumerated constitutional right; on the

 contrary, Jacobson explicitly states that other constitutional limitations may

 continue to constrain government conduct. See 197 U.S. at 25 (emergency public

 health powers of the State remain subject “to the condition that no rule . . . shall

 contravene the Constitution of the United States, nor infringe any right granted or

 secured by that instrument”). The State suggests that the Second Circuit’s decision

 in Phillips applied Jacobson to bar a First Amendment challenge, but Phillips

 actually confirms my narrower reading of Jacobson. After applying Jacobson to

 reject the plaintiffs’ substantive due process challenge to New York’s vaccination




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 requirement, the court then addressed (and rejected) the plaintiffs’ Free Exercise

 challenge by applying not Jacobson, but the familiar Lukumi framework that

 governs all Free Exercise claims. See Phillips, 775 F.3d at 543.

       The Fourth Circuit’s decision in Chalk likewise provides no support for the

 State’s position. In Chalk, the defendants were pulled over for driving at 11:00

 PM in violation of Asheville, North Carolina’s four-night curfew, and a search of

 their car revealed dynamite caps and other “materials from which an incendiary

 bomb could be readily produced.” See 441 F.2d at 1278–79. On appeal from the

 defendants’ subsequent convictions, the Fourth Circuit rejected the defendants’

 challenge to the traffic stop, which was “focused on the curfew imposed by the

 mayor as a restriction on their right to travel.” Id. at 1283 (emphasis added).

 Applying a deferential standard of review, the court held that the temporary travel

 restrictions imposed by the short-lived curfew were justified in light of the

 significant civil unrest in Asheville that had led to the curfew order. Id. at 1282–

 83. Given that the defendants were not engaged in any expressive (or religious)

 activity while driving, the First Amendment was not directly implicated by the

 traffic stop in Chalk, and so the decision has little relevance here. If anything,

 Chalk’s discussion of the First Amendment undercuts the State’s argument. The

 Fourth Circuit stated in dicta that any incidental impact on First Amendment rights

 from the curfew would be governed by the intermediate scrutiny standard of




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 United States v. O’Brien, 391 U.S. 367 (1968), and the court likened the brief

 restriction on travel to a time, place, and manner restriction. See 441 F.2d at 1280–

 81, 1283. The fact that Chalk attempted to fit its comments within such existing

 First Amendment categories refutes the State’s notion that the existence of an

 emergency results in a wholesale displacement of conventional constitutional

 standards.

       Moreover, the State overlooks that we have expressly rejected a comparably

 broad reading of Chalk in addressing a First Amendment challenge to “an

 emergency order prohibiting access to portions of downtown Seattle, Washington,

 during the 1999 World Trade Organization (WTO) conference.” Menotti v. City of

 Seattle, 409 F.3d 1113, 1117, 1142 n.55 (9th Cir. 2005). Instead of applying a

 broad “‘emergency exception’” based on Chalk, we analyzed the emergency order

 within the rubric of established First Amendment time, place, and manner

 principles, which we held provided ample room to “take[] into account a balance

 of the competing considerations of expression and order.” Id. at 1142 & n.55.

       Accordingly, I conclude that Plaintiffs’ challenge must be evaluated under

 the traditional Lukumi framework that governs Free Exercise claims.2


 2
   Notably, the State does not cite or rely upon the circuit court decision that most
 directly supports its reading of Jacobson, which is In re Abbott, 954 F.3d 772 (5th
 Cir. 2020). For the reasons stated, I am unable to agree with the Fifth Circuit’s
 conclusion that “Jacobson instructs that all constitutional rights may be reasonably
 restricted to combat a public health emergency.” Id. at 786 (emphasis in original);


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                                             2

       In addressing a Free Exercise claim under Lukumi, the first question is

 whether the challenged restriction is one “that is neutral and of general

 applicability.” 508 U.S. at 531. If the answer is yes, then “we review [it] for a

 rational basis.” Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1084 (9th Cir. 2015).

 If the answer is no, then the restriction is subject to strict scrutiny—that is, it “must

 be justified by a compelling governmental interest and must be narrowly tailored to

 advance that interest.” Lukumi, 508 U.S. at 531–32. In denying the requested

 relief, the district court held that the State’s Reopening Plan is a “neutral law of

 general application” and that it “is rationally based on protecting safety and

 stopping the virus spread.” Alternatively, the district court held that the Reopening

 Plan is narrowly tailored to promote the State’s compelling interest in public

 health. 3 In my view, Plaintiffs have a high likelihood of success in their appeal of

 these rulings.




 see also In re Rutledge, 956 F.3d 1018, 1028 (8th Cir. 2020) (generally endorsing
 the Fifth Circuit’s description of emergency powers under Jacobson). Beyond that
 limited observation, I express no view on the very different substantive
 constitutional questions presented in those cases.
 3
   The district court actually reached this alternative conclusion in the context of
 addressing Plaintiffs’ likelihood of success on their Free Exercise claim under the
 California Constitution. Reliance on the California Constitution, however, would
 be inappropriate here. See Pennhurst State School & Hosp. v. Halderman, 465
 U.S. 89 (1984).


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                                             a

       As the Supreme Court explained in Lukumi, “the minimum requirement of

 neutrality is that a law not discriminate on its face.” 508 U.S. at 533. Accordingly,

 where a regulation’s operative language restricts conduct by explicit reference to

 the conduct’s religious character, it is not facially neutral. Id. (citing the law at

 issue in McDaniel v. Paty, 435 U.S. 618 (1978), which applied specifically to

 members of the clergy, as an example of a law that on its face “imposed special

 disabilities on the basis of religious status”) (cleaned up). Because the restrictions

 at issue here explicitly “reference . . . religious practice, conduct, belief, or

 motivation,” they are not “facially neutral.” Stormans, 794 F.3d at 1076.

       In framing its restrictions in response to the pandemic, California did not

 purport simply to proscribe specific forms of underlying physical conduct that it

 identified as dangerous, such as failing to maintain social distancing or having an

 excessive number of persons within an enclosed space. Instead, Executive Order

 N-33-20 presumptively prohibited California residents from leaving their homes

 for any reason, except to the extent that an exception to that order granted back the

 freedom to conduct particular activities or to travel back and forth to such

 activities. See Cal. Exec. Order N-33-20 (Mar. 19, 2020)4 (ordering “all



 4
  See https://www.gov.ca.gov/wp-content/uploads/2020/03/3.19.20-attested-EO-N-
 33-20-COVID-19-HEALTH-ORDER.pdf.


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 individuals living in the State of California to stay home or at their place of

 residence except as needed to maintain continuity of operations of the federal

 critical infrastructure sectors,” except as the State “may designate additional

 sectors as critical”).5 In announcing its Reopening Plan, the State has adopted a

 phased approach that will progressively add more and more exceptions to the

 baseline stay-at-home prohibition by designating additional specific categories of

 activities that, in the State’s judgment, do not present an undue risk to public

 health. See Order of the Cal. Pub. Health Officer (May 7, 2020) 6 (“I will

 progressively designate sectors, businesses, establishments, or activities that may

 reopen with certain modifications, based on public health and safety needs, and I

 will add additional sectors, businesses, establishments, or activities at a pace

 designed to protect public health and safety.”).

       As set forth by the State, the four-stage Reopening Plan assigns “retail

 (curbside only), manufacturing & logistics” to the initial portion of “Phase 2,” and

 in-store retail, “child care, offices & limited hospitality, [and] personal services” to




 5
  Even the most ardent proponent of a broad reading of Jacobson must pause at the
 astonishing breadth of this assertion of government power over the citizenry,
 which in terms of its scope, intrusiveness, and duration is without parallel in our
 constitutional tradition. But since Plaintiffs do not directly challenge the validity
 of the original Order here, I do not address the point further.
 6
  See https://www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20
 Library/COVID-19/SHO%20Order%205-7-2020.pdf.


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 a later portion of Phase 2. (On May 20, 2020, San Diego County was given

 approval to begin this later portion of Phase 2; it aims to promptly reopen both

 dine-in restaurants and in-store retail businesses.7) By contrast, “religious

 services” are explicitly assigned to a “Stage 3” that also includes “movie theaters”

 and other “personal & hospitality services.” All reopenings under the Plan are

 subject to detailed, activity-by-activity State guidance that sets forth the specific

 actions that each activity (such as “manufacturing” or “warehousing facilities”)

 must take (e.g., use of face coverings, social distancing, sanitation, and employee

 training) in order to reopen, and to stay open.

       By explicitly and categorically assigning all in-person “religious services” to

 a future Phase 3—without any express regard to the number of attendees, the size

 of the space, or the safety protocols followed in such services8—the State’s

 Reopening Plan undeniably “discriminate[s] on its face” against “religious

 conduct.” Lukumi, 508 U.S. at 533. Although the State insists that it has not acted

 out of antipathy towards religion, the “constitutional benchmark is ‘government



 7
  See Lori Weisberg, San Diego County gets the OK from state to resume dining-in
 at restaurants, SAN DIEGO UNION-TRIBUNE (May 20, 2020),
 https://www.sandiegouniontribune.com/business/story/2020-05-20/san-diego-
 county-gets-the-ok-from-state-to-resume-dining-in-at-restaurants.
 8
  In this respect, this case differs from Roberts v. Neace, __ F.3d __, 2020 WL
 2316679 (6th Cir. May 9, 2020), in which the challenged order prohibited “[a]ll
 mass gatherings,” and “faith-based” events were merely listed as one example of
 such “mass gatherings.” Id. at *1, 3.


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 neutrality,’ not ‘government avoidance of bigotry.’” Roberts, 2020 WL 2316679,

 at *4 (quoting Colorado Christian Univ. v. Weaver, 534 F.3d 1245, 1260 (10th Cir.

 2008)). Because the Reopening Plan, on its face, is not neutral, it is subject to

 strict scrutiny. Lukumi, 508 U.S. at 531–32.

                                           b

       Even if the Reopening Plan were not facially discriminatory, it would still

 fail Lukumi’s additional requirement that the restrictions be “of general

 applicability.” 508 U.S. at 531.

       Under California’s approach—in which an individual can leave the home

 only for the enumerated purposes specified by the State—these categories of

 authorized activities provide the operative rules that govern one’s conduct. While

 the resulting highly reticulated patchwork of designated activities and

 accompanying guidelines may make sense from a public health standpoint, there is

 no denying that this amalgam of rules is the very antithesis of a “generally

 applicable” prohibition. The State is continually making judgments, at the

 margins, to decide what additional activities its residents may and may not engage

 in, and thus far, “religious services” have not made the cut. I am at a loss to

 understand how the State’s current maze of regulations can be deemed “generally

 applicable.” See Ward v. Polite, 667 F.3d 727, 740 (6th Cir. 2012) (“At some

 point, an exception-ridden policy takes on the appearance and reality of a system




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 of individualized exemptions, the antithesis of a neutral and generally applicable

 policy.”).

       The State contends that its plan is generally applicable because it assertedly

 classifies activities neutrally, in accordance with the State’s sense of their

 perceived risk. But that is not how the Reopening Plan works. Warehousing and

 manufacturing facilities are categorically permitted to open, so long as they follow

 specified guidelines. But in-person “religious services”—merely because they are

 “religious services”—are categorically not permitted to take place even if they

 follow the same guidelines. This is, by definition, not a generally applicable

 regulation of underlying physical conduct.

                                             3

       The only remaining question is whether the Reopening Plan’s treatment of

 religious services satisfies strict scrutiny. The district court concluded that it did,

 but that is plainly wrong.

       The State’s undeniably compelling interest in public health “could be

 achieved by narrower [regulations] that burdened religion to a far lesser degree.”

 Lukumi, 508 U.S. at 546. As Plaintiffs have reiterated throughout these

 proceedings, they will “comply[] with every single guideline that other businesses

 are required to comply with.” In their papers in the district court, Plaintiffs

 provided a list illustrating the range of measures they are ready and willing to




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 implement on reopening, including spacing out the Church’s seating, requiring

 congregants to wear face coverings, prohibiting the congregation from singing, and

 banning hugging, handshakes, and hand-holding. By regulating the specific

 underlying risk-creating behaviors, rather than banning the particular religious

 setting within which they occur, the State could achieve its ends in a manner that is

 the “least restrictive way of dealing with the problem at hand.” Roberts, 2020 WL

 2316679, at *5.9

       The State’s only response on the narrow-tailoring point is to insist that there

 is too much risk that congregants will not follow these rules. But as the Sixth

 Circuit recently explained in Roberts, the State’s position on this score illogically

 assumes that the very same people who cannot be trusted to follow the rules at

 their place of worship can be trusted to do so at their workplace: the State cannot

 “assume the worst when people go to worship but assume the best when people go

 to work or go about the rest of their daily lives in permitted social settings.”

 Roberts, 2020 WL 2316679, at *3.

                                    *       *       *

       Therefore, I conclude that Plaintiffs are highly likely to succeed on the

 merits of their Free Exercise Clause claim.


 9
  On this score, it is noteworthy that, earlier today, the CDC issued “Interim
 Guidance for Communities of Faith.” See https://www.cdc.gov/coronavirus/2019-
 ncov/php/faith-based.html.


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                                             B

       All of the remaining considerations strongly favor the entry of an injunction

 pending appeal. The Bishop’s inability to hold in-person worship services, and the

 Church members’ inability to attend them, are certainly irreparable injuries. Elrod

 v. Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms, for

 even minimal periods of time, unquestionably constitutes irreparable injury.”);

 O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft, 389 F.3d 973, 1008

 (10th Cir. 2004) (en banc) (Seymour, J., concurring in relevant part for a majority

 of the court) (“[T]he violation of one’s right to the free exercise of religion

 necessarily constitutes irreparable harm.”), aff’d sub nom. Gonzales v. O Centro

 Espirita Beneficiente Uniao Do Vegetal, 546 U.S. 418 (2006). The injury here is

 particularly poignant, given that Pentecost—which the eponymously named

 Church greatly desires to celebrate—falls on May 31. Indeed, the State explicitly

 “does not question the sincerity of Plaintiffs’ belief that it is essential to gather in

 person for worship services.”

       I do not doubt the importance of the public health objectives that the State

 puts forth, but the State can accomplish those objectives without resorting to its

 current inflexible and overbroad ban on religious services. The balance of equities,

 and the public interest, strongly favor requiring the State to honor its constitutional




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 duty to accommodate a critical element of the free exercise of religion—public

 worship.

       For these reasons, I would grant Plaintiffs’ request for a preliminary

 injunction. I respectfully dissent.




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